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                       EXHIBIT 11
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      Withdrawn NIST Technical Series Publication

                                           Warning Notice

The attached publication has been withdrawn (archived), and is provided solely for historical purposes.
It may have been superseded by another publication (indicated below).

Withdrawn Publication
Series/Number            NIST SP 800-171r2
Title                    Protecting Controlled Unclassified Information in Nonfederal Systems and
                         Organizations
Publication Date(s)      February 2020 (includes updates as of January 28, 2021)
Withdrawal Date          May 14, 2024
Withdrawal Note          NIST SP 800-171r2 is withdrawn and superseded in its entirety by NIST SP 800-
                         171r3
Superseding Publication(s) (if applicable)

The attached publication has been superseded by the following publication(s):
Series/Number            NIST SP 800-171r3
Title                    Protecting Controlled Unclassified Information in Nonfederal Systems and
                         Organizations
Author(s)                Ron Ross; Victoria Pillitteri
Publication Date(s)      May 2024
URL/DOI                  https://doi.org/10.6028/NIST.SP.800-171r3
Additional Information (if applicable)
Contact                  Computer Security Division (Information Technology Laboratory)
Latest revision of the
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Related Information      https://csrc.nist.gov/pubs/sp/800/171/r2/upd1/final
Withdrawal
Announcement Link




Date updated: May 14, 2024
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                                      NIST Special Publication 800-171
                                                                       Revision 2




       Protecting Controlled Unclassified
      Information in Nonfederal Systems
                      and Organizations


                                                                    RON ROSS
                                                           VICTORIA PILLITTERI
                                                              KELLEY DEMPSEY
                                                                 MARK RIDDLE
                                                              GARY GUISSANIE



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                                                NIST Special Publication 800-171
                                                                                    Revision 2



         Protecting Controlled Unclassified
        Information in Nonfederal Systems
                        and Organizations

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                                                                              February 2020
                                                INCLUDES UPDATES AS OF 01-28-2021; SEE PAGE X




                                                        U.S. Department of Commerce
                                                               Wilbur L. Ross, Jr., Secretary

                                       National Institute of Standards and Technology
Walter Copan, NIST Director and Under Secretary of Commerce for Standards and Technology
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                                                                                                                   100 Bureau Drive (Mail Stop 8930) Gaithersburg, MD 20899-8930
                                                                                                                                      Email: sec-cert@nist.gov

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                                                                                                                    Reports on Computer Systems Technology
                                                                                               The National Institute of Standards and Technology (NIST) Information Technology Laboratory
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                                                                                                                                           Abstract
                                                                                               The protection of Controlled Unclassified Information (CUI) resident in nonfederal systems and
                                                                                               organizations is of paramount importance to federal agencies and can directly impact the ability
                                                                                               of the federal government to successfully conduct its essential missions and functions. This
                                                                                               publication provides agencies with recommended security requirements for protecting the
                                                                                               confidentiality of CUI when the information is resident in nonfederal systems and organizations;
                                                                                               when the nonfederal organization is not collecting or maintaining information on behalf of a
                                                                                               federal agency or using or operating a system on behalf of an agency; and where there are no
                                                                                               specific safeguarding requirements for protecting the confidentiality of CUI prescribed by the
                                                                                               authorizing law, regulation, or governmentwide policy for the CUI category listed in the CUI
                                                                                               Registry. The requirements apply to all components of nonfederal systems and organizations
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                                                                                               that process, store, and/or transmit CUI, or that provide protection for such components. The
                                                                                               security requirements are intended for use by federal agencies in contractual vehicles or other
                                                                                               agreements established between those agencies and nonfederal organizations.


                                                                                                                                          Keywords
                                                                                               Basic Security Requirement; Contractor Systems; Controlled Unclassified Information; CUI
                                                                                               Registry; Derived Security Requirement; Executive Order 13556; FIPS Publication 199; FIPS
                                                                                               Publication 200; FISMA; NIST Special Publication 800-53; Nonfederal Organizations; Nonfederal
                                                                                               Systems; Security Assessment; Security Control; Security Requirement.


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                                                                                                                                     Acknowledgements
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                                                                                               the public and private sectors, nationally and internationally, whose thoughtful and constructive
                                                                                               comments improved the overall quality, thoroughness, and usefulness of this publication.
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                                                                                                                                           CAUTIONARY NOTE
                                                                                                    The Federal Information Security Modernization Act [FISMA] of 2014 requires federal agencies
                                                                                                    to identify and provide information security protections commensurate with the risk resulting
                                                                                                    from the unauthorized access, use, disclosure, disruption, modification, or destruction of
                                                                                                    information collected or maintained by or on behalf of an agency; or information systems used
                                                                                                    or operated by an agency or by a contractor of an agency or other organization on behalf of an
                                                                                                    agency. This publication focuses on protecting the confidentiality of Controlled Unclassified
                                                                                                    Information (CUI) in nonfederal systems and organizations, and recommends specific security
                                                                                                    requirements to achieve that objective. It does not change the requirements set forth in [FISMA],
                                                                                                    nor does it alter the responsibility of federal agencies to comply with the full provisions of the
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                                                                                                    statute, the policies established by OMB, and the supporting security standards and guidelines
                                                                                                    developed by NIST.

                                                                                                    The requirements recommended for use in this publication are derived from [FIPS 200] and the
                                                                                                    moderate security control baseline in [SP 800-53] and are based on the CUI regulation [32 CFR
                                                                                                    2002]. The requirements and controls have been determined over time to provide the necessary
                                                                                                    protection for federal information and systems that are covered under [FISMA]. The tailoring
                                                                                                    criteria applied to the [FIPS 200] requirements and [SP 800-53] controls are not an endorsement
                                                                                                    for the elimination of those requirements and controls; rather, the tailoring criteria focuses on
                                                                                                    the protection of CUI from unauthorized disclosure in nonfederal systems and organizations.
                                                                                                    Moreover, since the security requirements are derivative from the NIST publications listed
                                                                                                    above, organizations should not assume that satisfying those particular requirements will
                                                                                                    automatically satisfy the security requirements and controls in [FIPS 200] and [SP 800-53].

                                                                                                    In addition to the security objective of confidentiality, the objectives of integrity and availability
                                                                                                    remain a high priority for organizations that are concerned with establishing and maintaining a
                                                                                                    comprehensive information security program. While the primary purpose of this publication is
                                                                                                    to define requirements to protect the confidentiality of CUI, there is a close relationship between
                                                                                                    confidentiality and integrity since many of the underlying security mechanisms at the system
                                                                                                    level support both security objectives. Therefore, the basic and derived security requirements in
                                                                                                    this publication provide protection from unauthorized disclosure and unauthorized modification
                                                                                                    of CUI. Organizations that are interested in or are required to comply with the recommendations
                                                                                                    in this publication are strongly advised to review the complete listing of controls in the moderate
                                                                                                    baseline in Appendix E to ensure that their individual security plans and control deployments
                                                                                                    provide the necessary and sufficient protection to address the cyber and kinetic threats to
                                                                                                    organizational missions and business operations.




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                                                                                                                                  CUI SECURITY REQUIREMENTS
                                                                                                    The recommended security requirements contained in this publication are only applicable to a
                                                                                                    nonfederal system or organization when mandated by a federal agency in a contract, grant, or
                                                                                                    other agreement. The security requirements apply to the components of nonfederal systems
                                                                                                    that process, store, or transmit CUI, or that provide security protection for such components.
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                                                                                                         FRAMEWORK FOR IMPROVING CRITICAL INFRASTRUCTURE CYBERSECURITY
                                                                                                    Organizations that have implemented or plan to implement the NIST Framework for Improving
                                                                                                    Critical Infrastructure Cybersecurity [NIST CSF] can find in Appendix D, a direct mapping of the
                                                                                                    Controlled Unclassified Information (CUI) security requirements to the security controls in [SP
                                                                                                    800-53] and [ISO 27001]. These controls are also mapped to the Categories and Subcategories
                                                                                                    associated with Cybersecurity Framework Core Functions: Identify, Protect, Detect, Respond, and
                                                                                                    Recover. The security control mappings can be useful to organizations that wish to demonstrate
                                                                                                    compliance to the security requirements in the context of their established information security
                                                                                                    programs, when such programs have been built around the NIST or ISO/IEC security controls.
                                                                                                    ADDITIONAL RESOURCES
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                                                                                                    Mapping security controls to the Cybersecurity Framework:
                                                                                                    https://csrc.nist.gov/publications/detail/nistir/8170/draft.
                                                                                                    Mapping CUI security requirements to the Cybersecurity Framework:
                                                                                                    https://csrc.nist.gov/projects/cybersecurity-framework/informative-reference-
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                                                                                                                                                 Errata
                                                                                               This table contains changes that have been incorporated into Special Publication 800-171. Errata
                                                                                               updates can include corrections, clarifications, or other minor changes in the publication that
                                                                                               are either editorial or substantive in nature.


                                                                                                   DATE          TYPE                                       CHANGE                                     PAGE
                                                                                                                            Front Matter Blue Box: Change “The requirements apply only” to
                                                                                                 01-28-2021     Editorial                                                                               vii
                                                                                                                            “The security requirements apply"
                                                                                                                            Chapter One, Section 1.1, Paragraph 1: Delete: “The requirements
                                                                                                                            apply only to components of nonfederal systems that process, store,
                                                                                                 01-28-2021     Editorial                                                                               2
                                                                                                                            or transmit CUI, or that provide security protection for such
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                                                                                                                            components.”
                                                                                                                            Chapter One, Section 1.1, Paragraph 2: Add “The requirements apply
                                                                                                                            to components of nonfederal systems that process, store, or transmit
                                                                                                                            CUI, or that provide security protection for such components. If
                                                                                                                            nonfederal organizations designate specific system components for
                                                                                                                            the processing, storage, or transmission of CUI, those organizations
                                                                                                                            may limit the scope of the security requirements by isolating the
                                                                                                                            designated system components in a separate CUI security domain.
                                                                                                 01-28-2021     Editorial   Isolation can be achieved by applying architectural and design              2
                                                                                                                            concepts (e.g., implementing subnetworks with firewalls or other
                                                                                                                            boundary protection devices and using information flow control
                                                                                                                            mechanisms). Security domains may employ physical separation,
                                                                                                                            logical separation, or a combination of both. This approach can
                                                                                                                            provide adequate security for the CUI and avoid increasing the
                                                                                                                            organization’s security posture to a level beyond that which it
                                                                                                                            requires for protecting its missions, operations, and assets.”
                                                                                                                            Chapter One, Section 1.1, Paragraph 3: Change: “The requirements
                                                                                                 01-28-2021     Editorial   are“ to “The recommended security requirements in this publication          3
                                                                                                                            are”
                                                                                                                            Chapter One, Section 1.1, Paragraph 6: Delete: “If nonfederal
                                                                                                                            organizations entrusted with protecting CUI designate systems or
                                                                                                                            components for the processing, storage, or transmission of CUI,
                                                                                                                            those organizations may limit the scope of the security requirements
                                                                                                                            to only those systems or components. Isolating CUI into its own
                                                                                                                            security domain by applying architectural design concepts (e.g.,
                                                                                                                            implementing subnetworks with firewalls or other boundary
                                                                                                 01-28-2021     Editorial   protection devices) may be the most cost-effective and efficient            4
                                                                                                                            approach for nonfederal organizations to satisfy the security
                                                                                                                            requirements and protect the confidentiality of CUI. Security
                                                                                                                            domains may employ physical separation, logical separation, or a
                                                                                                                            combination of both. This approach can reasonably provide adequate
                                                                                                                            security for the CUI and avoid increasing the organization’s security
                                                                                                                            posture to a level beyond which it typically requires for protecting its
                                                                                                                            missions, operations, and assets.”




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                                                                                               CHAPTER ONE

                                                                                               INTRODUCTION
                                                                                               THE NEED TO PROTECT CONTROLLED UNCLASSIFIED INFORMATION



                                                                                               T     oday, more than at any time in history, the federal government is relying on external
                                                                                                     service providers to help carry out a wide range of federal missions and business functions
                                                                                                     using information systems. 1 Many federal contractors process, store, and transmit
                                                                                               sensitive federal information to support the delivery of essential products and services to
                                                                                               federal agencies (e.g., providing financial services; providing web and electronic mail services;
                                                                                               processing security clearances or healthcare data; providing cloud services; and developing
                                                                                               communications, satellite, and weapons systems). Federal information is frequently provided to
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                                                                                               or shared with entities such as state and local governments, colleges and universities, and
                                                                                               independent research organizations. The protection of sensitive federal information while
                                                                                               residing in nonfederal systems 2 and organizations is of paramount importance to federal
                                                                                               agencies, and can directly impact the ability of the federal government to carry out its
                                                                                               designated missions and business operations.

                                                                                               The protection of unclassified federal information in nonfederal systems and organizations is
                                                                                               dependent on the federal government providing a process for identifying the different types of
                                                                                               information that are used by federal agencies. [EO 13556] established a governmentwide
                                                                                               Controlled Unclassified Information (CUI) 3 Program to standardize the way the executive branch
                                                                                               handles unclassified information that requires protection. 4 Only information that requires
                                                                                               safeguarding or dissemination controls pursuant to federal law, regulation, or governmentwide
                                                                                               policy may be designated as CUI. The CUI Program is designed to address several deficiencies in
                                                                                               managing and protecting unclassified information to include inconsistent markings, inadequate
                                                                                               safeguarding, and needless restrictions, both by standardizing procedures and by providing
                                                                                               common definitions through a CUI Registry [NARA CUI]. The CUI Registry is the online repository
                                                                                               for information, guidance, policy, and requirements on handling CUI, including issuances by the
                                                                                               CUI Executive Agent. The CUI Registry identifies approved CUI categories, provides general
                                                                                               descriptions for each, identifies the basis for controls, and sets out procedures for the use of CUI
                                                                                               including, but not limited to, marking, safeguarding, transporting, disseminating, reusing, and
                                                                                               disposing of the information.



                                                                                               1 An information system is a discrete set of information resources organized expressly for the collection, processing,

                                                                                               maintenance, use, sharing, dissemination, or disposition of information. Information systems also include specialized
                                                                                               systems, for example: industrial/process control systems, cyber-physical systems, embedded systems, and devices.
                                                                                               The term system is used throughout this publication to represent all types of computing platforms that can process,
                                                                                               store, or transmit CUI.
                                                                                               2 A federal information system is a system that is used or operated by an executive agency, by a contractor of an

                                                                                               executive agency, or by another organization on behalf of an executive agency. A system that does not meet such
                                                                                               criteria is a nonfederal system.
                                                                                               3 Controlled Unclassified Information is any information that law, regulation, or governmentwide policy requires to

                                                                                               have safeguarding or disseminating controls, excluding information that is classified under [EO 13526] or any
                                                                                               predecessor or successor order, or [ATOM54], as amended.
                                                                                               4 [EO 13556] designated the National Archives and Records Administration (NARA) as the Executive Agent to

                                                                                               implement the CUI Program.



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                                                                                               [EO 13556] also required that the CUI Program emphasize openness, transparency, and
                                                                                               uniformity of governmentwide practices, and that the implementation of the program take
                                                                                               place in a manner consistent with applicable policies established by the Office of Management
                                                                                               and Budget (OMB) and federal standards and guidelines issued by the National Institute of
                                                                                               Standards and Technology (NIST). The federal CUI regulation, 5 developed by the CUI Executive
                                                                                               Agent, provides guidance to federal agencies on the designation, safeguarding, dissemination,
                                                                                               marking, decontrolling, and disposition of CUI, establishes self-inspection and oversight
                                                                                               requirements, and delineates other facets of the program.

                                                                                               1.1 PURPOSE AND APPLICABILITY
                                                                                               The purpose of this publication is to provide federal agencies with recommended security
                                                                                               requirements 6 for protecting the confidentiality of CUI: (1) when the CUI is resident in a
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                                                                                               nonfederal system and organization; (2) when the nonfederal organization is not collecting or
                                                                                               maintaining information on behalf of a federal agency or using or operating a system on behalf
                                                                                               of an agency; 7 and (3) where there are no specific safeguarding requirements for protecting the
                                                                                               confidentiality of CUI prescribed by the authorizing law, regulation, or governmentwide policy
                                                                                               for the CUI category listed in the CUI Registry. 8

                                                                                               The requirements apply to components of nonfederal systems that process, store, or transmit
                                                                                               CUI, or that provide security protection for such components. 9 If nonfederal organizations
                                                                                               designate specific system components for the processing, storage, or transmission of CUI, those
                                                                                               organizations may limit the scope of the security requirements by isolating the designated
                                                                                               system components in a separate CUI security domain. Isolation can be achieved by applying
                                                                                               architectural and design concepts (e.g., implementing subnetworks with firewalls or other
                                                                                               boundary protection devices and using information flow control mechanisms). Security domains
                                                                                               may employ physical separation, logical separation, or a combination of both. This approach can
                                                                                               provide adequate security for the CUI and avoid increasing the organization’s security posture to
                                                                                               a level beyond that which it requires for protecting its missions, operations, and assets.



                                                                                               5 [32 CFR 2002] was issued on September 14, 2016 and became effective on November 14, 2016.

                                                                                               6 The term requirements can be used in different contexts. In the context of federal information security and privacy

                                                                                               policies, the term is generally used to refer to information security and privacy obligations imposed on organizations.
                                                                                               For example, OMB Circular A-130 imposes a series of information security and privacy requirements with which
                                                                                               federal agencies must comply when managing information resources. In addition to the use of the term requirements
                                                                                               in the context of federal policy, the term requirements is used in this guideline in a broader sense to refer to an
                                                                                               expression of the set of stakeholder protection needs for a particular system or organization. Stakeholder protection
                                                                                               needs and corresponding security requirements may be derived from many sources (e.g., laws, executive orders,
                                                                                               directives, regulations, policies, standards, mission and business needs, or risk assessments). The term requirements,
                                                                                               as used in this guideline, includes both legal and policy requirements, as well as an expression of the broader set of
                                                                                               stakeholder protection needs that may be derived from other sources. All of these requirements, when applied to a
                                                                                               system, help determine the required characteristics of the system.
                                                                                               7 Nonfederal organizations that collect or maintain information on behalf of a federal agency or that use or operate a

                                                                                               system on behalf of an agency, must comply with the requirements in [FISMA], including the requirements in [FIPS
                                                                                               200] and the security controls in [SP 800-53] (See [44 USC 3554] (a)(1)(A)).
                                                                                               8 The requirements in this publication can be used to comply with the [FISMA] requirement for senior agency officials

                                                                                               to provide information security for the information that supports the operations and assets under their control,
                                                                                               including CUI that is resident in nonfederal systems and organizations (See [44 USC 3554] (a)(1)(A) and (a)(2)).
                                                                                               9 System components include, for example: mainframes, workstations, servers; input and output devices; network

                                                                                               components; operating systems; virtual machines; and applications.



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                                                                                               The recommended security requirements in this publication are intended for use by federal
                                                                                               agencies in appropriate contractual vehicles or other agreements established between those
                                                                                               agencies and nonfederal organizations. In CUI guidance and the CUI Federal Acquisition
                                                                                               Regulation (FAR), 10 the CUI Executive Agent will address determining compliance with security
                                                                                               requirements. 11

                                                                                               In accordance with the federal CUI regulation, federal agencies using federal systems to process,
                                                                                               store, or transmit CUI, at a minimum, must comply with:
                                                                                               •    Federal Information Processing Standards (FIPS) Publication 199, Standards for Security
                                                                                                    Categorization of Federal Information and Information Systems (moderate confidentiality); 12
                                                                                               •    Federal Information Processing Standards (FIPS) Publication 200, Minimum Security
                                                                                                    Requirements for Federal Information and Information Systems;
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                                                                                               •    NIST Special Publication 800-53, Security and Privacy Controls for Federal Information
                                                                                                    Systems and Organizations; and
                                                                                               •    NIST Special Publication 800-60, Guide for Mapping Types of Information and Information
                                                                                                    Systems to Security Categories.

                                                                                               The responsibility of federal agencies to protect CUI does not change when such information is
                                                                                               shared with nonfederal partners. Therefore, a similar level of protection is needed when CUI is
                                                                                               processed, stored, or transmitted by nonfederal organizations using nonfederal systems. 13 The
                                                                                               recommended requirements for safeguarding CUI in nonfederal systems and organizations are
                                                                                               derived from the above authoritative federal standards and guidelines to maintain a consistent
                                                                                               level of protection. However, recognizing that the scope of the safeguarding requirements in the
                                                                                               federal CUI regulation is limited to the security objective of confidentiality (i.e., not directly
                                                                                               addressing integrity and availability) and that some of the security requirements expressed in
                                                                                               the NIST standards and guidelines are uniquely federal, the requirements in this publication
                                                                                               have been tailored for nonfederal entities.

                                                                                               The tailoring criteria described in Chapter Two are not intended to reduce or minimize the
                                                                                               federal requirements for the safeguarding of CUI as expressed in the federal CUI regulation.
                                                                                               Rather, the intent is to express the requirements in a manner that allows for and facilitates the
                                                                                               equivalent safeguarding measures within nonfederal systems and organizations and does not
                                                                                               diminish the level of protection of CUI required for moderate confidentiality. Additional or
                                                                                               differing requirements, other than the requirements described in this publication, may be
                                                                                               applied only when such requirements are based on law, regulation, or governmentwide policy
                                                                                               and when indicated in the CUI Registry as CUI-specified or when an agreement establishes



                                                                                               10 NARA, as the CUI Executive Agent, plans to sponsor a single FAR clause that will apply the requirements of the

                                                                                               federal CUI regulation and NIST Special Publication 800-171 to contractors. Until the FAR clause is in place, the
                                                                                               requirements in NIST Special Publication 800-171 may be referenced in federal contracts consistent with federal law
                                                                                               and regulatory requirements.
                                                                                               11 [SP 800-171A] provides assessment procedures to determine compliance to the CUI security requirements.

                                                                                               12 [FIPS 199] defines three values of potential impact (i.e., low, moderate, high) on organizations, assets, or individuals

                                                                                               in the event of a breach of security (e.g., a loss of confidentiality).
                                                                                               13 A nonfederal organization is any entity that owns, operates, or maintains a nonfederal system. Examples include:

                                                                                               state, local, and tribal governments; colleges and universities; and contractors.



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                                                                                               requirements to protect CUI Basic 14 at higher than moderate confidentiality. The provision of
                                                                                               safeguarding requirements for CUI in a specified category will be addressed by the National
                                                                                               Archives and Records Administration (NARA) in its CUI guidance and in the CUI FAR; and
                                                                                               reflected as specific requirements in contracts or other agreements. Nonfederal organizations
                                                                                               may use the same CUI infrastructure for multiple government contracts or agreements, if the
                                                                                               CUI infrastructure meets the safeguarding requirements for the organization’s CUI-related
                                                                                               contracts and/or agreements including any specific safeguarding required or permitted by the
                                                                                               authorizing law, regulation, or governmentwide policy.

                                                                                               1.2 TARGET AUDIENCE
                                                                                               This publication serves a diverse group of individuals and organizations in both the public and
                                                                                               private sectors including, but not limited to, individuals with:
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                                                                                               •    System development life cycle responsibilities (e.g., program managers, mission/business
                                                                                                    owners, information owners/stewards, system designers and developers, system/security
                                                                                                    engineers, systems integrators);
                                                                                               •    Acquisition or procurement responsibilities (e.g., contracting officers);
                                                                                               •    System, security, or risk management and oversight responsibilities (e.g., authorizing
                                                                                                    officials, chief information officers, chief information security officers, system owners,
                                                                                                    information security managers); and
                                                                                               •    Security assessment and monitoring responsibilities (e.g., auditors, system evaluators,
                                                                                                    assessors, independent verifiers/validators, analysts).

                                                                                               The above roles and responsibilities can be viewed from two distinct perspectives: the federal
                                                                                               perspective as the entity establishing and conveying the security requirements in contractual
                                                                                               vehicles or other types of inter-organizational agreements; and the nonfederal perspective as
                                                                                               the entity responding to and complying with the security requirements set forth in contracts or
                                                                                               agreements.

                                                                                               1.3 ORGANIZATION OF THIS SPECIAL PUBLICATION
                                                                                               The remainder of this special publication is organized as follows:
                                                                                               •    Chapter Two describes the fundamental assumptions and methodology used to develop the
                                                                                                    security requirements for protecting the confidentiality of CUI; the format and structure of
                                                                                                    the requirements; and the tailoring criteria applied to the NIST standards and guidelines to
                                                                                                    obtain the requirements.
                                                                                               •    Chapter Three describes the fourteen families of security requirements for protecting the
                                                                                                    confidentiality of CUI in nonfederal systems and organizations.
                                                                                               •    Supporting appendices provide additional information related to the protection of CUI in
                                                                                                    nonfederal systems and organizations including: general references; definitions and terms;
                                                                                                    acronyms; mapping tables relating security requirements to the security controls in [SP 800-
                                                                                                    53] and [ISO 27001]; and tailoring actions applied to the moderate security control baseline.


                                                                                               14 CUI Basic is defined in the CUI Registry [NARA CUI].




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                                                                                               CHAPTER TWO

                                                                                               THE FUNDAMENTALS
                                                                                               ASSUMPTIONS AND METHODOLOGY FOR DEVELOPING SECURITY REQUIREMENTS



                                                                                               T     his chapter describes the assumptions and the methodology used to develop the
                                                                                                     recommended security requirements to protect CUI in nonfederal systems and
                                                                                                     organizations; the structure of the basic and derived security requirements; and the
                                                                                               tailoring criteria applied to the federal information security requirements and controls.

                                                                                               2.1 BASIC ASSUMPTIONS
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                                                                                               The recommended security requirements described in this publication have been developed
                                                                                               based on three fundamental assumptions:
                                                                                               •    Statutory and regulatory requirements for the protection of CUI are consistent, whether
                                                                                                    such information resides in federal systems or nonfederal systems including the
                                                                                                    environments in which those systems operate;
                                                                                               •    Safeguards implemented to protect CUI are consistent in both federal and nonfederal
                                                                                                    systems and organizations; and
                                                                                               •    The confidentiality impact value for CUI is no less than [FIPS 199] moderate. 15 16

                                                                                               The assumptions reinforce the concept that federal information designated as CUI has the same
                                                                                               intrinsic value and potential adverse impact if compromised—whether such information resides
                                                                                               in a federal or a nonfederal organization. Thus, protecting the confidentiality of CUI is critical to
                                                                                               the mission and business success of federal agencies and the economic and national security
                                                                                               interests of the nation. Additional assumptions also impacting the development of the security
                                                                                               requirements and the expectation of federal agencies in working with nonfederal entities
                                                                                               include:
                                                                                               •    Nonfederal organizations have information technology infrastructures in place, and are not
                                                                                                    necessarily developing or acquiring systems specifically for processing, storing, or
                                                                                                    transmitting CUI;
                                                                                               •    Nonfederal organizations have specific safeguarding measures in place to protect their
                                                                                                    information which may also be sufficient to satisfy the security requirements;
                                                                                               •    Nonfederal organizations may not have the necessary organizational structure or resources
                                                                                                    to satisfy every security requirement and may implement alternative, but equally effective,
                                                                                                    security measures to compensate for the inability to satisfy a requirement; and
                                                                                               •    Nonfederal organizations can implement a variety of potential security solutions directly or
                                                                                                    using external service providers (e.g., managed services) to satisfy security requirements.


                                                                                               15 The moderate impact value defined in [FIPS 199] may become part of a moderate impact system in [FIPS 200],

                                                                                               which requires the use of the moderate baseline in [SP 800-53] as the starting point for tailoring actions.
                                                                                               16 In accordance with [32 CFR 2002], CUI is categorized at no less than the moderate confidentiality impact value.

                                                                                               However, when federal law, regulation, or governmentwide policy establishing the control of the CUI specifies
                                                                                               controls that differ from those of the moderate confidentiality baseline, then these will be followed.



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                                                                                                                  IMPLEMENTING A SINGLE STATE SECURITY SOLUTION FOR CUI
                                                                                                    Controlled Unclassified Information has the same value, whether such information is resident in
                                                                                                    a federal system that is part of a federal agency or a nonfederal system that is part of a
                                                                                                    nonfederal organization. Accordingly, the recommended security requirements contained in this
                                                                                                    publication are consistent with and are complementary to the standards and guidelines used by
                                                                                                    federal agencies to protect CUI.
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                                                                                               2.2 DEVELOPMENT OF SECURITY REQUIREMENTS
                                                                                               The security requirements for protecting the confidentiality of CUI in nonfederal systems and
                                                                                               organizations have a well-defined structure that consists of a basic security requirements section
                                                                                               and a derived security requirements section. The basic security requirements are obtained from
                                                                                               [FIPS 200], which provides the high-level and fundamental security requirements for federal
                                                                                               information and systems. The derived security requirements, which supplement the basic
                                                                                               security requirements, are taken from the security controls in [SP 800-53]. Starting with the
                                                                                               security requirements and the security controls in the moderate baseline (i.e., the minimum
                                                                                               level of protection required for CUI in federal systems and organizations), the requirements and
                                                                                               controls are tailored to eliminate requirements, controls, or parts of controls that are:
                                                                                               •    Uniquely federal (i.e., primarily the responsibility of the federal government);
                                                                                               •    Not directly related to protecting the confidentiality of CUI; or
                                                                                               •    Expected to be routinely satisfied by nonfederal organizations without specification. 17

                                                                                               Appendix E provides a complete listing of security controls that support the CUI derived security
                                                                                               requirements and those controls that have been eliminated from the moderate baseline based
                                                                                               on the CUI tailoring criteria described above.

                                                                                               The combination of the basic and derived security requirements captures the intent of [FIPS
                                                                                               200] and [SP 800-53] with respect to the protection of the confidentiality of CUI in nonfederal
                                                                                               systems and organizations. Appendix D provides informal mappings of the security requirements
                                                                                               to the relevant security controls in [SP 800-53] and [ISO 27001]. The mappings promote a better
                                                                                               understanding of the CUI security requirements, and are not intended to impose additional
                                                                                               requirements on nonfederal organizations.



                                                                                               17 The security requirements developed from the tailored [FIPS 200] security requirements and the [SP 800-53]

                                                                                               moderate security control baseline represent a subset of the safeguarding measures that are necessary for a
                                                                                               comprehensive information security program. The strength and quality of such programs in nonfederal organizations
                                                                                               depend on the degree to which the organizations implement the security requirements and controls that are
                                                                                               expected to be routinely satisfied without specification by the federal government. This includes implementing
                                                                                               security policies, procedures, and practices that support an effective risk-based information security program.
                                                                                               Nonfederal organizations are encouraged to refer to Appendix E and [SP 800-53] for a complete listing of security
                                                                                               controls in the moderate baseline deemed out of scope for the security requirements in Chapter Three.



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                                                                                               The following Media Protection family example illustrates the structure of a CUI requirement:
                                                                                               Basic Security Requirements
                                                                                               3.8.1    Protect (i.e., physically control and securely store) system media containing CUI, both paper and
                                                                                                        digital.
                                                                                               3.8.2    Limit access to CUI on system media to authorized users.
                                                                                               3.8.3    Sanitize or destroy system media containing CUI before disposal or release for reuse.

                                                                                               Derived Security Requirements
                                                                                               3.8.4    Mark media with necessary CUI markings and distribution limitations.
                                                                                               3.8.5    Control access to media containing CUI and maintain accountability for media during transport
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                                                                                                        outside of controlled areas.
                                                                                               3.8.6    Implement cryptographic mechanisms to protect the confidentiality of CUI stored on digital
                                                                                                        media during transport unless otherwise protected by alternative physical safeguards.
                                                                                               3.8.7    Control the use of removable media on system components.
                                                                                               3.8.8    Prohibit the use of portable storage devices when such devices have no identifiable owner.
                                                                                               3.8.9    Protect the confidentiality of backup CUI at storage locations.

                                                                                               For ease of use, the security requirements are organized into fourteen families. Each family
                                                                                               contains the requirements related to the general security topic of the family. The families are
                                                                                               closely aligned with the minimum-security requirements for federal information and systems
                                                                                               described in [FIPS 200]. The contingency planning, system and services acquisition, and planning
                                                                                               requirements are not included within the scope of this publication due to the tailoring criteria. 18
                                                                                               Table 1 lists the security requirement families addressed in this publication.

                                                                                                                                  TABLE 1: SECURITY REQUIREMENT FAMILIES

                                                                                                                         FAMILY                                                    FAMILY
                                                                                                Access Control                                              Media Protection
                                                                                                Awareness and Training                                      Personnel Security
                                                                                                Audit and Accountability                                    Physical Protection
                                                                                                Configuration Management                                    Risk Assessment
                                                                                                Identification and Authentication                           Security Assessment
                                                                                                Incident Response                                           System and Communications Protection
                                                                                                Maintenance                                                 System and Information Integrity




                                                                                               18 Three exceptions include: a requirement to protect the confidentiality of system backups (derived from CP-9) from

                                                                                               the contingency planning family; a requirement to develop and implement a system security plan (derived from PL-2)
                                                                                               from the planning family; and a requirement to implement system security engineering principles (derived from SA-8)
                                                                                               from the system and services acquisition family. The requirements are included in the CUI media protection, security
                                                                                               assessment, and system and communications protection requirements families, respectively.



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                                                                                               A discussion section follows each CUI security requirement providing additional information to
                                                                                               facilitate the implementation and assessment of the requirements. This information is derived
                                                                                               primarily from the security controls discussion sections in [SP 800-53] and is provided to give
                                                                                               organizations a better understanding of the mechanisms and procedures used to implement the
                                                                                               controls used to protect CUI. The discussion section is informative, not normative. It is not
                                                                                               intended to extend the scope of a requirement or to influence the solutions organizations may
                                                                                               use to satisfy a requirement. The use of examples is notional, not exhaustive, and not reflective
                                                                                               of potential options available to organizations. Figure 1 illustrates basic security requirement
                                                                                               3.8.3 with its supporting discussion section and informative references.
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                                                                                                  3.8.3   Sanitize or destroy system media containing CUI before disposal or release for reuse.

                                                                                                          DISCUSSION
                                                                                                          This requirement applies to all system media, digital and non-digital, subject to disposal
                                                                                                          or reuse. Examples include: digital media found in workstations, network components,
                                                                                                          scanners, copiers, printers, notebook computers, and mobile devices; and non-digital
                                                                                                          media such as paper and microfilm. The sanitization process removes information from
                                                                                                          the media such that the information cannot be retrieved or reconstructed. Sanitization
                                                                                                          techniques, including clearing, purging, cryptographic erase, and destruction, prevent the
                                                                                                          disclosure of information to unauthorized individuals when such media is released for
                                                                                                          reuse or disposal.
                                                                                                          Organizations determine the appropriate sanitization methods, recognizing that
                                                                                                          destruction may be necessary when other methods cannot be applied to the media
                                                                                                          requiring sanitization. Organizations use discretion on the employment of sanitization
                                                                                                          techniques and procedures for media containing information that is in the public domain
                                                                                                          or publicly releasable or deemed to have no adverse impact on organizations or individuals
                                                                                                          if released for reuse or disposal. Sanitization of non-digital media includes destruction,
                                                                                                          removing CUI from documents, or redacting selected sections or words from a document
                                                                                                          by obscuring the redacted sections or words in a manner equivalent in effectiveness to
                                                                                                          removing the words or sections from the document. NARA policy and guidance control
                                                                                                          sanitization processes for controlled unclassified information.
                                                                                                          [SP 800-88] provides guidance on media sanitization.



                                                                                                                 FIGURE 1: FORMAT AND STRUCTURE OF CUI SECURITY REQUIREMENT




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                                                                                               CHAPTER THREE

                                                                                               THE REQUIREMENTS
                                                                                               SECURITY REQUIREMENTS FOR PROTECTING THE CONFIDENTIALITY OF CUI



                                                                                               T     his chapter describes fourteen families of recommended security requirements for
                                                                                                     protecting the confidentiality of CUI in nonfederal systems and organizations. 19 The
                                                                                                     security controls from [SP 800-53] associated with the basic and derived requirements are
                                                                                               listed in Appendix D. 20 Organizations can use the NIST publication to obtain additional, non-
                                                                                               prescriptive information related to the recommended security requirements (e.g., explanatory
                                                                                               information in the discussion section for each of the referenced security controls, mapping
                                                                                               tables to [ISO 27001] security controls, and a catalog of optional controls that can be used to
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                                                                                               specify additional security requirements, if needed). This information can help clarify or
                                                                                               interpret the requirements in the context of mission and business requirements, operational
                                                                                               environments, or assessments of risk. Nonfederal organizations can implement a variety of
                                                                                               potential security solutions either directly or using managed services, to satisfy the security
                                                                                               requirements and may implement alternative, but equally effective, security measures to
                                                                                               compensate for the inability to satisfy a requirement. 21



                                                                                                                                            DISCUSSION SECTION
                                                                                                     The discussion section associated with each CUI requirement is informative, not normative. It is
                                                                                                     not intended to extend the scope of a requirement or to influence the solutions organizations
                                                                                                     may use to satisfy a requirement. In addition, the use of examples is notional, not exhaustive,
                                                                                                     and not reflective of potential options available to organizations.




                                                                                               Nonfederal organizations describe, in a system security plan, how the security requirements are
                                                                                               met or how organizations plan to meet the requirements and address known and anticipated
                                                                                               threats. The system security plan describes: the system boundary; operational environment;
                                                                                               how security requirements are implemented; and the relationships with or connections to other
                                                                                               systems. Nonfederal organizations develop plans of action that describe how unimplemented
                                                                                               security requirements will be met and how any planned mitigations will be implemented.
                                                                                               Organizations can document the system security plan and the plan of action as separate or
                                                                                               combined documents and in any chosen format. 22


                                                                                               19 The security objectives of confidentiality and integrity are closely related since many of the underlying security

                                                                                               mechanisms at the system level support both objectives. Therefore, the basic and derived security requirements in
                                                                                               this publication provide protection from unauthorized disclosure and unauthorized modification of CUI.
                                                                                               20 The security control references in Appendix D are included to promote a better understanding of the recommended

                                                                                               security requirements and do not expand the scope of the requirements.
                                                                                               21 To promote consistency, transparency, and comparability, the compensatory security measures selected by

                                                                                               organizations are based on or derived from existing and recognized security standards and control sets, including, for
                                                                                               example, [ISO 27001] or [SP 800-53].
                                                                                               22 [NIST CUI] provides supplemental material for Special Publication 800-171 including templates for system security

                                                                                               plans and plans of action.



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                                                                                               When requested, the system security plan (or extracts thereof) and the associated plans of
                                                                                               action for any planned implementations or mitigations are submitted to the responsible federal
                                                                                               agency/contracting office to demonstrate the nonfederal organization’s implementation or
                                                                                               planned implementation of the security requirements. Federal agencies may consider the
                                                                                               submitted system security plans and plans of action as critical inputs to a risk management
                                                                                               decision to process, store, or transmit CUI on a system hosted by a nonfederal organization and
                                                                                               whether it is advisable to pursue an agreement or contract with the nonfederal organization.

                                                                                               The recommended security requirements in this publication apply only to the components of
                                                                                               nonfederal systems that process, store, or transmit CUI or that provide protection for such
                                                                                               components. Some systems, including specialized systems (e.g., industrial/process control
                                                                                               systems, medical devices, Computer Numerical Control machines), may have limitations on the
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                                                                                               application of certain security requirements.

                                                                                               To accommodate such issues, the system security plan, as reflected in requirement 3.12.4, is
                                                                                               used to describe any enduring exceptions to the security requirements. Individual, isolated, or
                                                                                               temporary deficiencies are managed though plans of action, as reflected in requirement 3.12.2.



                                                                                                                             THE MEANING OF ORGANIZATIONAL SYSTEMS
                                                                                                       The term organizational system is used in many of the recommended CUI security requirements
                                                                                                       in this publication. This term has a specific meaning regarding the scope of applicability for the
                                                                                                       security requirements. The requirements apply only to the components of nonfederal systems
                                                                                                       that process, store, or transmit CUI, or that provide protection for the system components. The
                                                                                                       appropriate scoping for the CUI security requirements is an important factor in determining
                                                                                                       protection-related investment decisions and managing security risk for nonfederal organizations
                                                                                                       that have the responsibility of safeguarding CUI.




                                                                                               3.1 ACCESS CONTROL
                                                                                               Basic Security Requirements
                                                                                               3.1.1      Limit system access to authorized users, processes acting on behalf of authorized users, and
                                                                                                          devices (including other systems).

                                                                                                          DISCUSSION
                                                                                                          Access control policies (e.g., identity- or role-based policies, control matrices, and cryptography)
                                                                                                          control access between active entities or subjects (i.e., users or processes acting on behalf of users)
                                                                                                          and passive entities or objects (e.g., devices, files, records, and domains) in systems. Access
                                                                                                          enforcement mechanisms can be employed at the application and service level to provide
                                                                                                          increased information security. Other systems include systems internal and external to the
                                                                                                          organization. This requirement focuses on account management for systems and applications. The
                                                                                                          definition of and enforcement of access authorizations, other than those determined by account
                                                                                                          type (e.g., privileged verses non-privileged) are addressed in requirement 3.1.2.

                                                                                               3.1.2      Limit system access to the types of transactions and functions that authorized users are
                                                                                                          permitted to execute.



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                                                                                                       DISCUSSION
                                                                                                       Organizations may choose to define access privileges or other attributes by account, by type of
                                                                                                       account, or a combination of both. System account types include individual, shared, group, system,
                                                                                                       anonymous, guest, emergency, developer, manufacturer, vendor, and temporary. Other attributes
                                                                                                       required for authorizing access include restrictions on time-of-day, day-of-week, and point-of-
                                                                                                       origin. In defining other account attributes, organizations consider system-related requirements
                                                                                                       (e.g., system upgrades scheduled maintenance,) and mission or business requirements, (e.g., time
                                                                                                       zone differences, customer requirements, remote access to support travel requirements).

                                                                                               Derived Security Requirements
                                                                                               3.1.3   Control the flow of CUI in accordance with approved authorizations.

                                                                                                       DISCUSSION
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                                                                                                       Information flow control regulates where information can travel within a system and between
                                                                                                       systems (versus who can access the information) and without explicit regard to subsequent
                                                                                                       accesses to that information. Flow control restrictions include the following: keeping export-
                                                                                                       controlled information from being transmitted in the clear to the Internet; blocking outside traffic
                                                                                                       that claims to be from within the organization; restricting requests to the Internet that are not
                                                                                                       from the internal web proxy server; and limiting information transfers between organizations
                                                                                                       based on data structures and content.
                                                                                                       Organizations commonly use information flow control policies and enforcement mechanisms to
                                                                                                       control the flow of information between designated sources and destinations (e.g., networks,
                                                                                                       individuals, and devices) within systems and between interconnected systems. Flow control is
                                                                                                       based on characteristics of the information or the information path. Enforcement occurs in
                                                                                                       boundary protection devices (e.g., gateways, routers, guards, encrypted tunnels, firewalls) that
                                                                                                       employ rule sets or establish configuration settings that restrict system services, provide a packet-
                                                                                                       filtering capability based on header information, or message-filtering capability based on message
                                                                                                       content (e.g., implementing key word searches or using document characteristics). Organizations
                                                                                                       also consider the trustworthiness of filtering and inspection mechanisms (i.e., hardware, firmware,
                                                                                                       and software components) that are critical to information flow enforcement.
                                                                                                       Transferring information between systems representing different security domains with different
                                                                                                       security policies introduces risk that such transfers violate one or more domain security policies.
                                                                                                       In such situations, information owners or stewards provide guidance at designated policy
                                                                                                       enforcement points between interconnected systems. Organizations consider mandating specific
                                                                                                       architectural solutions when required to enforce specific security policies. Enforcement includes:
                                                                                                       prohibiting information transfers between interconnected systems (i.e., allowing access only);
                                                                                                       employing hardware mechanisms to enforce one-way information flows; and implementing
                                                                                                       trustworthy regrading mechanisms to reassign security attributes and security labels.

                                                                                               3.1.4   Separate the duties of individuals to reduce the risk of malevolent activity without collusion.

                                                                                                       DISCUSSION
                                                                                                       Separation of duties addresses the potential for abuse of authorized privileges and helps to reduce
                                                                                                       the risk of malevolent activity without collusion. Separation of duties includes dividing mission
                                                                                                       functions and system support functions among different individuals or roles; conducting system
                                                                                                       support functions with different individuals (e.g., configuration management, quality assurance
                                                                                                       and testing, system management, programming, and network security); and ensuring that security
                                                                                                       personnel administering access control functions do not also administer audit functions. Because
                                                                                                       separation of duty violations can span systems and application domains, organizations consider
                                                                                                       the entirety of organizational systems and system components when developing policy on
                                                                                                       separation of duties.



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                                                                                               3.1.5   Employ the principle of least privilege, including for specific security functions and privileged
                                                                                                       accounts.

                                                                                                       DISCUSSION
                                                                                                       Organizations employ the principle of least privilege for specific duties and authorized accesses for
                                                                                                       users and processes. The principle of least privilege is applied with the goal of authorized privileges
                                                                                                       no higher than necessary to accomplish required organizational missions or business functions.
                                                                                                       Organizations consider the creation of additional processes, roles, and system accounts as
                                                                                                       necessary, to achieve least privilege. Organizations also apply least privilege to the development,
                                                                                                       implementation, and operation of organizational systems. Security functions include establishing
                                                                                                       system accounts, setting events to be logged, setting intrusion detection parameters, and
                                                                                                       configuring access authorizations (i.e., permissions, privileges).
                                                                                                       Privileged accounts, including super user accounts, are typically described as system administrator
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                                                                                                       for various types of commercial off-the-shelf operating systems. Restricting privileged accounts to
                                                                                                       specific personnel or roles prevents day-to-day users from having access to privileged information
                                                                                                       or functions. Organizations may differentiate in the application of this requirement between
                                                                                                       allowed privileges for local accounts and for domain accounts provided organizations retain the
                                                                                                       ability to control system configurations for key security parameters and as otherwise necessary to
                                                                                                       sufficiently mitigate risk.

                                                                                               3.1.6   Use non-privileged accounts or roles when accessing nonsecurity functions.

                                                                                                       DISCUSSION
                                                                                                       This requirement limits exposure when operating from within privileged accounts or roles. The
                                                                                                       inclusion of roles addresses situations where organizations implement access control policies such
                                                                                                       as role-based access control and where a change of role provides the same degree of assurance in
                                                                                                       the change of access authorizations for the user and all processes acting on behalf of the user as
                                                                                                       would be provided by a change between a privileged and non-privileged account.

                                                                                               3.1.7   Prevent non-privileged users from executing privileged functions and capture the execution of
                                                                                                       such functions in audit logs.

                                                                                                       DISCUSSION
                                                                                                       Privileged functions include establishing system accounts, performing system integrity checks,
                                                                                                       conducting patching operations, or administering cryptographic key management activities. Non-
                                                                                                       privileged users are individuals that do not possess appropriate authorizations. Circumventing
                                                                                                       intrusion detection and prevention mechanisms or malicious code protection mechanisms are
                                                                                                       examples of privileged functions that require protection from non-privileged users. Note that this
                                                                                                       requirement represents a condition to be achieved by the definition of authorized privileges in
                                                                                                       3.1.2.
                                                                                                       Misuse of privileged functions, either intentionally or unintentionally by authorized users, or by
                                                                                                       unauthorized external entities that have compromised system accounts, is a serious and ongoing
                                                                                                       concern and can have significant adverse impacts on organizations. Logging the use of privileged
                                                                                                       functions is one way to detect such misuse, and in doing so, help mitigate the risk from insider
                                                                                                       threats and the advanced persistent threat.

                                                                                               3.1.8   Limit unsuccessful logon attempts.

                                                                                                       DISCUSSION
                                                                                                       This requirement applies regardless of whether the logon occurs via a local or network connection.
                                                                                                       Due to the potential for denial of service, automatic lockouts initiated by systems are, in most
                                                                                                       cases, temporary and automatically release after a predetermined period established by the



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                                                                                                        organization (i.e., a delay algorithm). If a delay algorithm is selected, organizations may employ
                                                                                                        different algorithms for different system components based on the capabilities of the respective
                                                                                                        components. Responses to unsuccessful logon attempts may be implemented at the operating
                                                                                                        system and application levels.

                                                                                               3.1.9    Provide privacy and security notices consistent with applicable CUI rules.

                                                                                                        DISCUSSION
                                                                                                        System use notifications can be implemented using messages or warning banners displayed before
                                                                                                        individuals log in to organizational systems. System use notifications are used only for access via
                                                                                                        logon interfaces with human users and are not required when such human interfaces do not exist.
                                                                                                        Based on a risk assessment, organizations consider whether a secondary system use notification is
                                                                                                        needed to access applications or other system resources after the initial network logon. Where
                                                                                                        necessary, posters or other printed materials may be used in lieu of an automated system banner.
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                                                                                                        Organizations consult with the Office of General Counsel for legal review and approval of warning
                                                                                                        banner content.

                                                                                               3.1.10   Use session lock with pattern-hiding displays to prevent access and viewing of data after a
                                                                                                        period of inactivity.

                                                                                                        DISCUSSION
                                                                                                        Session locks are temporary actions taken when users stop work and move away from the
                                                                                                        immediate vicinity of the system but do not want to log out because of the temporary nature of
                                                                                                        their absences. Session locks are implemented where session activities can be determined,
                                                                                                        typically at the operating system level (but can also be at the application level). Session locks are
                                                                                                        not an acceptable substitute for logging out of the system, for example, if organizations require
                                                                                                        users to log out at the end of the workday.
                                                                                                        Pattern-hiding displays can include static or dynamic images, for example, patterns used with
                                                                                                        screen savers, photographic images, solid colors, clock, battery life indicator, or a blank screen,
                                                                                                        with the additional caveat that none of the images convey controlled unclassified information.

                                                                                               3.1.11   Terminate (automatically) a user session after a defined condition.

                                                                                                        DISCUSSION
                                                                                                        This requirement addresses the termination of user-initiated logical sessions in contrast to the
                                                                                                        termination of network connections that are associated with communications sessions (i.e.,
                                                                                                        disconnecting from the network). A logical session (for local, network, and remote access) is
                                                                                                        initiated whenever a user (or process acting on behalf of a user) accesses an organizational system.
                                                                                                        Such user sessions can be terminated (and thus terminate user access) without terminating
                                                                                                        network sessions. Session termination terminates all processes associated with a user’s logical
                                                                                                        session except those processes that are specifically created by the user (i.e., session owner) to
                                                                                                        continue after the session is terminated. Conditions or trigger events requiring automatic session
                                                                                                        termination can include organization-defined periods of user inactivity, targeted responses to
                                                                                                        certain types of incidents, and time-of-day restrictions on system use.

                                                                                               3.1.12   Monitor and control remote access sessions.

                                                                                                        DISCUSSION
                                                                                                        Remote access is access to organizational systems by users (or processes acting on behalf of users)
                                                                                                        communicating through external networks (e.g., the Internet). Remote access methods include
                                                                                                        dial-up, broadband, and wireless. Organizations often employ encrypted virtual private networks
                                                                                                        (VPNs) to enhance confidentiality over remote connections. The use of encrypted VPNs does not
                                                                                                        make the access non-remote; however, the use of VPNs, when adequately provisioned with


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                                                                                                        appropriate control (e.g., employing encryption techniques for confidentiality protection), may
                                                                                                        provide sufficient assurance to the organization that it can effectively treat such connections as
                                                                                                        internal networks. VPNs with encrypted tunnels can affect the capability to adequately monitor
                                                                                                        network communications traffic for malicious code.
                                                                                                        Automated monitoring and control of remote access sessions allows organizations to detect cyber-
                                                                                                        attacks and help to ensure ongoing compliance with remote access policies by auditing connection
                                                                                                        activities of remote users on a variety of system components (e.g., servers, workstations, notebook
                                                                                                        computers, smart phones, and tablets).
                                                                                                        [SP 800-46], [SP 800-77], and [SP 800-113] provide guidance on secure remote access and virtual
                                                                                                        private networks.

                                                                                               3.1.13   Employ cryptographic mechanisms to protect the confidentiality of remote access sessions.
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                                                                                                        DISCUSSION
                                                                                                        Cryptographic standards include FIPS-validated cryptography and NSA-approved cryptography.
                                                                                                        See [NIST CRYPTO]; [NIST CAVP]; [NIST CMVP]; National Security Agency Cryptographic Standards.

                                                                                               3.1.14   Route remote access via managed access control points.

                                                                                                        DISCUSSION
                                                                                                        Routing remote access through managed access control points enhances explicit, organizational
                                                                                                        control over such connections, reducing the susceptibility to unauthorized access to organizational
                                                                                                        systems resulting in the unauthorized disclosure of CUI.

                                                                                               3.1.15   Authorize remote execution of privileged commands and remote access to security-relevant
                                                                                                        information.

                                                                                                        DISCUSSION
                                                                                                        A privileged command is a human-initiated (interactively or via a process operating on behalf of
                                                                                                        the human) command executed on a system involving the control, monitoring, or administration
                                                                                                        of the system including security functions and associated security-relevant information. Security-
                                                                                                        relevant information is any information within the system that can potentially impact the
                                                                                                        operation of security functions or the provision of security services in a manner that could result
                                                                                                        in failure to enforce the system security policy or maintain isolation of code and data. Privileged
                                                                                                        commands give individuals the ability to execute sensitive, security-critical, or security-relevant
                                                                                                        system functions. Controlling such access from remote locations helps to ensure that unauthorized
                                                                                                        individuals are not able to execute such commands freely with the potential to do serious or
                                                                                                        catastrophic damage to organizational systems. Note that the ability to affect the integrity of the
                                                                                                        system is considered security-relevant as that could enable the means to by-pass security functions
                                                                                                        although not directly impacting the function itself.

                                                                                               3.1.16   Authorize wireless access prior to allowing such connections.

                                                                                                        DISCUSSION
                                                                                                        Establishing usage restrictions and configuration/connection requirements for wireless access to
                                                                                                        the system provides criteria for organizations to support wireless access authorization decisions.
                                                                                                        Such restrictions and requirements reduce the susceptibility to unauthorized access to the system
                                                                                                        through wireless technologies. Wireless networks use authentication protocols which provide
                                                                                                        credential protection and mutual authentication.
                                                                                                        [SP 800-97] provide guidance on secure wireless networks.

                                                                                               3.1.17   Protect wireless access using authentication and encryption.


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                                                                                                        DISCUSSION
                                                                                                        Organizations authenticate individuals and devices to help protect wireless access to the system.
                                                                                                        Special attention is given to the wide variety of devices that are part of the Internet of Things with
                                                                                                        potential wireless access to organizational systems. See [NIST CRYPTO].

                                                                                               3.1.18   Control connection of mobile devices.

                                                                                                        DISCUSSION
                                                                                                        A mobile device is a computing device that has a small form factor such that it can easily be carried
                                                                                                        by a single individual; is designed to operate without a physical connection (e.g., wirelessly
                                                                                                        transmit or receive information); possesses local, non-removable or removable data storage; and
                                                                                                        includes a self-contained power source. Mobile devices may also include voice communication
                                                                                                        capabilities, on-board sensors that allow the device to capture information, or built-in features for
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                                                                                                        synchronizing local data with remote locations. Examples of mobile devices include smart phones,
                                                                                                        e-readers, and tablets.
                                                                                                        Due to the large variety of mobile devices with different technical characteristics and capabilities,
                                                                                                        organizational restrictions may vary for the different types of devices. Usage restrictions and
                                                                                                        implementation guidance for mobile devices include: device identification and authentication;
                                                                                                        configuration management; implementation of mandatory protective software (e.g., malicious
                                                                                                        code detection, firewall); scanning devices for malicious code; updating virus protection software;
                                                                                                        scanning for critical software updates and patches; conducting primary operating system (and
                                                                                                        possibly other resident software) integrity checks; and disabling unnecessary hardware (e.g.,
                                                                                                        wireless, infrared). The need to provide adequate security for mobile devices goes beyond this
                                                                                                        requirement. Many controls for mobile devices are reflected in other CUI security requirements.
                                                                                                        [SP 800-124] provides guidance on mobile device security.

                                                                                               3.1.19   Encrypt CUI on mobile devices and mobile computing platforms. 23

                                                                                                        DISCUSSION
                                                                                                        Organizations can employ full-device encryption or container-based encryption to protect the
                                                                                                        confidentiality of CUI on mobile devices and computing platforms. Container-based encryption
                                                                                                        provides a more fine-grained approach to the encryption of data and information including
                                                                                                        encrypting selected data structures such as files, records, or fields. See [NIST CRYPTO].

                                                                                               3.1.20   Verify and control/limit connections to and use of external systems.

                                                                                                        DISCUSSION
                                                                                                        External systems are systems or components of systems for which organizations typically have no
                                                                                                        direct supervision and authority over the application of security requirements and controls or the
                                                                                                        determination of the effectiveness of implemented controls on those systems. External systems
                                                                                                        include personally owned systems, components, or devices and privately-owned computing and
                                                                                                        communications devices resident in commercial or public facilities. This requirement also
                                                                                                        addresses the use of external systems for the processing, storage, or transmission of CUI, including
                                                                                                        accessing cloud services (e.g., infrastructure as a service, platform as a service, or software as a
                                                                                                        service) from organizational systems.
                                                                                                        Organizations establish terms and conditions for the use of external systems in accordance with
                                                                                                        organizational security policies and procedures. Terms and conditions address as a minimum, the
                                                                                                        types of applications that can be accessed on organizational systems from external systems. If



                                                                                               23 Mobile devices and computing platforms include, for example, smartphones and tablets.




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                                                                                                        terms and conditions with the owners of external systems cannot be established, organizations
                                                                                                        may impose restrictions on organizational personnel using those external systems.
                                                                                                        This requirement recognizes that there are circumstances where individuals using external systems
                                                                                                        (e.g., contractors, coalition partners) need to access organizational systems. In those situations,
                                                                                                        organizations need confidence that the external systems contain the necessary controls so as not
                                                                                                        to compromise, damage, or otherwise harm organizational systems. Verification that the required
                                                                                                        controls have been effectively implemented can be achieved by third-party, independent
                                                                                                        assessments, attestations, or other means, depending on the assurance or confidence level
                                                                                                        required by organizations.
                                                                                                        Note that while “external” typically refers to outside of the organization’s direct supervision and
                                                                                                        authority, that is not always the case. Regarding the protection of CUI across an organization, the
                                                                                                        organization may have systems that process CUI and others that do not. And among the systems
                                                                                                        that process CUI there are likely access restrictions for CUI that apply between systems. Therefore,
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                                                                                                        from the perspective of a given system, other systems within the organization may be considered
                                                                                                        “external" to that system.

                                                                                               3.1.21   Limit use of portable storage devices on external systems.

                                                                                                        DISCUSSION
                                                                                                        Limits on the use of organization-controlled portable storage devices in external systems include
                                                                                                        complete prohibition of the use of such devices or restrictions on how the devices may be used
                                                                                                        and under what conditions the devices may be used. Note that while “external” typically refers to
                                                                                                        outside of the organization’s direct supervision and authority, that is not always the case.
                                                                                                        Regarding the protection of CUI across an organization, the organization may have systems that
                                                                                                        process CUI and others that do not. Among the systems that process CUI there are likely access
                                                                                                        restrictions for CUI that apply between systems. Therefore, from the perspective of a given system,
                                                                                                        other systems within the organization may be considered “external" to that system.

                                                                                               3.1.22   Control CUI posted or processed on publicly accessible systems.

                                                                                                        DISCUSSION
                                                                                                        In accordance with laws, Executive Orders, directives, policies, regulations, or standards, the public
                                                                                                        is not authorized access to nonpublic information (e.g., information protected under the Privacy
                                                                                                        Act, CUI, and proprietary information). This requirement addresses systems that are controlled by
                                                                                                        the organization and accessible to the public, typically without identification or authentication.
                                                                                                        Individuals authorized to post CUI onto publicly accessible systems are designated. The content of
                                                                                                        information is reviewed prior to posting onto publicly accessible systems to ensure that nonpublic
                                                                                                        information is not included.

                                                                                               3.2 AWARENESS AND TRAINING
                                                                                               Basic Security Requirements
                                                                                               3.2.1    Ensure that managers, systems administrators, and users of organizational systems are made
                                                                                                        aware of the security risks associated with their activities and of the applicable policies,
                                                                                                        standards, and procedures related to the security of those systems.

                                                                                                        DISCUSSION
                                                                                                        Organizations determine the content and frequency of security awareness training and security
                                                                                                        awareness techniques based on the specific organizational requirements and the systems to which
                                                                                                        personnel have authorized access. The content includes a basic understanding of the need for
                                                                                                        information security and user actions to maintain security and to respond to suspected security



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                                                                                                       incidents. The content also addresses awareness of the need for operations security. Security
                                                                                                       awareness techniques include: formal training; offering supplies inscribed with security reminders;
                                                                                                       generating email advisories or notices from organizational officials; displaying logon screen
                                                                                                       messages; displaying security awareness posters; and conducting information security awareness
                                                                                                       events.
                                                                                                       [SP 800-50] provides guidance on security awareness and training programs.

                                                                                               3.2.2   Ensure that personnel are trained to carry out their assigned information security-related
                                                                                                       duties and responsibilities.

                                                                                                       DISCUSSION
                                                                                                       Organizations determine the content and frequency of security training based on the assigned
                                                                                                       duties, roles, and responsibilities of individuals and the security requirements of organizations and
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                                                                                                       the systems to which personnel have authorized access. In addition, organizations provide system
                                                                                                       developers, enterprise architects, security architects, acquisition/procurement officials, software
                                                                                                       developers, system developers, systems integrators, system/network administrators, personnel
                                                                                                       conducting configuration management and auditing activities, personnel performing independent
                                                                                                       verification and validation, security assessors, and other personnel having access to system-level
                                                                                                       software, security-related technical training specifically tailored for their assigned duties.
                                                                                                       Comprehensive role-based training addresses management, operational, and technical roles and
                                                                                                       responsibilities covering physical, personnel, and technical controls. Such training can include
                                                                                                       policies, procedures, tools, and artifacts for the security roles defined. Organizations also provide
                                                                                                       the training necessary for individuals to carry out their responsibilities related to operations and
                                                                                                       supply chain security within the context of organizational information security programs.
                                                                                                       [SP 800-181] provides guidance on role-based information security training in the workplace. [SP
                                                                                                       800-161] provides guidance on supply chain risk management.

                                                                                               Derived Security Requirements
                                                                                               3.2.3   Provide security awareness training on recognizing and reporting potential indicators of insider
                                                                                                       threat.

                                                                                                       DISCUSSION
                                                                                                       Potential indicators and possible precursors of insider threat include behaviors such as: inordinate,
                                                                                                       long-term job dissatisfaction; attempts to gain access to information that is not required for job
                                                                                                       performance; unexplained access to financial resources; bullying or sexual harassment of fellow
                                                                                                       employees; workplace violence; and other serious violations of the policies, procedures, directives,
                                                                                                       rules, or practices of organizations. Security awareness training includes how to communicate
                                                                                                       employee and management concerns regarding potential indicators of insider threat through
                                                                                                       appropriate organizational channels in accordance with established organizational policies and
                                                                                                       procedures. Organizations may consider tailoring insider threat awareness topics to the role (e.g.,
                                                                                                       training for managers may be focused on specific changes in behavior of team members, while
                                                                                                       training for employees may be focused on more general observations).

                                                                                               3.3 AUDIT AND ACCOUNTABILITY
                                                                                               Basic Security Requirements
                                                                                               3.3.1   Create and retain system audit logs and records to the extent needed to enable the
                                                                                                       monitoring, analysis, investigation, and reporting of unlawful or unauthorized system activity.




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                                                                                                       DISCUSSION
                                                                                                       An event is any observable occurrence in a system, which includes unlawful or unauthorized
                                                                                                       system activity. Organizations identify event types for which a logging functionality is needed as
                                                                                                       those events which are significant and relevant to the security of systems and the environments
                                                                                                       in which those systems operate to meet specific and ongoing auditing needs. Event types can
                                                                                                       include password changes, failed logons or failed accesses related to systems, administrative
                                                                                                       privilege usage, or third-party credential usage. In determining event types that require logging,
                                                                                                       organizations consider the monitoring and auditing appropriate for each of the CUI security
                                                                                                       requirements. Monitoring and auditing requirements can be balanced with other system needs.
                                                                                                       For example, organizations may determine that systems must have the capability to log every file
                                                                                                       access both successful and unsuccessful, but not activate that capability except for specific
                                                                                                       circumstances due to the potential burden on system performance.
                                                                                                       Audit records can be generated at various levels of abstraction, including at the packet level as
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                                                                                                       information traverses the network. Selecting the appropriate level of abstraction is a critical aspect
                                                                                                       of an audit logging capability and can facilitate the identification of root causes to problems.
                                                                                                       Organizations consider in the definition of event types, the logging necessary to cover related
                                                                                                       events such as the steps in distributed, transaction-based processes (e.g., processes that are
                                                                                                       distributed across multiple organizations) and actions that occur in service-oriented or cloud-
                                                                                                       based architectures.
                                                                                                       Audit record content that may be necessary to satisfy this requirement includes time stamps,
                                                                                                       source and destination addresses, user or process identifiers, event descriptions, success or fail
                                                                                                       indications, filenames involved, and access control or flow control rules invoked. Event outcomes
                                                                                                       can include indicators of event success or failure and event-specific results (e.g., the security state
                                                                                                       of the system after the event occurred).
                                                                                                       Detailed information that organizations may consider in audit records includes full text recording
                                                                                                       of privileged commands or the individual identities of group account users. Organizations consider
                                                                                                       limiting the additional audit log information to only that information explicitly needed for specific
                                                                                                       audit requirements. This facilitates the use of audit trails and audit logs by not including
                                                                                                       information that could potentially be misleading or could make it more difficult to locate
                                                                                                       information of interest. Audit logs are reviewed and analyzed as often as needed to provide
                                                                                                       important information to organizations to facilitate risk-based decision making.
                                                                                                       [SP 800-92] provides guidance on security log management.

                                                                                               3.3.2   Ensure that the actions of individual system users can be uniquely traced to those users, so
                                                                                                       they can be held accountable for their actions.

                                                                                                       DISCUSSION
                                                                                                       This requirement ensures that the contents of the audit record include the information needed to
                                                                                                       link the audit event to the actions of an individual to the extent feasible. Organizations consider
                                                                                                       logging for traceability including results from monitoring of account usage, remote access, wireless
                                                                                                       connectivity, mobile device connection, communications at system boundaries, configuration
                                                                                                       settings, physical access, nonlocal maintenance, use of maintenance tools, temperature and
                                                                                                       humidity, equipment delivery and removal, system component inventory, use of mobile code, and
                                                                                                       use of Voice over Internet Protocol (VoIP).

                                                                                               Derived Security Requirements
                                                                                               3.3.3   Review and update logged events.




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                                                                                                       DISCUSSION
                                                                                                       The intent of this requirement is to periodically re-evaluate which logged events will continue to
                                                                                                       be included in the list of events to be logged. The event types that are logged by organizations may
                                                                                                       change over time. Reviewing and updating the set of logged event types periodically is necessary
                                                                                                       to ensure that the current set remains necessary and sufficient.

                                                                                               3.3.4   Alert in the event of an audit logging process failure.

                                                                                                       DISCUSSION
                                                                                                       Audit logging process failures include software and hardware errors, failures in the audit record
                                                                                                       capturing mechanisms, and audit record storage capacity being reached or exceeded. This
                                                                                                       requirement applies to each audit record data storage repository (i.e., distinct system component
                                                                                                       where audit records are stored), the total audit record storage capacity of organizations (i.e., all
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                                                                                                       audit record data storage repositories combined), or both.

                                                                                               3.3.5   Correlate audit record review, analysis, and reporting processes for investigation and response
                                                                                                       to indications of unlawful, unauthorized, suspicious, or unusual activity.

                                                                                                       DISCUSSION
                                                                                                       Correlating audit record review, analysis, and reporting processes helps to ensure that they do not
                                                                                                       operate independently, but rather collectively. Regarding the assessment of a given organizational
                                                                                                       system, the requirement is agnostic as to whether this correlation is applied at the system level or
                                                                                                       at the organization level across all systems.

                                                                                               3.3.6   Provide audit record reduction and report generation to support on-demand analysis and
                                                                                                       reporting.

                                                                                                       DISCUSSION
                                                                                                       Audit record reduction is a process that manipulates collected audit information and organizes
                                                                                                       such information in a summary format that is more meaningful to analysts. Audit record reduction
                                                                                                       and report generation capabilities do not always emanate from the same system or organizational
                                                                                                       entities conducting auditing activities. Audit record reduction capability can include, for example,
                                                                                                       modern data mining techniques with advanced data filters to identify anomalous behavior in audit
                                                                                                       records. The report generation capability provided by the system can help generate customizable
                                                                                                       reports. Time ordering of audit records can be a significant issue if the granularity of the time stamp
                                                                                                       in the record is insufficient.

                                                                                               3.3.7   Provide a system capability that compares and synchronizes internal system clocks with an
                                                                                                       authoritative source to generate time stamps for audit records.

                                                                                                       DISCUSSION
                                                                                                       Internal system clocks are used to generate time stamps, which include date and time. Time is
                                                                                                       expressed in Coordinated Universal Time (UTC), a modern continuation of Greenwich Mean Time
                                                                                                       (GMT), or local time with an offset from UTC. The granularity of time measurements refers to the
                                                                                                       degree of synchronization between system clocks and reference clocks, for example, clocks
                                                                                                       synchronizing within hundreds of milliseconds or within tens of milliseconds. Organizations may
                                                                                                       define different time granularities for different system components. Time service can also be
                                                                                                       critical to other security capabilities such as access control and identification and authentication,
                                                                                                       depending on the nature of the mechanisms used to support those capabilities. This requirement
                                                                                                       provides uniformity of time stamps for systems with multiple system clocks and systems connected
                                                                                                       over a network. See [IETF 5905].




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                                                                                               3.3.8   Protect audit information and audit logging tools from unauthorized access, modification, and
                                                                                                       deletion.

                                                                                                       DISCUSSION
                                                                                                       Audit information includes all information (e.g., audit records, audit log settings, and audit reports)
                                                                                                       needed to successfully audit system activity. Audit logging tools are those programs and devices
                                                                                                       used to conduct audit and logging activities. This requirement focuses on the technical protection
                                                                                                       of audit information and limits the ability to access and execute audit logging tools to authorized
                                                                                                       individuals. Physical protection of audit information is addressed by media protection and physical
                                                                                                       and environmental protection requirements.

                                                                                               3.3.9   Limit management of audit logging functionality to a subset of privileged users.

                                                                                                       DISCUSSION
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                                                                                                       Individuals with privileged access to a system and who are also the subject of an audit by that
                                                                                                       system, may affect the reliability of audit information by inhibiting audit logging activities or
                                                                                                       modifying audit records. This requirement specifies that privileged access be further defined
                                                                                                       between audit-related privileges and other privileges, thus limiting the users with audit-related
                                                                                                       privileges.

                                                                                               3.4 CONFIGURATION MANAGEMENT
                                                                                               Basic Security Requirements
                                                                                               3.4.1   Establish and maintain baseline configurations and inventories of organizational systems
                                                                                                       (including hardware, software, firmware, and documentation) throughout the respective
                                                                                                       system development life cycles.

                                                                                                       DISCUSSION
                                                                                                       Baseline configurations are documented, formally reviewed, and agreed-upon specifications for
                                                                                                       systems or configuration items within those systems. Baseline configurations serve as a basis for
                                                                                                       future builds, releases, and changes to systems. Baseline configurations include information about
                                                                                                       system components (e.g., standard software packages installed on workstations, notebook
                                                                                                       computers, servers, network components, or mobile devices; current version numbers and update
                                                                                                       and patch information on operating systems and applications; and configuration settings and
                                                                                                       parameters), network topology, and the logical placement of those components within the system
                                                                                                       architecture. Baseline configurations of systems also reflect the current enterprise architecture.
                                                                                                       Maintaining effective baseline configurations requires creating new baselines as organizational
                                                                                                       systems change over time. Baseline configuration maintenance includes reviewing and updating
                                                                                                       the baseline configuration when changes are made based on security risks and deviations from the
                                                                                                       established baseline configuration
                                                                                                       Organizations can implement centralized system component inventories that include components
                                                                                                       from multiple organizational systems. In such situations, organizations ensure that the resulting
                                                                                                       inventories include system-specific information required for proper component accountability
                                                                                                       (e.g., system association, system owner). Information deemed necessary for effective
                                                                                                       accountability of system components includes hardware inventory specifications, software license
                                                                                                       information, software version numbers, component owners, and for networked components or
                                                                                                       devices, machine names and network addresses. Inventory specifications include manufacturer,
                                                                                                       device type, model, serial number, and physical location.
                                                                                                       [SP 800-128] provides guidance on security-focused configuration management.




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                                                                                               3.4.2   Establish and enforce security configuration settings for information technology products
                                                                                                       employed in organizational systems.

                                                                                                       DISCUSSION
                                                                                                       Configuration settings are the set of parameters that can be changed in hardware, software, or
                                                                                                       firmware components of the system that affect the security posture or functionality of the system.
                                                                                                       Information technology products for which security-related configuration settings can be defined
                                                                                                       include mainframe computers, servers, workstations, input and output devices (e.g., scanners,
                                                                                                       copiers, and printers), network components (e.g., firewalls, routers, gateways, voice and data
                                                                                                       switches, wireless access points, network appliances, sensors), operating systems, middleware,
                                                                                                       and applications.
                                                                                                       Security parameters are those parameters impacting the security state of systems including the
                                                                                                       parameters required to satisfy other security requirements. Security parameters include: registry
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                                                                                                       settings; account, file, directory permission settings; and settings for functions, ports, protocols,
                                                                                                       and remote connections. Organizations establish organization-wide configuration settings and
                                                                                                       subsequently derive specific configuration settings for systems. The established settings become
                                                                                                       part of the systems configuration baseline.

                                                                                                       Common secure configurations (also referred to as security configuration checklists, lockdown and
                                                                                                       hardening guides, security reference guides, security technical implementation guides) provide
                                                                                                       recognized, standardized, and established benchmarks that stipulate secure configuration settings
                                                                                                       for specific information technology platforms/products and instructions for configuring those
                                                                                                       system components to meet operational requirements. Common secure configurations can be
                                                                                                       developed by a variety of organizations including information technology product developers,
                                                                                                       manufacturers, vendors, consortia, academia, industry, federal agencies, and other organizations
                                                                                                       in the public and private sectors.
                                                                                                       [SP 800-70] and [SP 800-128] provide guidance on security configuration settings.

                                                                                               Derived Security Requirements
                                                                                               3.4.3   Track, review, approve or disapprove, and log changes to organizational systems.

                                                                                                       DISCUSSION
                                                                                                       Tracking, reviewing, approving/disapproving, and logging changes is called configuration change
                                                                                                       control. Configuration change control for organizational systems involves the systematic proposal,
                                                                                                       justification, implementation, testing, review, and disposition of changes to the systems, including
                                                                                                       system upgrades and modifications. Configuration change control includes changes to baseline
                                                                                                       configurations for components and configuration items of systems, changes to configuration
                                                                                                       settings for information technology products (e.g., operating systems, applications, firewalls,
                                                                                                       routers, and mobile devices), unscheduled and unauthorized changes, and changes to remediate
                                                                                                       vulnerabilities.
                                                                                                       Processes for managing configuration changes to systems include Configuration Control Boards or
                                                                                                       Change Advisory Boards that review and approve proposed changes to systems. For new
                                                                                                       development systems or systems undergoing major upgrades, organizations consider including
                                                                                                       representatives from development organizations on the Configuration Control Boards or Change
                                                                                                       Advisory Boards. Audit logs of changes include activities before and after changes are made to
                                                                                                       organizational systems and the activities required to implement such changes.
                                                                                                       [SP 800-128] provides guidance on configuration change control.

                                                                                               3.4.4   Analyze the security impact of changes prior to implementation.




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                                                                                                       DISCUSSION
                                                                                                       Organizational personnel with information security responsibilities (e.g., system administrators,
                                                                                                       system security officers, system security managers, and systems security engineers) conduct
                                                                                                       security impact analyses. Individuals conducting security impact analyses possess the necessary
                                                                                                       skills and technical expertise to analyze the changes to systems and the associated security
                                                                                                       ramifications. Security impact analysis may include reviewing security plans to understand security
                                                                                                       requirements and reviewing system design documentation to understand the implementation of
                                                                                                       controls and how specific changes might affect the controls. Security impact analyses may also
                                                                                                       include risk assessments to better understand the impact of the changes and to determine if
                                                                                                       additional controls are required.
                                                                                                       [SP 800-128] provides guidance on configuration change control and security impact analysis.

                                                                                               3.4.5   Define, document, approve, and enforce physical and logical access restrictions associated with
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                                                                                                       changes to organizational systems.

                                                                                                       DISCUSSION
                                                                                                       Any changes to the hardware, software, or firmware components of systems can potentially have
                                                                                                       significant effects on the overall security of the systems. Therefore, organizations permit only
                                                                                                       qualified and authorized individuals to access systems for purposes of initiating changes, including
                                                                                                       upgrades and modifications. Access restrictions for change also include software libraries.
                                                                                                       Access restrictions include physical and logical access control requirements, workflow automation,
                                                                                                       media libraries, abstract layers (e.g., changes implemented into external interfaces rather than
                                                                                                       directly into systems), and change windows (e.g., changes occur only during certain specified
                                                                                                       times). In addition to security concerns, commonly-accepted due diligence for configuration
                                                                                                       management includes access restrictions as an essential part in ensuring the ability to effectively
                                                                                                       manage the configuration.
                                                                                                       [SP 800-128] provides guidance on configuration change control.

                                                                                               3.4.6   Employ the principle of least functionality by configuring organizational systems to provide
                                                                                                       only essential capabilities.

                                                                                                       DISCUSSION
                                                                                                       Systems can provide a wide variety of functions and services. Some of the functions and services
                                                                                                       routinely provided by default, may not be necessary to support essential organizational missions,
                                                                                                       functions, or operations. It is sometimes convenient to provide multiple services from single
                                                                                                       system components. However, doing so increases risk over limiting the services provided by any
                                                                                                       one component. Where feasible, organizations limit component functionality to a single function
                                                                                                       per component.
                                                                                                       Organizations review functions and services provided by systems or components of systems, to
                                                                                                       determine which functions and services are candidates for elimination. Organizations disable
                                                                                                       unused or unnecessary physical and logical ports and protocols to prevent unauthorized
                                                                                                       connection of devices, transfer of information, and tunneling. Organizations can utilize network
                                                                                                       scanning tools, intrusion detection and prevention systems, and end-point protections such as
                                                                                                       firewalls and host-based intrusion detection systems to identify and prevent the use of prohibited
                                                                                                       functions, ports, protocols, and services.

                                                                                               3.4.7   Restrict, disable, or prevent the use of nonessential programs, functions, ports, protocols, and
                                                                                                       services.




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                                                                                                       DISCUSSION
                                                                                                       Restricting the use of nonessential software (programs) includes restricting the roles allowed to
                                                                                                       approve program execution; prohibiting auto-execute; program blacklisting and whitelisting; or
                                                                                                       restricting the number of program instances executed at the same time. The organization makes
                                                                                                       a security-based determination which functions, ports, protocols, and/or services are restricted.
                                                                                                       Bluetooth, File Transfer Protocol (FTP), and peer-to-peer networking are examples of protocols
                                                                                                       organizations consider preventing the use of, restricting, or disabling.

                                                                                               3.4.8   Apply deny-by-exception (blacklisting) policy to prevent the use of unauthorized software or
                                                                                                       deny-all, permit-by-exception (whitelisting) policy to allow the execution of authorized
                                                                                                       software.

                                                                                                       DISCUSSION
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                                                                                                       The process used to identify software programs that are not authorized to execute on systems is
                                                                                                       commonly referred to as blacklisting. The process used to identify software programs that are
                                                                                                       authorized to execute on systems is commonly referred to as whitelisting. Whitelisting is the
                                                                                                       stronger of the two policies for restricting software program execution. In addition to whitelisting,
                                                                                                       organizations consider verifying the integrity of whitelisted software programs using, for example,
                                                                                                       cryptographic checksums, digital signatures, or hash functions. Verification of whitelisted software
                                                                                                       can occur either prior to execution or at system startup.
                                                                                                       [SP 800-167] provides guidance on application whitelisting.

                                                                                               3.4.9   Control and monitor user-installed software.

                                                                                                       DISCUSSION
                                                                                                       Users can install software in organizational systems if provided the necessary privileges. To
                                                                                                       maintain control over the software installed, organizations identify permitted and prohibited
                                                                                                       actions regarding software installation through policies. Permitted software installations include
                                                                                                       updates and security patches to existing software and applications from organization-approved
                                                                                                       “app stores.” Prohibited software installations may include software with unknown or suspect
                                                                                                       pedigrees or software that organizations consider potentially malicious. The policies organizations
                                                                                                       select governing user-installed software may be organization-developed or provided by some
                                                                                                       external entity. Policy enforcement methods include procedural methods, automated methods, or
                                                                                                       both.

                                                                                               3.5 IDENTIFICATION AND AUTHENTICATION
                                                                                               Basic Security Requirements
                                                                                               3.5.1   Identify system users, processes acting on behalf of users, and devices.

                                                                                                       DISCUSSION
                                                                                                       Common device identifiers include Media Access Control (MAC), Internet Protocol (IP) addresses,
                                                                                                       or device-unique token identifiers. Management of individual identifiers is not applicable to shared
                                                                                                       system accounts. Typically, individual identifiers are the user names associated with the system
                                                                                                       accounts assigned to those individuals. Organizations may require unique identification of
                                                                                                       individuals in group accounts or for detailed accountability of individual activity. In addition, this
                                                                                                       requirement addresses individual identifiers that are not necessarily associated with system
                                                                                                       accounts. Organizational devices requiring identification may be defined by type, by device, or by
                                                                                                       a combination of type/device.
                                                                                                       [SP 800-63-3] provides guidance on digital identities.




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                                                                                               3.5.2    Authenticate (or verify) the identities of users, processes, or devices, as a prerequisite to
                                                                                                        allowing access to organizational systems.

                                                                                                        DISCUSSION
                                                                                                        Individual authenticators include the following: passwords, key cards, cryptographic devices, and
                                                                                                        one-time password devices. Initial authenticator content is the actual content of the authenticator,
                                                                                                        for example, the initial password. In contrast, the requirements about authenticator content
                                                                                                        include the minimum password length. Developers ship system components with factory default
                                                                                                        authentication credentials to allow for initial installation and configuration. Default authentication
                                                                                                        credentials are often well known, easily discoverable, and present a significant security risk.
                                                                                                        Systems support authenticator management by organization-defined settings and restrictions for
                                                                                                        various authenticator characteristics including minimum password length, validation time window
                                                                                                        for time synchronous one-time tokens, and number of allowed rejections during the verification
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                                                                                                        stage of biometric authentication. Authenticator management includes issuing and revoking, when
                                                                                                        no longer needed, authenticators for temporary access such as that required for remote
                                                                                                        maintenance. Device authenticators include certificates and passwords.
                                                                                                        [SP 800-63-3] provides guidance on digital identities.

                                                                                               Derived Security Requirements
                                                                                               3.5.3    Use multifactor authentication for local and network access to privileged accounts and for
                                                                                                        network access to non-privileged accounts. 24 25

                                                                                                        DISCUSSION
                                                                                                        Multifactor authentication requires the use of two or more different factors to authenticate. The
                                                                                                        factors are defined as something you know (e.g., password, personal identification number [PIN]);
                                                                                                        something you have (e.g., cryptographic identification device, token); or something you are (e.g.,
                                                                                                        biometric). Multifactor authentication solutions that feature physical authenticators include
                                                                                                        hardware authenticators providing time-based or challenge-response authenticators and smart
                                                                                                        cards. In addition to authenticating users at the system level (i.e., at logon), organizations may also
                                                                                                        employ authentication mechanisms at the application level, when necessary, to provide increased
                                                                                                        information security.
                                                                                                        Access to organizational systems is defined as local access or network access. Local access is any
                                                                                                        access to organizational systems by users (or processes acting on behalf of users) where such
                                                                                                        access is obtained by direct connections without the use of networks. Network access is access to
                                                                                                        systems by users (or processes acting on behalf of users) where such access is obtained through
                                                                                                        network connections (i.e., nonlocal accesses). Remote access is a type of network access that
                                                                                                        involves communication through external networks. The use of encrypted virtual private networks
                                                                                                        for connections between organization-controlled and non-organization controlled endpoints may
                                                                                                        be treated as internal networks with regard to protecting the confidentiality of information.



                                                                                               24 Multifactor authentication requires two or more different factors to achieve authentication. The factors include:

                                                                                               something you know (e.g., password/PIN); something you have (e.g., cryptographic identification device, token); or
                                                                                               something you are (e.g., biometric). The requirement for multifactor authentication should not be interpreted as
                                                                                               requiring federal Personal Identity Verification (PIV) card or Department of Defense Common Access Card (CAC)-like
                                                                                               solutions. A variety of multifactor solutions (including those with replay resistance) using tokens and biometrics are
                                                                                               commercially available. Such solutions may employ hard tokens (e.g., smartcards, key fobs, or dongles) or soft tokens
                                                                                               to store user credentials.
                                                                                               25 Local access is any access to a system by a user (or process acting on behalf of a user) communicating through a

                                                                                               direct connection without the use of a network. Network access is any access to a system by a user (or a process
                                                                                               acting on behalf of a user) communicating through a network (e.g., local area network, wide area network, Internet).



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                                                                                                        [SP 800-63-3] provides guidance on digital identities.

                                                                                               3.5.4    Employ replay-resistant authentication mechanisms for network access to privileged and non-
                                                                                                        privileged accounts.

                                                                                                        DISCUSSION
                                                                                                        Authentication processes resist replay attacks if it is impractical to successfully authenticate by
                                                                                                        recording or replaying previous authentication messages. Replay-resistant techniques include
                                                                                                        protocols that use nonces or challenges such as time synchronous or challenge-response one-time
                                                                                                        authenticators.
                                                                                                        [SP 800-63-3] provides guidance on digital identities.

                                                                                               3.5.5    Prevent reuse of identifiers for a defined period.
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                                                                                                        DISCUSSION
                                                                                                        Identifiers are provided for users, processes acting on behalf of users, or devices (3.5.1). Preventing
                                                                                                        reuse of identifiers implies preventing the assignment of previously used individual, group, role, or
                                                                                                        device identifiers to different individuals, groups, roles, or devices.

                                                                                               3.5.6    Disable identifiers after a defined period of inactivity.

                                                                                                        DISCUSSION
                                                                                                        Inactive identifiers pose a risk to organizational information because attackers may exploit an
                                                                                                        inactive identifier to gain undetected access to organizational devices. The owners of the inactive
                                                                                                        accounts may not notice if unauthorized access to the account has been obtained.

                                                                                               3.5.7    Enforce a minimum password complexity and change of characters when new passwords are
                                                                                                        created.

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to single-factor authentication of individuals using passwords as
                                                                                                        individual or group authenticators, and in a similar manner, when passwords are used as part of
                                                                                                        multifactor authenticators. The number of changed characters refers to the number of changes
                                                                                                        required with respect to the total number of positions in the current password. To mitigate certain
                                                                                                        brute force attacks against passwords, organizations may also consider salting passwords.

                                                                                               3.5.8    Prohibit password reuse for a specified number of generations.

                                                                                                        DISCUSSION
                                                                                                        Password lifetime restrictions do not apply to temporary passwords.

                                                                                               3.5.9    Allow temporary password use for system logons with an immediate change to a permanent
                                                                                                        password.

                                                                                                        DISCUSSION
                                                                                                        Changing temporary passwords to permanent passwords immediately after system logon ensures
                                                                                                        that the necessary strength of the authentication mechanism is implemented at the earliest
                                                                                                        opportunity, reducing the susceptibility to authenticator compromises.

                                                                                               3.5.10   Store and transmit only cryptographically-protected passwords.




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                                                                                                        DISCUSSION
                                                                                                        Cryptographically-protected passwords use salted one-way cryptographic hashes of passwords.
                                                                                                        See [NIST CRYPTO].

                                                                                               3.5.11   Obscure feedback of authentication information.

                                                                                                        DISCUSSION
                                                                                                        The feedback from systems does not provide any information that would allow unauthorized
                                                                                                        individuals to compromise authentication mechanisms. For some types of systems or system
                                                                                                        components, for example, desktop or notebook computers with relatively large monitors, the
                                                                                                        threat (often referred to as shoulder surfing) may be significant. For other types of systems or
                                                                                                        components, for example, mobile devices with small displays, this threat may be less significant,
                                                                                                        and is balanced against the increased likelihood of typographic input errors due to the small
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                                                                                                        keyboards. Therefore, the means for obscuring the authenticator feedback is selected accordingly.
                                                                                                        Obscuring authenticator feedback includes displaying asterisks when users type passwords into
                                                                                                        input devices or displaying feedback for a very limited time before fully obscuring it.

                                                                                               3.6 INCIDENT RESPONSE
                                                                                               Basic Security Requirements
                                                                                               3.6.1    Establish an operational incident-handling capability for organizational systems that includes
                                                                                                        preparation, detection, analysis, containment, recovery, and user response activities.

                                                                                                        DISCUSSION
                                                                                                        Organizations recognize that incident handling capability is dependent on the capabilities of
                                                                                                        organizational systems and the mission/business processes being supported by those systems.
                                                                                                        Organizations consider incident handling as part of the definition, design, and development of
                                                                                                        mission/business processes and systems. Incident-related information can be obtained from a
                                                                                                        variety of sources including audit monitoring, network monitoring, physical access monitoring,
                                                                                                        user and administrator reports, and reported supply chain events. Effective incident handling
                                                                                                        capability includes coordination among many organizational entities including mission/business
                                                                                                        owners, system owners, authorizing officials, human resources offices, physical and personnel
                                                                                                        security offices, legal departments, operations personnel, procurement offices, and the risk
                                                                                                        executive.
                                                                                                        As part of user response activities, incident response training is provided by organizations and is
                                                                                                        linked directly to the assigned roles and responsibilities of organizational personnel to ensure that
                                                                                                        the appropriate content and level of detail is included in such training. For example, regular users
                                                                                                        may only need to know who to call or how to recognize an incident on the system; system
                                                                                                        administrators may require additional training on how to handle or remediate incidents; and
                                                                                                        incident responders may receive more specific training on forensics, reporting, system recovery,
                                                                                                        and restoration. Incident response training includes user training in the identification/reporting of
                                                                                                        suspicious activities from external and internal sources. User response activities also includes
                                                                                                        incident response assistance which may consist of help desk support, assistance groups, and access
                                                                                                        to forensics services or consumer redress services, when required.
                                                                                                        [SP 800-61] provides guidance on incident handling. [SP 800-86] and [SP 800-101] provide guidance
                                                                                                        on integrating forensic techniques into incident response. [SP 800-161] provides guidance on
                                                                                                        supply chain risk management.

                                                                                               3.6.2    Track, document, and report incidents to designated officials and/or authorities both internal
                                                                                                        and external to the organization.




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                                                                                                        DISCUSSION
                                                                                                        Tracking and documenting system security incidents includes maintaining records about each
                                                                                                        incident, the status of the incident, and other pertinent information necessary for forensics,
                                                                                                        evaluating incident details, trends, and handling. Incident information can be obtained from a
                                                                                                        variety of sources including incident reports, incident response teams, audit monitoring, network
                                                                                                        monitoring, physical access monitoring, and user/administrator reports.
                                                                                                        Reporting incidents addresses specific incident reporting requirements within an organization and
                                                                                                        the formal incident reporting requirements for the organization. Suspected security incidents may
                                                                                                        also be reported and include the receipt of suspicious email communications that can potentially
                                                                                                        contain malicious code. The types of security incidents reported, the content and timeliness of the
                                                                                                        reports, and the designated reporting authorities reflect applicable laws, Executive Orders,
                                                                                                        directives, regulations, and policies.
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                                                                                                        [SP 800-61] provides guidance on incident handling.

                                                                                               Derived Security Requirements
                                                                                               3.6.3    Test the organizational incident response capability.

                                                                                                        DISCUSSION
                                                                                                        Organizations test incident response capabilities to determine the effectiveness of the capabilities
                                                                                                        and to identify potential weaknesses or deficiencies. Incident response testing includes the use of
                                                                                                        checklists, walk-through or tabletop exercises, simulations (both parallel and full interrupt), and
                                                                                                        comprehensive exercises. Incident response testing can also include a determination of the effects
                                                                                                        on organizational operations (e.g., reduction in mission capabilities), organizational assets, and
                                                                                                        individuals due to incident response.
                                                                                                        [SP 800-84] provides guidance on testing programs for information technology capabilities.

                                                                                               3.7 MAINTENANCE
                                                                                               Basic Security Requirements
                                                                                               3.7.1    Perform maintenance on organizational systems. 26

                                                                                                        DISCUSSION
                                                                                                        This requirement addresses the information security aspects of the system maintenance program
                                                                                                        and applies to all types of maintenance to any system component (including hardware, firmware,
                                                                                                        applications) conducted by any local or nonlocal entity. System maintenance also includes those
                                                                                                        components not directly associated with information processing and data or information retention
                                                                                                        such as scanners, copiers, and printers.

                                                                                               3.7.2    Provide controls on the tools, techniques, mechanisms, and personnel used to conduct system
                                                                                                        maintenance.

                                                                                                        DISCUSSION
                                                                                                        This requirement addresses security-related issues with maintenance tools that are not within the
                                                                                                        organizational system boundaries that process, store, or transmit CUI, but are used specifically for
                                                                                                        diagnostic and repair actions on those systems. Organizations have flexibility in determining the


                                                                                               26 In general, system maintenance requirements tend to support the security objective of availability. However,

                                                                                               improper system maintenance or a failure to perform maintenance can result in the unauthorized disclosure of CUI,
                                                                                               thus compromising confidentiality of that information.



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                                                                                                       controls in place for maintenance tools, but can include approving, controlling, and monitoring the
                                                                                                       use of such tools. Maintenance tools are potential vehicles for transporting malicious code, either
                                                                                                       intentionally or unintentionally, into a facility and into organizational systems. Maintenance tools
                                                                                                       can include hardware, software, and firmware items, for example, hardware and software
                                                                                                       diagnostic test equipment and hardware and software packet sniffers.

                                                                                               Derived Security Requirements
                                                                                               3.7.3   Ensure equipment removed for off-site maintenance is sanitized of any CUI.

                                                                                                       DISCUSSION
                                                                                                       This requirement addresses the information security aspects of system maintenance that are
                                                                                                       performed off-site and applies to all types of maintenance to any system component (including
                                                                                                       applications) conducted by a local or nonlocal entity (e.g., in-contract, warranty, in- house,
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                                                                                                       software maintenance agreement).
                                                                                                       [SP 800-88] provides guidance on media sanitization.

                                                                                               3.7.4   Check media containing diagnostic and test programs for malicious code before the media are
                                                                                                       used in organizational systems.

                                                                                                       DISCUSSION
                                                                                                       If, upon inspection of media containing maintenance diagnostic and test programs, organizations
                                                                                                       determine that the media contain malicious code, the incident is handled consistent with incident
                                                                                                       handling policies and procedures.

                                                                                               3.7.5   Require multifactor authentication to establish nonlocal maintenance sessions via external
                                                                                                       network connections and terminate such connections when nonlocal maintenance is complete.

                                                                                                       DISCUSSION
                                                                                                       Nonlocal maintenance and diagnostic activities are those activities conducted by individuals
                                                                                                       communicating through an external network. The authentication techniques employed in the
                                                                                                       establishment of these nonlocal maintenance and diagnostic sessions reflect the network access
                                                                                                       requirements in 3.5.3.

                                                                                               3.7.6   Supervise the maintenance activities of maintenance personnel without required access
                                                                                                       authorization.

                                                                                                       DISCUSSION
                                                                                                       This requirement applies to individuals who are performing hardware or software maintenance on
                                                                                                       organizational systems, while 3.10.1 addresses physical access for individuals whose maintenance
                                                                                                       duties place them within the physical protection perimeter of the systems (e.g., custodial staff,
                                                                                                       physical plant maintenance personnel). Individuals not previously identified as authorized
                                                                                                       maintenance personnel, such as information technology manufacturers, vendors, consultants, and
                                                                                                       systems integrators, may require privileged access to organizational systems, for example, when
                                                                                                       required to conduct maintenance activities with little or no notice. Organizations may choose to
                                                                                                       issue temporary credentials to these individuals based on organizational risk assessments.
                                                                                                       Temporary credentials may be for one-time use or for very limited time periods.




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                                                                                               3.8 MEDIA PROTECTION
                                                                                               Basic Security Requirements
                                                                                               3.8.1   Protect (i.e., physically control and securely store) system media containing CUI, both paper
                                                                                                       and digital.

                                                                                                       DISCUSSION
                                                                                                       System media includes digital and non-digital media. Digital media includes diskettes, magnetic
                                                                                                       tapes, external and removable hard disk drives, flash drives, compact disks, and digital video disks.
                                                                                                       Non-digital media includes paper and microfilm. Protecting digital media includes limiting access
                                                                                                       to design specifications stored on compact disks or flash drives in the media library to the project
                                                                                                       leader and any individuals on the development team. Physically controlling system media includes
                                                                                                       conducting inventories, maintaining accountability for stored media, and ensuring procedures are
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                                                                                                       in place to allow individuals to check out and return media to the media library. Secure storage
                                                                                                       includes a locked drawer, desk, or cabinet, or a controlled media library.
                                                                                                       Access to CUI on system media can be limited by physically controlling such media, which includes
                                                                                                       conducting inventories, ensuring procedures are in place to allow individuals to check out and
                                                                                                       return media to the media library, and maintaining accountability for all stored media.
                                                                                                       [SP 800-111] provides guidance on storage encryption technologies for end user devices.

                                                                                               3.8.2   Limit access to CUI on system media to authorized users.

                                                                                                       DISCUSSION
                                                                                                       Access can be limited by physically controlling system media and secure storage areas. Physically
                                                                                                       controlling system media includes conducting inventories, ensuring procedures are in place to
                                                                                                       allow individuals to check out and return system media to the media library, and maintaining
                                                                                                       accountability for all stored media. Secure storage includes a locked drawer, desk, or cabinet, or a
                                                                                                       controlled media library.

                                                                                               3.8.3   Sanitize or destroy system media containing CUI before disposal or release for reuse.

                                                                                                       DISCUSSION
                                                                                                       This requirement applies to all system media, digital and non-digital, subject to disposal or reuse.
                                                                                                       Examples include: digital media found in workstations, network components, scanners, copiers,
                                                                                                       printers, notebook computers, and mobile devices; and non-digital media such as paper and
                                                                                                       microfilm. The sanitization process removes information from the media such that the information
                                                                                                       cannot be retrieved or reconstructed. Sanitization techniques, including clearing, purging,
                                                                                                       cryptographic erase, and destruction, prevent the disclosure of information to unauthorized
                                                                                                       individuals when such media is released for reuse or disposal.
                                                                                                       Organizations determine the appropriate sanitization methods, recognizing that destruction may
                                                                                                       be necessary when other methods cannot be applied to the media requiring sanitization.
                                                                                                       Organizations use discretion on the employment of sanitization techniques and procedures for
                                                                                                       media containing information that is in the public domain or publicly releasable or deemed to have
                                                                                                       no adverse impact on organizations or individuals if released for reuse or disposal. Sanitization of
                                                                                                       non-digital media includes destruction, removing CUI from documents, or redacting selected
                                                                                                       sections or words from a document by obscuring the redacted sections or words in a manner
                                                                                                       equivalent in effectiveness to removing the words or sections from the document. NARA policy
                                                                                                       and guidance control sanitization processes for controlled unclassified information.
                                                                                                       [SP 800-88] provides guidance on media sanitization.




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                                                                                               Derived Security Requirements
                                                                                               3.8.4    Mark media with necessary CUI markings and distribution limitations. 27

                                                                                                        DISCUSSION
                                                                                                        The term security marking refers to the application or use of human-readable security attributes.
                                                                                                        System media includes digital and non-digital media. Marking of system media reflects applicable
                                                                                                        federal laws, Executive Orders, directives, policies, and regulations. See [NARA MARK].

                                                                                               3.8.5    Control access to media containing CUI and maintain accountability for media during transport
                                                                                                        outside of controlled areas.

                                                                                                        DISCUSSION
                                                                                                        Controlled areas are areas or spaces for which organizations provide physical or procedural
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                                                                                                        controls to meet the requirements established for protecting systems and information. Controls
                                                                                                        to maintain accountability for media during transport include locked containers and cryptography.
                                                                                                        Cryptographic mechanisms can provide confidentiality and integrity protections depending upon
                                                                                                        the mechanisms used. Activities associated with transport include the actual transport as well as
                                                                                                        those activities such as releasing media for transport and ensuring that media enters the
                                                                                                        appropriate transport processes. For the actual transport, authorized transport and courier
                                                                                                        personnel may include individuals external to the organization. Maintaining accountability of
                                                                                                        media during transport includes restricting transport activities to authorized personnel and
                                                                                                        tracking and obtaining explicit records of transport activities as the media moves through the
                                                                                                        transportation system to prevent and detect loss, destruction, or tampering.

                                                                                               3.8.6    Implement cryptographic mechanisms to protect the confidentiality of CUI stored on digital
                                                                                                        media during transport unless otherwise protected by alternative physical safeguards.

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to portable storage devices (e.g., USB memory sticks, digital video disks,
                                                                                                        compact disks, external or removable hard disk drives). See [NIST CRYPTO].
                                                                                                        [SP 800-111] provides guidance on storage encryption technologies for end user devices.

                                                                                               3.8.7    Control the use of removable media on system components.

                                                                                                        DISCUSSION
                                                                                                        In contrast to requirement 3.8.1, which restricts user access to media, this requirement restricts
                                                                                                        the use of certain types of media on systems, for example, restricting or prohibiting the use of flash
                                                                                                        drives or external hard disk drives. Organizations can employ technical and nontechnical controls
                                                                                                        (e.g., policies, procedures, and rules of behavior) to control the use of system media. Organizations
                                                                                                        may control the use of portable storage devices, for example, by using physical cages on
                                                                                                        workstations to prohibit access to certain external ports, or disabling or removing the ability to
                                                                                                        insert, read, or write to such devices.
                                                                                                        Organizations may also limit the use of portable storage devices to only approved devices including
                                                                                                        devices provided by the organization, devices provided by other approved organizations, and
                                                                                                        devices that are not personally owned. Finally, organizations may control the use of portable



                                                                                               27 The implementation of this requirement is per marking guidance in [32 CFR 2002] and [NARA CUI]. Standard Form

                                                                                               (SF) 902 (approximate size 2.125” x 1.25”) and SF 903 (approximate size 2.125” x .625”) can be used on media that
                                                                                               contains CUI such as hard drives, or USB devices. Both forms are available from https://www.gsaadvantage.gov. SF
                                                                                               902: NSN 7540-01-679-3318. SF 903: NSN 7540-01-679-3319.



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                                                                                                       storage devices based on the type of device, prohibiting the use of writeable, portable devices,
                                                                                                       and implementing this restriction by disabling or removing the capability to write to such devices.

                                                                                               3.8.8   Prohibit the use of portable storage devices when such devices have no identifiable owner.

                                                                                                       DISCUSSION
                                                                                                       Requiring identifiable owners (e.g., individuals, organizations, or projects) for portable storage
                                                                                                       devices reduces the overall risk of using such technologies by allowing organizations to assign
                                                                                                       responsibility and accountability for addressing known vulnerabilities in the devices (e.g., insertion
                                                                                                       of malicious code).

                                                                                               3.8.9   Protect the confidentiality of backup CUI at storage locations.

                                                                                                       DISCUSSION
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                                                                                                       Organizations can employ cryptographic mechanisms or alternative physical controls to protect
                                                                                                       the confidentiality of backup information at designated storage locations. Backed-up information
                                                                                                       containing CUI may include system-level information and user-level information. System-level
                                                                                                       information includes system-state information, operating system software, application software,
                                                                                                       and licenses. User-level information includes information other than system-level information.

                                                                                               3.9 PERSONNEL SECURITY
                                                                                               Basic Security Requirements
                                                                                               3.9.1   Screen individuals prior to authorizing access to organizational systems containing CUI.

                                                                                                       DISCUSSION
                                                                                                       Personnel security screening (vetting) activities involve the evaluation/assessment of individual’s
                                                                                                       conduct, integrity, judgment, loyalty, reliability, and stability (i.e., the trustworthiness of the
                                                                                                       individual) prior to authorizing access to organizational systems containing CUI. The screening
                                                                                                       activities reflect applicable federal laws, Executive Orders, directives, policies, regulations, and
                                                                                                       specific criteria established for the level of access required for assigned positions.

                                                                                               3.9.2   Ensure that organizational systems containing CUI are protected during and after personnel
                                                                                                       actions such as terminations and transfers.

                                                                                                       DISCUSSION
                                                                                                       Protecting CUI during and after personnel actions may include returning system-related property
                                                                                                       and conducting exit interviews. System-related property includes hardware authentication tokens,
                                                                                                       identification cards, system administration technical manuals, keys, and building passes. Exit
                                                                                                       interviews ensure that individuals who have been terminated understand the security constraints
                                                                                                       imposed by being former employees and that proper accountability is achieved for system-related
                                                                                                       property. Security topics of interest at exit interviews can include reminding terminated individuals
                                                                                                       of nondisclosure agreements and potential limitations on future employment. Exit interviews may
                                                                                                       not be possible for some terminated individuals, for example, in cases related to job abandonment,
                                                                                                       illnesses, and non-availability of supervisors. For termination actions, timely execution is essential
                                                                                                       for individuals terminated for cause. In certain situations, organizations consider disabling the
                                                                                                       system accounts of individuals that are being terminated prior to the individuals being notified.
                                                                                                       This requirement applies to reassignments or transfers of individuals when the personnel action is
                                                                                                       permanent or of such extended durations as to require protection. Organizations define the CUI
                                                                                                       protections appropriate for the types of reassignments or transfers, whether permanent or
                                                                                                       extended. Protections that may be required for transfers or reassignments to other positions



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                                                                                                        within organizations include returning old and issuing new keys, identification cards, and building
                                                                                                        passes; changing system access authorizations (i.e., privileges); closing system accounts and
                                                                                                        establishing new accounts; and providing for access to official records to which individuals had
                                                                                                        access at previous work locations and in previous system accounts.

                                                                                               Derived Security Requirements
                                                                                               None.

                                                                                               3.10 PHYSICAL PROTECTION
                                                                                               Basic Security Requirements
                                                                                               3.10.1   Limit physical access to organizational systems, equipment, and the respective operating
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                                                                                                        environments to authorized individuals.

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to employees, individuals with permanent physical access authorization
                                                                                                        credentials, and visitors. Authorized individuals have credentials that include badges, identification
                                                                                                        cards, and smart cards. Organizations determine the strength of authorization credentials needed
                                                                                                        consistent with applicable laws, directives, policies, regulations, standards, procedures, and
                                                                                                        guidelines. This requirement applies only to areas within facilities that have not been designated
                                                                                                        as publicly accessible.
                                                                                                        Limiting physical access to equipment may include placing equipment in locked rooms or other
                                                                                                        secured areas and allowing access to authorized individuals only; and placing equipment in
                                                                                                        locations that can be monitored by organizational personnel. Computing devices, external disk
                                                                                                        drives, networking devices, monitors, printers, copiers, scanners, facsimile machines, and audio
                                                                                                        devices are examples of equipment.

                                                                                               3.10.2   Protect and monitor the physical facility and support infrastructure for organizational systems.

                                                                                                        DISCUSSION
                                                                                                        Monitoring of physical access includes publicly accessible areas within organizational facilities. This
                                                                                                        can be accomplished, for example, by the employment of guards; the use of sensor devices; or the
                                                                                                        use of video surveillance equipment such as cameras. Examples of support infrastructure include
                                                                                                        system distribution, transmission, and power lines. Security controls applied to the support
                                                                                                        infrastructure prevent accidental damage, disruption, and physical tampering. Such controls may
                                                                                                        also be necessary to prevent eavesdropping or modification of unencrypted transmissions.
                                                                                                        Physical access controls to support infrastructure include locked wiring closets; disconnected or
                                                                                                        locked spare jacks; protection of cabling by conduit or cable trays; and wiretapping sensors.

                                                                                               Derived Security Requirements
                                                                                               3.10.3   Escort visitors and monitor visitor activity.

                                                                                                        DISCUSSION
                                                                                                        Individuals with permanent physical access authorization credentials are not considered visitors.
                                                                                                        Audit logs can be used to monitor visitor activity.

                                                                                               3.10.4   Maintain audit logs of physical access.




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                                                                                                        DISCUSSION
                                                                                                        Organizations have flexibility in the types of audit logs employed. Audit logs can be procedural
                                                                                                        (e.g., a written log of individuals accessing the facility), automated (e.g., capturing ID provided by
                                                                                                        a PIV card), or some combination thereof. Physical access points can include facility access points,
                                                                                                        interior access points to systems or system components requiring supplemental access controls,
                                                                                                        or both. System components (e.g., workstations, notebook computers) may be in areas designated
                                                                                                        as publicly accessible with organizations safeguarding access to such devices.

                                                                                               3.10.5   Control and manage physical access devices.

                                                                                                        DISCUSSION
                                                                                                        Physical access devices include keys, locks, combinations, and card readers.
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                                                                                               3.10.6   Enforce safeguarding measures for CUI at alternate work sites.

                                                                                                        DISCUSSION
                                                                                                        Alternate work sites may include government facilities or the private residences of employees.
                                                                                                        Organizations may define different security requirements for specific alternate work sites or types
                                                                                                        of sites depending on the work-related activities conducted at those sites.
                                                                                                        [SP 800-46] and [SP 800-114] provide guidance on enterprise and user security when teleworking.

                                                                                               3.11 RISK ASSESSMENT
                                                                                               Basic Security Requirements
                                                                                               3.11.1   Periodically assess the risk to organizational operations (including mission, functions, image, or
                                                                                                        reputation), organizational assets, and individuals, resulting from the operation of
                                                                                                        organizational systems and the associated processing, storage, or transmission of CUI.

                                                                                                        DISCUSSION
                                                                                                        Clearly defined system boundaries are a prerequisite for effective risk assessments. Such risk
                                                                                                        assessments consider threats, vulnerabilities, likelihood, and impact to organizational operations,
                                                                                                        organizational assets, and individuals based on the operation and use of organizational systems.
                                                                                                        Risk assessments also consider risk from external parties (e.g., service providers, contractors
                                                                                                        operating systems on behalf of the organization, individuals accessing organizational systems,
                                                                                                        outsourcing entities). Risk assessments, either formal or informal, can be conducted at the
                                                                                                        organization level, the mission or business process level, or the system level, and at any phase in
                                                                                                        the system development life cycle.
                                                                                                        [SP 800-30] provides guidance on conducting risk assessments.

                                                                                               Derived Security Requirements
                                                                                               3.11.2   Scan for vulnerabilities in organizational systems and applications periodically and when new
                                                                                                        vulnerabilities affecting those systems and applications are identified.

                                                                                                        DISCUSSION
                                                                                                        Organizations determine the required vulnerability scanning for all system components, ensuring
                                                                                                        that potential sources of vulnerabilities such as networked printers, scanners, and copiers are not
                                                                                                        overlooked. The vulnerabilities to be scanned are readily updated as new vulnerabilities are
                                                                                                        discovered, announced, and scanning methods developed. This process ensures that potential
                                                                                                        vulnerabilities in the system are identified and addressed as quickly as possible. Vulnerability
                                                                                                        analyses for custom software applications may require additional approaches such as static



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                                                                                                        analysis, dynamic analysis, binary analysis, or a hybrid of the three approaches. Organizations can
                                                                                                        employ these analysis approaches in source code reviews and in a variety of tools (e.g., static
                                                                                                        analysis tools, web-based application scanners, binary analyzers) and in source code reviews.
                                                                                                        Vulnerability scanning includes: scanning for patch levels; scanning for functions, ports, protocols,
                                                                                                        and services that should not be accessible to users or devices; and scanning for improperly
                                                                                                        configured or incorrectly operating information flow control mechanisms.
                                                                                                        To facilitate interoperability, organizations consider using products that are Security Content
                                                                                                        Automated Protocol (SCAP)-validated, scanning tools that express vulnerabilities in the Common
                                                                                                        Vulnerabilities and Exposures (CVE) naming convention, and that employ the Open Vulnerability
                                                                                                        Assessment Language (OVAL) to determine the presence of system vulnerabilities. Sources for
                                                                                                        vulnerability information include the Common Weakness Enumeration (CWE) listing and the
                                                                                                        National Vulnerability Database (NVD).
                                                                                                        Security assessments, such as red team exercises, provide additional sources of potential
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                                                                                                        vulnerabilities for which to scan. Organizations also consider using scanning tools that express
                                                                                                        vulnerability impact by the Common Vulnerability Scoring System (CVSS). In certain situations, the
                                                                                                        nature of the vulnerability scanning may be more intrusive or the system component that is the
                                                                                                        subject of the scanning may contain highly sensitive information. Privileged access authorization
                                                                                                        to selected system components facilitates thorough vulnerability scanning and protects the
                                                                                                        sensitive nature of such scanning.
                                                                                                        [SP 800-40] provides guidance on vulnerability management.

                                                                                               3.11.3   Remediate vulnerabilities in accordance with risk assessments.

                                                                                                        DISCUSSION
                                                                                                        Vulnerabilities discovered, for example, via the scanning conducted in response to 3.11.2, are
                                                                                                        remediated with consideration of the related assessment of risk. The consideration of risk
                                                                                                        influences the prioritization of remediation efforts and the level of effort to be expended in the
                                                                                                        remediation for specific vulnerabilities.

                                                                                               3.12 SECURITY ASSESSMENT
                                                                                               Basic Security Requirements
                                                                                               3.12.1   Periodically assess the security controls in organizational systems to determine if the controls
                                                                                                        are effective in their application.
                                                                                                        DISCUSSION
                                                                                                        Organizations assess security controls in organizational systems and the environments in which
                                                                                                        those systems operate as part of the system development life cycle. Security controls are the
                                                                                                        safeguards or countermeasures organizations implement to satisfy security requirements. By
                                                                                                        assessing the implemented security controls, organizations determine if the security safeguards or
                                                                                                        countermeasures are in place and operating as intended. Security control assessments ensure that
                                                                                                        information security is built into organizational systems; identify weaknesses and deficiencies early
                                                                                                        in the development process; provide essential information needed to make risk-based decisions;
                                                                                                        and ensure compliance to vulnerability mitigation procedures. Assessments are conducted on the
                                                                                                        implemented security controls as documented in system security plans.
                                                                                                        Security assessment reports document assessment results in sufficient detail as deemed necessary
                                                                                                        by organizations, to determine the accuracy and completeness of the reports and whether the
                                                                                                        security controls are implemented correctly, operating as intended, and producing the desired
                                                                                                        outcome with respect to meeting security requirements. Security assessment results are provided
                                                                                                        to the individuals or roles appropriate for the types of assessments being conducted.



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                                                                                                         Organizations ensure that security assessment results are current, relevant to the determination
                                                                                                         of security control effectiveness, and obtained with the appropriate level of assessor
                                                                                                         independence. Organizations can choose to use other types of assessment activities such as
                                                                                                         vulnerability scanning and system monitoring to maintain the security posture of systems during
                                                                                                         the system life cycle.
                                                                                                         [SP 800-53] provides guidance on security and privacy controls for systems and organizations. [SP
                                                                                                         800-53A] provides guidance on developing security assessment plans and conducting assessments.

                                                                                               3.12.2    Develop and implement plans of action designed to correct deficiencies and reduce or
                                                                                                         eliminate vulnerabilities in organizational systems.
                                                                                                         DISCUSSION
                                                                                                         The plan of action is a key document in the information security program. Organizations develop
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                                                                                                         plans of action that describe how any unimplemented security requirements will be met and how
                                                                                                         any planned mitigations will be implemented. Organizations can document the system security
                                                                                                         plan and plan of action as separate or combined documents and in any chosen format.
                                                                                                         Federal agencies may consider the submitted system security plans and plans of action as critical
                                                                                                         inputs to an overall risk management decision to process, store, or transmit CUI on a system hosted
                                                                                                         by a nonfederal organization and whether it is advisable to pursue an agreement or contract with
                                                                                                         the nonfederal organization. [NIST CUI] provides supplemental material for Special Publication
                                                                                                         800-171 including templates for plans of action.

                                                                                               3.12.3    Monitor security controls on an ongoing basis to ensure the continued effectiveness of the
                                                                                                         controls.
                                                                                                         DISCUSSION
                                                                                                         Continuous monitoring programs facilitate ongoing awareness of threats, vulnerabilities, and
                                                                                                         information security to support organizational risk management decisions. The terms continuous
                                                                                                         and ongoing imply that organizations assess and analyze security controls and information
                                                                                                         security-related risks at a frequency sufficient to support risk-based decisions. The results of
                                                                                                         continuous monitoring programs generate appropriate risk response actions by organizations.
                                                                                                         Providing access to security information on a continuing basis through reports or dashboards gives
                                                                                                         organizational officials the capability to make effective and timely risk management decisions.
                                                                                                         Automation supports more frequent updates to hardware, software, firmware inventories, and
                                                                                                         other system information. Effectiveness is further enhanced when continuous monitoring outputs
                                                                                                         are formatted to provide information that is specific, measurable, actionable, relevant, and timely.
                                                                                                         Monitoring requirements, including the need for specific monitoring, may also be referenced in
                                                                                                         other requirements.
                                                                                                         [SP 800-137] provides guidance on continuous monitoring.

                                                                                               3.12.4    Develop, document, and periodically update system security plans that describe system
                                                                                                         boundaries, system environments of operation, how security requirements are implemented,
                                                                                                         and the relationships with or connections to other systems. 28

                                                                                                         DISCUSSION
                                                                                                         System security plans relate security requirements to a set of security controls. System security
                                                                                                         plans also describe, at a high level, how the security controls meet those security requirements,
                                                                                                         but do not provide detailed, technical descriptions of the design or implementation of the controls.


                                                                                               28 There is no prescribed format or specified level of detail for system security plans. However, organizations ensure

                                                                                               that the required information in 3.12.4 is conveyed in those plans.



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                                                                                                        System security plans contain sufficient information to enable a design and implementation that
                                                                                                        is unambiguously compliant with the intent of the plans and subsequent determinations of risk if
                                                                                                        the plan is implemented as intended. Security plans need not be single documents; the plans can
                                                                                                        be a collection of various documents including documents that already exist. Effective security
                                                                                                        plans make extensive use of references to policies, procedures, and additional documents (e.g.,
                                                                                                        design and implementation specifications) where more detailed information can be obtained. This
                                                                                                        reduces the documentation requirements associated with security programs and maintains
                                                                                                        security-related information in other established management/operational areas related to
                                                                                                        enterprise architecture, system development life cycle, systems engineering, and acquisition.
                                                                                                        Federal agencies may consider the submitted system security plans and plans of action as critical
                                                                                                        inputs to an overall risk management decision to process, store, or transmit CUI on a system hosted
                                                                                                        by a nonfederal organization and whether it is advisable to pursue an agreement or contract with
                                                                                                        the nonfederal organization.
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                                                                                                        [SP 800-18] provides guidance on developing security plans. [NIST CUI] provides supplemental
                                                                                                        material for Special Publication 800-171 including templates for system security plans.
                                                                                               Derived Security Requirements
                                                                                               None.

                                                                                               3.13 SYSTEM AND COMMUNICATIONS PROTECTION
                                                                                               Basic Security Requirements
                                                                                               3.13.1   Monitor, control, and protect communications (i.e., information transmitted or received by
                                                                                                        organizational systems) at the external boundaries and key internal boundaries of
                                                                                                        organizational systems.

                                                                                                        DISCUSSION
                                                                                                        Communications can be monitored, controlled, and protected at boundary components and by
                                                                                                        restricting or prohibiting interfaces in organizational systems. Boundary components include
                                                                                                        gateways, routers, firewalls, guards, network-based malicious code analysis and virtualization
                                                                                                        systems, or encrypted tunnels implemented within a system security architecture (e.g., routers
                                                                                                        protecting firewalls or application gateways residing on protected subnetworks). Restricting or
                                                                                                        prohibiting interfaces in organizational systems includes restricting external web communications
                                                                                                        traffic to designated web servers within managed interfaces and prohibiting external traffic that
                                                                                                        appears to be spoofing internal addresses.
                                                                                                        Organizations consider the shared nature of commercial telecommunications services in the
                                                                                                        implementation of security requirements associated with the use of such services. Commercial
                                                                                                        telecommunications services are commonly based on network components and consolidated
                                                                                                        management systems shared by all attached commercial customers and may also include third
                                                                                                        party-provided access lines and other service elements. Such transmission services may represent
                                                                                                        sources of increased risk despite contract security provisions.
                                                                                                        [SP 800-41] provides guidance on firewalls and firewall policy. [SP 800-125B] provides guidance on
                                                                                                        security for virtualization technologies.

                                                                                               3.13.2   Employ architectural designs, software development techniques, and systems engineering
                                                                                                        principles that promote effective information security within organizational systems.

                                                                                                        DISCUSSION
                                                                                                        Organizations apply systems security engineering principles to new development systems or
                                                                                                        systems undergoing major upgrades. For legacy systems, organizations apply systems security



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                                                                                                        engineering principles to system upgrades and modifications to the extent feasible, given the
                                                                                                        current state of hardware, software, and firmware components within those systems. The
                                                                                                        application of systems security engineering concepts and principles helps to develop trustworthy,
                                                                                                        secure, and resilient systems and system components and reduce the susceptibility of
                                                                                                        organizations to disruptions, hazards, and threats. Examples of these concepts and principles
                                                                                                        include developing layered protections; establishing security policies, architecture, and controls as
                                                                                                        the foundation for design; incorporating security requirements into the system development life
                                                                                                        cycle; delineating physical and logical security boundaries; ensuring that developers are trained on
                                                                                                        how to build secure software; and performing threat modeling to identify use cases, threat agents,
                                                                                                        attack vectors and patterns, design patterns, and compensating controls needed to mitigate risk.
                                                                                                        Organizations that apply security engineering concepts and principles can facilitate the
                                                                                                        development of trustworthy, secure systems, system components, and system services; reduce
                                                                                                        risk to acceptable levels; and make informed risk-management decisions.
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                                                                                                        [SP 800-160-1] provides guidance on systems security engineering.

                                                                                               Derived Security Requirements
                                                                                               3.13.3   Separate user functionality from system management functionality.

                                                                                                        DISCUSSION
                                                                                                        System management functionality includes functions necessary to administer databases, network
                                                                                                        components, workstations, or servers, and typically requires privileged user access. The separation
                                                                                                        of user functionality from system management functionality is physical or logical. Organizations
                                                                                                        can implement separation of system management functionality from user functionality by using
                                                                                                        different computers, different central processing units, different instances of operating systems,
                                                                                                        or different network addresses; virtualization techniques; or combinations of these or other
                                                                                                        methods, as appropriate. This type of separation includes web administrative interfaces that use
                                                                                                        separate authentication methods for users of any other system resources. Separation of system
                                                                                                        and user functionality may include isolating administrative interfaces on different domains and
                                                                                                        with additional access controls.

                                                                                               3.13.4   Prevent unauthorized and unintended information transfer via shared system resources.

                                                                                                        DISCUSSION
                                                                                                        The control of information in shared system resources (e.g., registers, cache memory, main
                                                                                                        memory, hard disks) is also commonly referred to as object reuse and residual information
                                                                                                        protection. This requirement prevents information produced by the actions of prior users or roles
                                                                                                        (or the actions of processes acting on behalf of prior users or roles) from being available to any
                                                                                                        current users or roles (or current processes acting on behalf of current users or roles) that obtain
                                                                                                        access to shared system resources after those resources have been released back to the system.
                                                                                                        This requirement also applies to encrypted representations of information. This requirement does
                                                                                                        not address information remanence, which refers to residual representation of data that has been
                                                                                                        nominally deleted; covert channels (including storage or timing channels) where shared resources
                                                                                                        are manipulated to violate information flow restrictions; or components within systems for which
                                                                                                        there are only single users or roles.

                                                                                               3.13.5   Implement subnetworks for publicly accessible system components that are physically or
                                                                                                        logically separated from internal networks.

                                                                                                        DISCUSSION
                                                                                                        Subnetworks that are physically or logically separated from internal networks are referred to as
                                                                                                        demilitarized zones (DMZs). DMZs are typically implemented with boundary control devices and
                                                                                                        techniques that include routers, gateways, firewalls, virtualization, or cloud-based technologies.


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                                                                                                        [SP 800-41] provides guidance on firewalls and firewall policy. [SP 800-125B] provides guidance on
                                                                                                        security for virtualization technologies.

                                                                                               3.13.6   Deny network communications traffic by default and allow network communications traffic by
                                                                                                        exception (i.e., deny all, permit by exception).

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to inbound and outbound network communications traffic at the system
                                                                                                        boundary and at identified points within the system. A deny-all, permit-by-exception network
                                                                                                        communications traffic policy ensures that only those connections which are essential and
                                                                                                        approved are allowed.

                                                                                               3.13.7   Prevent remote devices from simultaneously establishing non-remote connections with
                                                                                                        organizational systems and communicating via some other connection to resources in external
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                                                                                                        networks (i.e., split tunneling).

                                                                                                        DISCUSSION
                                                                                                        Split tunneling might be desirable by remote users to communicate with local system resources
                                                                                                        such as printers or file servers. However, split tunneling allows unauthorized external connections,
                                                                                                        making the system more vulnerable to attack and to exfiltration of organizational information. This
                                                                                                        requirement is implemented in remote devices (e.g., notebook computers, smart phones, and
                                                                                                        tablets) through configuration settings to disable split tunneling in those devices, and by
                                                                                                        preventing configuration settings from being readily configurable by users. This requirement is
                                                                                                        implemented in the system by the detection of split tunneling (or of configuration settings that
                                                                                                        allow split tunneling) in the remote device, and by prohibiting the connection if the remote device
                                                                                                        is using split tunneling.

                                                                                               3.13.8   Implement cryptographic mechanisms to prevent unauthorized disclosure of CUI during
                                                                                                        transmission unless otherwise protected by alternative physical safeguards.

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to internal and external networks and any system components that can
                                                                                                        transmit information including servers, notebook computers, desktop computers, mobile devices,
                                                                                                        printers, copiers, scanners, and facsimile machines. Communication paths outside the physical
                                                                                                        protection of controlled boundaries are susceptible to both interception and modification.
                                                                                                        Organizations relying on commercial providers offering transmission services as commodity
                                                                                                        services rather than as fully dedicated services (i.e., services which can be highly specialized to
                                                                                                        individual customer needs), may find it difficult to obtain the necessary assurances regarding the
                                                                                                        implementation of the controls for transmission confidentiality. In such situations, organizations
                                                                                                        determine what types of confidentiality services are available in commercial telecommunication
                                                                                                        service packages. If it is infeasible or impractical to obtain the necessary safeguards and assurances
                                                                                                        of the effectiveness of the safeguards through appropriate contracting vehicles, organizations
                                                                                                        implement compensating safeguards or explicitly accept the additional risk. An example of an
                                                                                                        alternative physical safeguard is a protected distribution system (PDS) where the distribution
                                                                                                        medium is protected against electronic or physical intercept, thereby ensuring the confidentiality
                                                                                                        of the information being transmitted. See [NIST CRYPTO].

                                                                                               3.13.9   Terminate network connections associated with communications sessions at the end of the
                                                                                                        sessions or after a defined period of inactivity.

                                                                                                        DISCUSSION
                                                                                                        This requirement applies to internal and external networks. Terminating network connections
                                                                                                        associated with communications sessions include de-allocating associated TCP/IP address or port


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                                                                                                         pairs at the operating system level, or de-allocating networking assignments at the application
                                                                                                         level if multiple application sessions are using a single, operating system-level network connection.
                                                                                                         Time periods of user inactivity may be established by organizations and include time periods by
                                                                                                         type of network access or for specific network accesses.

                                                                                               3.13.10    Establish and manage cryptographic keys for cryptography employed in organizational
                                                                                                          systems.

                                                                                                          DISCUSSION
                                                                                                          Cryptographic key management and establishment can be performed using manual procedures
                                                                                                          or mechanisms supported by manual procedures. Organizations define key management
                                                                                                          requirements in accordance with applicable federal laws, Executive Orders, policies, directives,
                                                                                                          regulations, and standards specifying appropriate options, levels, and parameters.
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                                                                                                          [SP 800-56A] and [SP 800-57-1] provide guidance on cryptographic key management and key
                                                                                                          establishment.

                                                                                               3.13.11    Employ FIPS-validated cryptography when used to protect the confidentiality of CUI.

                                                                                                          DISCUSSION
                                                                                                          Cryptography can be employed to support many security solutions including the protection of
                                                                                                          controlled unclassified information, the provision of digital signatures, and the enforcement of
                                                                                                          information separation when authorized individuals have the necessary clearances for such
                                                                                                          information but lack the necessary formal access approvals. Cryptography can also be used to
                                                                                                          support random number generation and hash generation. Cryptographic standards include FIPS-
                                                                                                          validated cryptography and/or NSA-approved cryptography. See [NIST CRYPTO]; [NIST CAVP];
                                                                                                          and [NIST CMVP].

                                                                                               3.13.12    Prohibit remote activation of collaborative computing devices and provide indication of
                                                                                                          devices in use to users present at the device. 29

                                                                                                          DISCUSSION
                                                                                                          Collaborative computing devices include networked white boards, cameras, and microphones.
                                                                                                          Indication of use includes signals to users when collaborative computing devices are activated.
                                                                                                          Dedicated video conferencing systems, which rely on one of the participants calling or connecting
                                                                                                          to the other party to activate the video conference, are excluded.

                                                                                               3.13.13    Control and monitor the use of mobile code.

                                                                                                          DISCUSSION
                                                                                                          Mobile code technologies include Java, JavaScript, ActiveX, Postscript, PDF, Flash animations,
                                                                                                          and VBScript. Decisions regarding the use of mobile code in organizational systems are based on
                                                                                                          the potential for the code to cause damage to the systems if used maliciously. Usage restrictions
                                                                                                          and implementation guidance apply to the selection and use of mobile code installed on servers
                                                                                                          and mobile code downloaded and executed on individual workstations, notebook computers,
                                                                                                          and devices (e.g., smart phones). Mobile code policy and procedures address controlling or
                                                                                                          preventing the development, acquisition, or introduction of unacceptable mobile code in
                                                                                                          systems, including requiring mobile code to be digitally signed by a trusted source.




                                                                                               29 Dedicated video conferencing systems, which rely on one of the participants calling or connecting to the other

                                                                                               party to activate the video conference, are excluded.



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                                                                                                          [SP 800-28] provides guidance on mobile code.

                                                                                               3.13.14    Control and monitor the use of Voice over Internet Protocol (VoIP) technologies.

                                                                                                          DISCUSSION
                                                                                                          VoIP has different requirements, features, functionality, availability, and service limitations when
                                                                                                          compared with the Plain Old Telephone Service (POTS) (i.e., the standard telephone service). In
                                                                                                          contrast, other telephone services are based on high-speed, digital communications lines, such
                                                                                                          as Integrated Services Digital Network (ISDN) and Fiber Distributed Data Interface (FDDI). The
                                                                                                          main distinctions between POTS and non-POTS services are speed and bandwidth. To address
                                                                                                          the threats associated with VoIP, usage restrictions and implementation guidelines are based on
                                                                                                          the potential for the VoIP technology to cause damage to the system if it is used maliciously.
                                                                                                          Threats to VoIP are similar to those inherent with any Internet-based application.
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                                                                                                          [SP 800-58] provides guidance on Voice Over IP Systems.

                                                                                               3.13.15    Protect the authenticity of communications sessions.

                                                                                                          DISCUSSION
                                                                                                          Authenticity protection includes protecting against man-in-the-middle attacks, session hijacking,
                                                                                                          and the insertion of false information into communications sessions. This requirement addresses
                                                                                                          communications protection at the session versus packet level (e.g., sessions in service-oriented
                                                                                                          architectures providing web-based services) and establishes grounds for confidence at both ends
                                                                                                          of communications sessions in ongoing identities of other parties and in the validity of
                                                                                                          information transmitted.
                                                                                                          [SP 800-77], [SP 800-95], and [SP 800-113] provide guidance on secure communications sessions.

                                                                                               3.13.16    Protect the confidentiality of CUI at rest.

                                                                                                          DISCUSSION
                                                                                                          Information at rest refers to the state of information when it is not in process or in transit and is
                                                                                                          located on storage devices as specific components of systems. The focus of protection at rest is
                                                                                                          not on the type of storage device or the frequency of access but rather the state of the
                                                                                                          information. Organizations can use different mechanisms to achieve confidentiality protections,
                                                                                                          including the use of cryptographic mechanisms and file share scanning. Organizations may also
                                                                                                          use other controls including secure off-line storage in lieu of online storage when adequate
                                                                                                          protection of information at rest cannot otherwise be achieved or continuous monitoring to
                                                                                                          identify malicious code at rest. See [NIST CRYPTO].

                                                                                               3.14 SYSTEM AND INFORMATION INTEGRITY
                                                                                               Basic Security Requirements
                                                                                               3.14.1    Identify, report, and correct system flaws in a timely manner.

                                                                                                         DISCUSSION
                                                                                                         Organizations identify systems that are affected by announced software and firmware flaws
                                                                                                         including potential vulnerabilities resulting from those flaws and report this information to
                                                                                                         designated personnel with information security responsibilities. Security-relevant updates include
                                                                                                         patches, service packs, hot fixes, and anti-virus signatures. Organizations address flaws discovered
                                                                                                         during security assessments, continuous monitoring, incident response activities, and system error
                                                                                                         handling. Organizations can take advantage of available resources such as the Common Weakness




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                                                                                                        Enumeration (CWE) database or Common Vulnerabilities and Exposures (CVE) database in
                                                                                                        remediating flaws discovered in organizational systems.
                                                                                                        Organization-defined time periods for updating security-relevant software and firmware may vary
                                                                                                        based on a variety of factors including the criticality of the update (i.e., severity of the vulnerability
                                                                                                        related to the discovered flaw). Some types of flaw remediation may require more testing than
                                                                                                        other types of remediation.
                                                                                                        [SP 800-40] provides guidance on patch management technologies.

                                                                                               3.14.2   Provide protection from malicious code at designated locations within organizational systems.

                                                                                                        DISCUSSION
                                                                                                        Designated locations include system entry and exit points which may include firewalls, remote-
                                                                                                        access servers, workstations, electronic mail servers, web servers, proxy servers, notebook
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                                                                                                        computers, and mobile devices. Malicious code includes viruses, worms, Trojan horses, and
                                                                                                        spyware. Malicious code can be encoded in various formats (e.g., UUENCODE, Unicode), contained
                                                                                                        within compressed or hidden files, or hidden in files using techniques such as steganography.
                                                                                                        Malicious code can be inserted into systems in a variety of ways including web accesses, electronic
                                                                                                        mail, electronic mail attachments, and portable storage devices. Malicious code insertions occur
                                                                                                        through the exploitation of system vulnerabilities.
                                                                                                        Malicious code protection mechanisms include anti-virus signature definitions and reputation-
                                                                                                        based technologies. A variety of technologies and methods exist to limit or eliminate the effects of
                                                                                                        malicious code. Pervasive configuration management and comprehensive software integrity
                                                                                                        controls may be effective in preventing execution of unauthorized code. In addition to commercial
                                                                                                        off-the-shelf software, malicious code may also be present in custom-built software. This could
                                                                                                        include logic bombs, back doors, and other types of cyber-attacks that could affect organizational
                                                                                                        missions/business functions. Traditional malicious code protection mechanisms cannot always
                                                                                                        detect such code. In these situations, organizations rely instead on other safeguards including
                                                                                                        secure coding practices, configuration management and control, trusted procurement processes,
                                                                                                        and monitoring practices to help ensure that software does not perform functions other than the
                                                                                                        functions intended.
                                                                                                        [SP 800-83] provides guidance on malware incident prevention.

                                                                                               3.14.3   Monitor system security alerts and advisories and take action in response.

                                                                                                        DISCUSSION
                                                                                                        There are many publicly available sources of system security alerts and advisories. For example,
                                                                                                        the Department of Homeland Security’s Cybersecurity and Infrastructure Security Agency (CISA)
                                                                                                        generates security alerts and advisories to maintain situational awareness across the federal
                                                                                                        government and in nonfederal organizations. Software vendors, subscription services, and
                                                                                                        industry information sharing and analysis centers (ISACs) may also provide security alerts and
                                                                                                        advisories. Examples of response actions include notifying relevant external organizations, for
                                                                                                        example, external mission/business partners, supply chain partners, external service providers,
                                                                                                        and peer or supporting organizations
                                                                                                        [SP 800-161] provides guidance on supply chain risk management.

                                                                                               Derived Security Requirements
                                                                                               3.14.4   Update malicious code protection mechanisms when new releases are available.




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                                                                                                        DISCUSSION
                                                                                                        Malicious code protection mechanisms include anti-virus signature definitions and reputation-
                                                                                                        based technologies. A variety of technologies and methods exist to limit or eliminate the effects of
                                                                                                        malicious code. Pervasive configuration management and comprehensive software integrity
                                                                                                        controls may be effective in preventing execution of unauthorized code. In addition to commercial
                                                                                                        off-the-shelf software, malicious code may also be present in custom-built software. This could
                                                                                                        include logic bombs, back doors, and other types of cyber-attacks that could affect organizational
                                                                                                        missions/business functions. Traditional malicious code protection mechanisms cannot always
                                                                                                        detect such code. In these situations, organizations rely instead on other safeguards including
                                                                                                        secure coding practices, configuration management and control, trusted procurement processes,
                                                                                                        and monitoring practices to help ensure that software does not perform functions other than the
                                                                                                        functions intended.
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                                                                                               3.14.5   Perform periodic scans of organizational systems and real-time scans of files from external
                                                                                                        sources as files are downloaded, opened, or executed.

                                                                                                        DISCUSSION
                                                                                                        Periodic scans of organizational systems and real-time scans of files from external sources can
                                                                                                        detect malicious code. Malicious code can be encoded in various formats (e.g., UUENCODE,
                                                                                                        Unicode), contained within compressed or hidden files, or hidden in files using techniques such as
                                                                                                        steganography. Malicious code can be inserted into systems in a variety of ways including web
                                                                                                        accesses, electronic mail, electronic mail attachments, and portable storage devices. Malicious
                                                                                                        code insertions occur through the exploitation of system vulnerabilities.

                                                                                               3.14.6   Monitor organizational systems, including inbound and outbound communications traffic, to
                                                                                                        detect attacks and indicators of potential attacks.

                                                                                                        DISCUSSION
                                                                                                        System monitoring includes external and internal monitoring. External monitoring includes the
                                                                                                        observation of events occurring at the system boundary (i.e., part of perimeter defense and
                                                                                                        boundary protection). Internal monitoring includes the observation of events occurring within the
                                                                                                        system. Organizations can monitor systems, for example, by observing audit record activities in
                                                                                                        real time or by observing other system aspects such as access patterns, characteristics of access,
                                                                                                        and other actions. The monitoring objectives may guide determination of the events. System
                                                                                                        monitoring capability is achieved through a variety of tools and techniques (e.g., intrusion
                                                                                                        detection systems, intrusion prevention systems, malicious code protection software, scanning
                                                                                                        tools, audit record monitoring software, network monitoring software). Strategic locations for
                                                                                                        monitoring devices include selected perimeter locations and near server farms supporting critical
                                                                                                        applications, with such devices being employed at managed system interfaces. The granularity of
                                                                                                        monitoring information collected is based on organizational monitoring objectives and the
                                                                                                        capability of systems to support such objectives.
                                                                                                        System monitoring is an integral part of continuous monitoring and incident response programs.
                                                                                                        Output from system monitoring serves as input to continuous monitoring and incident response
                                                                                                        programs. A network connection is any connection with a device that communicates through a
                                                                                                        network (e.g., local area network, Internet). A remote connection is any connection with a device
                                                                                                        communicating through an external network (e.g., the Internet). Local, network, and remote
                                                                                                        connections can be either wired or wireless.
                                                                                                        Unusual or unauthorized activities or conditions related to inbound/outbound communications
                                                                                                        traffic include internal traffic that indicates the presence of malicious code in systems or
                                                                                                        propagating among system components, the unauthorized exporting of information, or signaling
                                                                                                        to external systems. Evidence of malicious code is used to identify potentially compromised



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                                                                                                        systems or system components. System monitoring requirements, including the need for specific
                                                                                                        types of system monitoring, may be referenced in other requirements.
                                                                                                        [SP 800-94] provides guidance on intrusion detection and prevention systems.

                                                                                               3.14.7   Identify unauthorized use of organizational systems.

                                                                                                        DISCUSSION
                                                                                                        System monitoring includes external and internal monitoring. System monitoring can detect
                                                                                                        unauthorized use of organizational systems. System monitoring is an integral part of continuous
                                                                                                        monitoring and incident response programs. Monitoring is achieved through a variety of tools and
                                                                                                        techniques (e.g., intrusion detection systems, intrusion prevention systems, malicious code
                                                                                                        protection software, scanning tools, audit record monitoring software, network monitoring
                                                                                                        software). Output from system monitoring serves as input to continuous monitoring and incident
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                                                                                                        response programs.
                                                                                                        Unusual/unauthorized activities or conditions related to inbound and outbound communications
                                                                                                        traffic include internal traffic that indicates the presence of malicious code in systems or
                                                                                                        propagating among system components, the unauthorized exporting of information, or signaling
                                                                                                        to external systems. Evidence of malicious code is used to identify potentially compromised
                                                                                                        systems or system components. System monitoring requirements, including the need for specific
                                                                                                        types of system monitoring, may be referenced in other requirements.
                                                                                                        [SP 800-94] provides guidance on intrusion detection and prevention systems.




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                                                                                                [NIST CSF]         National Institute of Standards and Technology (2018) Framework for
                                                                                                                   Improving Critical Infrastructure Cybersecurity, Version 1.1. (National
                                                                                                                   Institute of Standards and Technology, Gaithersburg, MD).
                                                                                                                   https://doi.org/10.6028/NIST.CSWP.04162018
                                                                                                [NIST CUI]         National Institute of Standards and Technology (2019) Special Publication
                                                                                                                   800-171 Publication and Supporting Resources.
                                                                                                                   https://csrc.nist.gov/publications/detail/sp/800-171/rev-1/final




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                                                                                               APPENDIX B

                                                                                               GLOSSARY
                                                                                               COMMON TERMS AND DEFINITIONS



                                                                                               A     ppendix B provides definitions for security terminology used within Special Publication
                                                                                                     800-171. Unless specifically defined in this glossary, all terms used in this publication are
                                                                                                     consistent with the definitions contained in [CNSSI 4009] National Information Assurance
                                                                                               Glossary.

                                                                                                agency                        Any executive agency or department, military department,
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                                                                                                [OMB A-130]                   Federal Government corporation, Federal Government-
                                                                                                                              controlled corporation, or other establishment in the Executive
                                                                                                                              Branch of the Federal Government, or any independent
                                                                                                                              regulatory agency.
                                                                                                assessment                    See security control assessment.
                                                                                                assessor                      See security control assessor.
                                                                                                audit log                     A chronological record of system activities, including records of
                                                                                                                              system accesses and operations performed in a given period.

                                                                                                audit record                  An individual entry in an audit log related to an audited event.
                                                                                                authentication                Verifying the identity of a user, process, or device, often as a
                                                                                                [FIPS 200, Adapted]           prerequisite to allowing access to resources in a system.

                                                                                                availability                  Ensuring timely and reliable access to and use of information.
                                                                                                [44 USC 3552]
                                                                                                advanced persistent           An adversary that possesses sophisticated levels of expertise and
                                                                                                threat                        significant resources which allow it to create opportunities to
                                                                                                [SP 800-39]                   achieve its objectives by using multiple attack vectors including,
                                                                                                                              for example, cyber, physical, and deception. These objectives
                                                                                                                              typically include establishing and extending footholds within the
                                                                                                                              IT infrastructure of the targeted organizations for purposes of
                                                                                                                              exfiltrating information, undermining or impeding critical aspects
                                                                                                                              of a mission, program, or organization; or positioning itself to
                                                                                                                              carry out these objectives in the future. The advanced persistent
                                                                                                                              threat pursues its objectives repeatedly over an extended
                                                                                                                              period; adapts to defenders’ efforts to resist it; and is
                                                                                                                              determined to maintain the level of interaction needed to
                                                                                                                              execute its objectives.
                                                                                                baseline configuration        A documented set of specifications for a system, or a
                                                                                                                              configuration item within a system, that has been formally
                                                                                                                              reviewed and agreed on at a given point in time, and which can
                                                                                                                              be changed only through change control procedures.




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                                                                                                bidirectional                 Two parties authenticating each other at the same time. Also
                                                                                                authentication                known as mutual authentication or two-way authentication.

                                                                                                blacklisting                  A process used to identify software programs that are not
                                                                                                                              authorized to execute on a system or prohibited Universal
                                                                                                                              Resource Locators (URL)/websites.
                                                                                                confidentiality               Preserving authorized restrictions on information access and
                                                                                                [44 USC 3552]                 disclosure, including means for protecting personal privacy and
                                                                                                                              proprietary information.
                                                                                                configuration                 A collection of activities focused on establishing and maintaining
                                                                                                management                    the integrity of information technology products and systems,
                                                                                                                              through control of processes for initializing, changing, and
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                                                                                                                              monitoring the configurations of those products and systems
                                                                                                                              throughout the system development life cycle.
                                                                                                configuration settings        The set of parameters that can be changed in hardware,
                                                                                                                              software, or firmware that affect the security posture and/or
                                                                                                                              functionality of the system.
                                                                                                controlled area               Any area or space for which the organization has confidence that
                                                                                                                              the physical and procedural protections provided are sufficient
                                                                                                                              to meet the requirements established for protecting the
                                                                                                                              information or system.
                                                                                                controlled unclassified       Information that law, regulation, or governmentwide policy
                                                                                                information                   requires to have safeguarding or disseminating controls,
                                                                                                [EO 13556]                    excluding information that is classified under Executive Order
                                                                                                                              13526, Classified National Security Information, December 29,
                                                                                                                              2009, or any predecessor or successor order, or the Atomic
                                                                                                                              Energy Act of 1954, as amended.
                                                                                                CUI categories                Those types of information for which laws, regulations, or
                                                                                                [32 CFR 2002]                 governmentwide policies require or permit agencies to exercise
                                                                                                                              safeguarding or dissemination controls, and which the CUI
                                                                                                                              Executive Agent has approved and listed in the CUI Registry.
                                                                                                CUI Executive Agent           The National Archives and Records Administration (NARA), which
                                                                                                [32 CFR 2002]                 implements the executive branch-wide CUI Program and
                                                                                                                              oversees federal agency actions to comply with Executive Order
                                                                                                                              13556. NARA has delegated this authority to the Director of the
                                                                                                                              Information Security Oversight Office (ISOO).
                                                                                                CUI program                   The executive branch-wide program to standardize CUI handling
                                                                                                [32 CFR 2002]                 by all federal agencies. The program includes the rules,
                                                                                                                              organization, and procedures for CUI, established by Executive
                                                                                                                              Order 13556, 32 CFR Part 2002, and the CUI Registry.




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                                                                                                CUI registry                  The online repository for all information, guidance, policy, and
                                                                                                [32 CFR 2002]                 requirements on handling CUI, including everything issued by the
                                                                                                                              CUI Executive Agent other than 32 CFR Part 2002. Among other
                                                                                                                              information, the CUI Registry identifies all approved CUI
                                                                                                                              categories, provides general descriptions for each, identifies the
                                                                                                                              basis for controls, establishes markings, and includes guidance
                                                                                                                              on handling procedures.
                                                                                                cyber-physical systems        Interacting digital, analog, physical, and human components
                                                                                                                              engineered for function through integrated physics and logic.
                                                                                                dual authorization            The system of storage and handling designed to prohibit
                                                                                                [CNSSI 4009, Adapted]         individual access to certain resources by requiring the presence
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                                                                                                                              and actions of at least two authorized persons, each capable of
                                                                                                                              detecting incorrect or unauthorized security procedures with
                                                                                                                              respect to the task being performed.
                                                                                                executive agency              An executive department specified in 5 U.S.C. Sec. 101; a military
                                                                                                [OMB A-130]                   department specified in 5 U.S.C. Sec. 102; an independent
                                                                                                                              establishment as defined in 5 U.S.C. Sec. 104(1); and a wholly
                                                                                                                              owned Government corporation fully subject to the provisions of
                                                                                                                              31 U.S.C. Chapter 91.
                                                                                                external system (or           A system or component of a system that is outside of the
                                                                                                component)                    authorization boundary established by the organization and for
                                                                                                                              which the organization typically has no direct control over the
                                                                                                                              application of required security controls or the assessment of
                                                                                                                              security control effectiveness.
                                                                                                external system service       A system service that is implemented outside of the
                                                                                                                              authorization boundary of the organizational system (i.e., a
                                                                                                                              service that is used by, but not a part of, the organizational
                                                                                                                              system) and for which the organization typically has no direct
                                                                                                                              control over the application of required security controls or the
                                                                                                                              assessment of security control effectiveness.
                                                                                                external system service       A provider of external system services to an organization
                                                                                                provider                      through a variety of consumer-producer relationships including,
                                                                                                                              but not limited to: joint ventures; business partnerships;
                                                                                                                              outsourcing arrangements (i.e., through contracts, interagency
                                                                                                                              agreements, lines of business arrangements); licensing
                                                                                                                              agreements; and/or supply chain exchanges.
                                                                                                external network              A network not controlled by the organization.
                                                                                                federal agency                See executive agency.
                                                                                                federal information           An information system used or operated by an executive agency,
                                                                                                system                        by a contractor of an executive agency, or by another
                                                                                                [40 USC 11331]                organization on behalf of an executive agency.




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                                                                                                FIPS-validated                A cryptographic module validated by the Cryptographic Module
                                                                                                cryptography                  Validation Program (CMVP) to meet requirements specified in
                                                                                                                              FIPS Publication 140-2 (as amended). As a prerequisite to CMVP
                                                                                                                              validation, the cryptographic module is required to employ a
                                                                                                                              cryptographic algorithm implementation that has successfully
                                                                                                                              passed validation testing by the Cryptographic Algorithm
                                                                                                                              Validation Program (CAVP). See NSA-approved cryptography.
                                                                                                firmware                      Computer programs and data stored in hardware - typically in
                                                                                                [CNSSI 4009]                  read-only memory (ROM) or programmable read-only memory
                                                                                                                              (PROM) - such that the programs and data cannot be
                                                                                                                              dynamically written or modified during execution of the
                                                                                                                              programs. See hardware and software.
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                                                                                                hardware                      The material physical components of a system. See software and
                                                                                                [CNSSI 4009]                  firmware.
                                                                                                identifier                    Unique data used to represent a person’s identity and associated
                                                                                                                              attributes. A name or a card number are examples of identifiers.
                                                                                                                              A unique label used by a system to indicate a specific entity,
                                                                                                                              object, or group.
                                                                                                impact                        With respect to security, the effect on organizational operations,
                                                                                                                              organizational assets, individuals, other organizations, or the
                                                                                                                              Nation (including the national security interests of the United
                                                                                                                              States) of a loss of confidentiality, integrity, or availability of
                                                                                                                              information or a system. With respect to privacy, the adverse
                                                                                                                              effects that individuals could experience when an information
                                                                                                                              system processes their PII.
                                                                                                impact value                  The assessed worst-case potential impact that could result from
                                                                                                [FIPS 199]                    a compromise of the confidentiality, integrity, or availability of
                                                                                                                              information expressed as a value of low, moderate or high.
                                                                                                incident                      An occurrence that actually or imminently jeopardizes, without
                                                                                                [44 USC 3552]                 lawful authority, the confidentiality, integrity, or availability of
                                                                                                                              information or an information system; or constitutes a violation
                                                                                                                              or imminent threat of violation of law, security policies, security
                                                                                                                              procedures, or acceptable use policies.
                                                                                                information                   Any communication or representation of knowledge such as
                                                                                                [OMB A-130]                   facts, data, or opinions in any medium or form, including textual,
                                                                                                                              numerical, graphic, cartographic, narrative, electronic, or
                                                                                                                              audiovisual forms.
                                                                                                information flow control      Procedure to ensure that information transfers within a system
                                                                                                                              are not made in violation of the security policy.
                                                                                                information resources         Information and related resources, such as personnel,
                                                                                                [44 USC 3502]                 equipment, funds, and information technology.




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                                                                                                information security          The protection of information and systems from unauthorized
                                                                                                [44 USC 3552]                 access, use, disclosure, disruption, modification, or destruction
                                                                                                                              in order to provide confidentiality, integrity, and availability.
                                                                                                information system            A discrete set of information resources organized for the
                                                                                                [44 USC 3502]                 collection, processing, maintenance, use, sharing, dissemination,
                                                                                                                              or disposition of information.
                                                                                                information technology        Any services, equipment, or interconnected system(s) or
                                                                                                [OMB A-130]                   subsystem(s) of equipment, that are used in the automatic
                                                                                                                              acquisition, storage, analysis, evaluation, manipulation,
                                                                                                                              management, movement, control, display, switching,
                                                                                                                              interchange, transmission, or reception of data or information by
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                                                                                                                              the agency. For purposes of this definition, such services or
                                                                                                                              equipment if used by the agency directly or is used by a
                                                                                                                              contractor under a contract with the agency that requires its
                                                                                                                              use; or to a significant extent, its use in the performance of a
                                                                                                                              service or the furnishing of a product. Information technology
                                                                                                                              includes computers, ancillary equipment (including imaging
                                                                                                                              peripherals, input, output, and storage devices necessary for
                                                                                                                              security and surveillance), peripheral equipment designed to be
                                                                                                                              controlled by the central processing unit of a computer,
                                                                                                                              software, firmware and similar procedures, services (including
                                                                                                                              cloud computing and help-desk services or other professional
                                                                                                                              services which support any point of the life cycle of the
                                                                                                                              equipment or service), and related resources. Information
                                                                                                                              technology does not include any equipment that is acquired by a
                                                                                                                              contractor incidental to a contract which does not require its
                                                                                                                              use.
                                                                                                insider threat                The threat that an insider will use her/his authorized access,
                                                                                                                              wittingly or unwittingly, to do harm to the security of the United
                                                                                                                              States. This threat can include damage to the United States
                                                                                                                              through espionage, terrorism, unauthorized disclosure, or
                                                                                                                              through the loss or degradation of departmental resources or
                                                                                                                              capabilities.
                                                                                                integrity                     Guarding against improper information modification or
                                                                                                [44 USC 3552]                 destruction, and includes ensuring information non-repudiation
                                                                                                                              and authenticity.
                                                                                                internal network              A network where establishment, maintenance, and provisioning
                                                                                                                              of security controls are under the direct control of organizational
                                                                                                                              employees or contractors; or the cryptographic encapsulation or
                                                                                                                              similar security technology implemented between organization-
                                                                                                                              controlled endpoints, provides the same effect (with regard to
                                                                                                                              confidentiality and integrity). An internal network is typically
                                                                                                                              organization-owned, yet may be organization-controlled while
                                                                                                                              not being organization-owned.




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                                                                                                least privilege               The principle that a security architecture is designed so that each
                                                                                                                              entity is granted the minimum system authorizations and
                                                                                                                              resources that the entity needs to perform its function.
                                                                                                local access                  Access to an organizational system by a user (or process acting
                                                                                                                              on behalf of a user) communicating through a direct connection
                                                                                                                              without the use of a network.
                                                                                                malicious code                Software or firmware intended to perform an unauthorized
                                                                                                                              process that will have adverse impact on the confidentiality,
                                                                                                                              integrity, or availability of a system. A virus, worm, Trojan horse,
                                                                                                                              or other code-based entity that infects a host. Spyware and
                                                                                                                              some forms of adware are also examples of malicious code.
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                                                                                                media                         Physical devices or writing surfaces including, but not limited to,
                                                                                                [FIPS 200]                    magnetic tapes, optical disks, magnetic disks, Large-Scale
                                                                                                                              Integration (LSI) memory chips, and printouts (but not including
                                                                                                                              display media) onto which information is recorded, stored, or
                                                                                                                              printed within a system.
                                                                                                mobile code                   Software programs or parts of programs obtained from remote
                                                                                                                              systems, transmitted across a network, and executed on a local
                                                                                                                              system without explicit installation or execution by the recipient.
                                                                                                mobile device                 A portable computing device that has a small form factor such
                                                                                                                              that it can easily be carried by a single individual; is designed to
                                                                                                                              operate without a physical connection (e.g., wirelessly transmit
                                                                                                                              or receive information); possesses local, non-
                                                                                                                              removable/removable data storage; and includes a self-
                                                                                                                              contained power source. Mobile devices may also include voice
                                                                                                                              communication capabilities, on-board sensors that allow the
                                                                                                                              devices to capture information, or built-in features that
                                                                                                                              synchronize local data with remote locations. Examples include
                                                                                                                              smartphones, tablets, and E-readers.
                                                                                                multifactor                   Authentication using two or more different factors to achieve
                                                                                                authentication                authentication. Factors include something you know (e.g., PIN,
                                                                                                                              password); something you have (e.g., cryptographic
                                                                                                                              identification device, token); or something you are (e.g.,
                                                                                                                              biometric). See authenticator.
                                                                                                mutual authentication         The process of both entities involved in a transaction verifying
                                                                                                [CNSSI 4009]                  each other. See bidirectional authentication.
                                                                                                nonfederal organization       An entity that owns, operates, or maintains a nonfederal system.
                                                                                                nonfederal system             A system that does not meet the criteria for a federal system.
                                                                                                network                       A system implemented with a collection of interconnected
                                                                                                                              components. Such components may include routers, hubs,
                                                                                                                              cabling, telecommunications controllers, key distribution
                                                                                                                              centers, and technical control devices.




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                                                                                                network access                Access to a system by a user (or a process acting on behalf of a
                                                                                                                              user) communicating through a network (e.g., local area
                                                                                                                              network, wide area network, Internet).
                                                                                                nonlocal maintenance          Maintenance activities conducted by individuals communicating
                                                                                                                              through a network, either an external network (e.g., the
                                                                                                                              Internet) or an internal network.
                                                                                                on behalf of                  A situation that occurs when: (i) a non-executive branch entity
                                                                                                (an agency)                   uses or operates an information system or maintains or collects
                                                                                                [32 CFR 2002]                 information for the purpose of processing, storing, or
                                                                                                                              transmitting Federal information; and (ii) those activities are not
                                                                                                                              incidental to providing a service or product to the government.
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                                                                                                organization                  An entity of any size, complexity, or positioning within an
                                                                                                [FIPS 200, Adapted]           organizational structure.
                                                                                                personnel security            The discipline of assessing the conduct, integrity, judgment,
                                                                                                [SP 800-53]                   loyalty, reliability, and stability of individuals for duties and
                                                                                                                              responsibilities requiring trustworthiness.
                                                                                                portable storage device       A system component that can be inserted into and removed
                                                                                                                              from a system, and that is used to store data or information
                                                                                                                              (e.g., text, video, audio, and/or image data). Such components
                                                                                                                              are typically implemented on magnetic, optical, or solid-state
                                                                                                                              devices (e.g., floppy disks, compact/digital video disks,
                                                                                                                              flash/thumb drives, external hard disk drives, and flash memory
                                                                                                                              cards/drives that contain nonvolatile memory).
                                                                                                potential impact              The loss of confidentiality, integrity, or availability could be
                                                                                                [FIPS 199]                    expected to have: (i) a limited adverse effect (FIPS Publication
                                                                                                                              199 low); (ii) a serious adverse effect (FIPS Publication 199
                                                                                                                              moderate); or (iii) a severe or catastrophic adverse effect (FIPS
                                                                                                                              Publication 199 high) on organizational operations,
                                                                                                                              organizational assets, or individuals.
                                                                                                privileged account            A system account with authorizations of a privileged user.
                                                                                                privileged user               A user that is authorized (and therefore, trusted) to perform
                                                                                                                              security-relevant functions that ordinary users are not
                                                                                                                              authorized to perform.
                                                                                                records                       The recordings (automated and/or manual) of evidence of
                                                                                                                              activities performed or results achieved (e.g., forms, reports, test
                                                                                                                              results), which serve as a basis for verifying that the organization
                                                                                                                              and the system are performing as intended. Also used to refer to
                                                                                                                              units of related data fields (i.e., groups of data fields that can be
                                                                                                                              accessed by a program and that contain the complete set of
                                                                                                                              information on particular items).
                                                                                                remote access                 Access to an organizational system by a user (or a process acting
                                                                                                                              on behalf of a user) communicating through an external network
                                                                                                                              (e.g., the Internet).



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                                                                                                remote maintenance            Maintenance activities conducted by individuals communicating
                                                                                                                              through an external network (e.g., the Internet).
                                                                                                replay resistance             Protection against the capture of transmitted authentication or
                                                                                                                              access control information and its subsequent retransmission
                                                                                                                              with the intent of producing an unauthorized effect or gaining
                                                                                                                              unauthorized access.
                                                                                                risk                          A measure of the extent to which an entity is threatened by a
                                                                                                [OMB A-130]                   potential circumstance or event, and typically is a function of: (i)
                                                                                                                              the adverse impact, or magnitude of harm, that would arise if
                                                                                                                              the circumstance or event occurs; and (ii) the likelihood of
                                                                                                                              occurrence.
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                                                                                                risk assessment               The process of identifying risks to organizational operations
                                                                                                [SP 800-30]                   (including mission, functions, image, reputation), organizational
                                                                                                                              assets, individuals, other organizations, and the Nation, resulting
                                                                                                                              from the operation of a system.
                                                                                                sanitization                  Actions taken to render data written on media unrecoverable by
                                                                                                                              both ordinary and, for some forms of sanitization, extraordinary
                                                                                                                              means.
                                                                                                                              Process to remove information from media such that data
                                                                                                                              recovery is not possible. It includes removing all classified labels,
                                                                                                                              markings, and activity logs.
                                                                                                security                      A condition that results from the establishment and
                                                                                                [CNSSI 4009]                  maintenance of protective measures that enable an organization
                                                                                                                              to perform its mission or critical functions despite risks posed by
                                                                                                                              threats to its use of systems. Protective measures may involve a
                                                                                                                              combination of deterrence, avoidance, prevention, detection,
                                                                                                                              recovery, and correction that should form part of the
                                                                                                                              organization’s risk management approach.
                                                                                                security assessment           See security control assessment.
                                                                                                security control              The safeguards or countermeasures prescribed for an
                                                                                                [OMB A-130]                   information system or an organization to protect the
                                                                                                                              confidentiality, integrity, and availability of the system and its
                                                                                                                              information.
                                                                                                security control              The testing or evaluation of security controls to determine the
                                                                                                assessment                    extent to which the controls are implemented correctly,
                                                                                                [OMB A-130]                   operating as intended, and producing the desired outcome with
                                                                                                                              respect to meeting the security requirements for an information
                                                                                                                              system or organization.
                                                                                                security domain               A domain that implements a security policy and is administered
                                                                                                [CNSSI 4009, Adapted]         by a single authority.
                                                                                                security functions            The hardware, software, or firmware of the system responsible
                                                                                                                              for enforcing the system security policy and supporting the
                                                                                                                              isolation of code and data on which the protection is based.


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                                                                                                split tunneling               The process of allowing a remote user or device to establish a
                                                                                                                              non-remote connection with a system and simultaneously
                                                                                                                              communicate via some other connection to a resource in an
                                                                                                                              external network. This method of network access enables a user
                                                                                                                              to access remote devices (e.g., a networked printer) at the same
                                                                                                                              time as accessing uncontrolled networks.
                                                                                                system                        See information system.
                                                                                                system component              A discrete identifiable information technology asset that
                                                                                                [SP 800-128]                  represents a building block of a system and may include
                                                                                                                              hardware, software, and firmware.
                                                                                                system security plan          A document that describes how an organization meets the
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                                                                                                                              security requirements for a system or how an organization plans
                                                                                                                              to meet the requirements. In particular, the system security plan
                                                                                                                              describes the system boundary; the environment in which the
                                                                                                                              system operates; how the security requirements are
                                                                                                                              implemented; and the relationships with or connections to other
                                                                                                                              systems.
                                                                                                system service                A capability provided by a system that facilitates information
                                                                                                                              processing, storage, or transmission.
                                                                                                threat                        Any circumstance or event with the potential to adversely
                                                                                                [SP 800-30]                   impact organizational operations, organizational assets,
                                                                                                                              individuals, other organizations, or the Nation through a system
                                                                                                                              via unauthorized access, destruction, disclosure, modification of
                                                                                                                              information, and/or denial of service.
                                                                                                system user                   Individual, or (system) process acting on behalf of an individual,
                                                                                                                              authorized to access a system.
                                                                                                whitelisting                  A process used to identify software programs that are authorized
                                                                                                                              to execute on a system or authorized Universal Resource
                                                                                                                              Locators (URL)/websites.
                                                                                                wireless technology           Technology that permits the transfer of information between
                                                                                                                              separated points without physical connection. Wireless
                                                                                                                              technologies include microwave, packet radio (ultra-high
                                                                                                                              frequency or very high frequency), 802.11x, and Bluetooth.




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                                                                                               APPENDIX C

                                                                                               ACRONYMS
                                                                                               COMMON ABBREVIATIONS

                                                                                                CFR           Code of Federal Regulations
                                                                                                CNSS          Committee on National Security Systems
                                                                                                CUI           Controlled Unclassified Information
                                                                                                CISA          Cybersecurity and Infrastructure Security Agency
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                                                                                                DMZ           Demilitarized Zone
                                                                                                FAR           Federal Acquisition Regulation
                                                                                                FIPS          Federal Information Processing Standards
                                                                                                FISMA         Federal Information Security Modernization Act
                                                                                                IoT           Internet of Things
                                                                                                IP            Internet Protocol
                                                                                                ISO/IEC       International Organization for Standardization/International Electrotechnical
                                                                                                              Commission
                                                                                                ISOO          Information Security Oversight Office
                                                                                                IT            Information Technology
                                                                                                ITL           Information Technology Laboratory
                                                                                                NARA          National Archives and Records Administration
                                                                                                NFO           Nonfederal Organization
                                                                                                NIST          National Institute of Standards and Technology
                                                                                                OMB           Office of Management and Budget
                                                                                                SP            Special Publication
                                                                                                VoIP          Voice over Internet Protocol




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                                                                                               APPENDIX D

                                                                                               MAPPING TABLES
                                                                                               MAPPING BASIC AND DERIVED SECURITY REQUIREMENTS TO SECURITY CONTROLS



                                                                                               T     ables D-1 through D-14 provide a mapping of the basic and derived security requirements
                                                                                                     to the security controls in [SP 800-53]. 31 The mapping tables are included for informational
                                                                                                     purposes and do not impart additional security requirements beyond those requirements
                                                                                               defined in Chapter Three. In some cases, the security controls include additional expectations
                                                                                               beyond those required to protect CUI and have been tailored using the criteria in Chapter Two.
                                                                                               Only the portion of the security control relevant to the security requirement is applicable. The
                                                                                               tables also include a secondary mapping of the security controls to the relevant controls in [ISO
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                                                                                               27001]. An asterisk (*) indicates that the ISO/IEC control does not fully satisfy the intent of the
                                                                                               NIST control. Due to the tailoring actions carried out to develop the security requirements,
                                                                                               satisfaction of a basic or derived requirement does not imply the corresponding NIST security
                                                                                               control or control enhancement in [SP 800-53] has also been satisfied, since certain elements of
                                                                                               the control or control enhancement that are not essential to protecting the confidentiality of
                                                                                               CUI are not reflected in those requirements.

                                                                                               Organizations that have implemented or plan to implement the [NIST CSF] can use the mapping
                                                                                               of the security requirements to the security controls in [SP 800-53] and [ISO 27001] to locate the
                                                                                               equivalent controls in the Categories and Subcategories associated with the core Functions of
                                                                                               the Cybersecurity Framework: Identify, Protect, Detect, Respond, and Recover. The control
                                                                                               mapping information can be useful to organizations that wish to demonstrate compliance to the
                                                                                               security requirements in the context of their established information security programs, when
                                                                                               such programs have been built around the NIST or ISO/IEC security controls.




                                                                                               31 The security controls in Tables D-1 through D-14 are taken from NIST Special Publication 800-53, Revision 4. These

                                                                                               tables will be updated upon publication of [SP 800-53B] which will provide an update to the moderate security control
                                                                                               baseline consistent with NIST Special Publication 800-53, Revision 5. Changes to the moderate baseline will affect
                                                                                               future updates to the basic and derived security requirements in Chapter Three.



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                                                                                                                    TABLE D-1: MAPPING ACCESS CONTROL REQUIREMENTS TO CONTROLS

                                                                                                                                                      NIST SP 800-53                      ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                     Relevant Security Controls       Relevant Security Controls

                                                                                                3.1 ACCESS CONTROL
                                                                                                Basic Security Requirements
                                                                                                3.1.1    Limit system access to           AC-2         Account Management      A.9.2.1      User registration and
                                                                                                         authorized users, processes                                                        de-registration
                                                                                                         acting on behalf of authorized                                        A.9.2.2      User access
                                                                                                         users, and devices (including                                                      provisioning
                                                                                                         other systems).
                                                                                                                                                                               A.9.2.3      Management of
                                                                                                3.1.2    Limit system access to the                                                         privileged access
                                                                                                         types of transactions and                                                          rights
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                                                                                                         functions that authorized
                                                                                                                                                                               A.9.2.5      Review of user
                                                                                                         users are permitted to                                                             access rights
                                                                                                         execute.
                                                                                                                                                                               A.9.2.6      Removal or
                                                                                                                                                                                            adjustment of access
                                                                                                                                                                                            rights
                                                                                                                                          AC-3         Access Enforcement      A.6.2.2      Teleworking
                                                                                                                                                                               A.9.1.2      Access to networks
                                                                                                                                                                                            and network services
                                                                                                                                                                               A.9.4.1      Information access
                                                                                                                                                                                            restriction
                                                                                                                                                                               A.9.4.4      Use of privileged
                                                                                                                                                                                            utility programs
                                                                                                                                                                               A.9.4.5      Access control to
                                                                                                                                                                                            program source code
                                                                                                                                                                               A.13.1.1     Network controls
                                                                                                                                                                               A.14.1.2     Securing application
                                                                                                                                                                                            services on public
                                                                                                                                                                                            networks
                                                                                                                                                                               A.14.1.3     Protecting
                                                                                                                                                                                            application services
                                                                                                                                                                                            transactions
                                                                                                                                                                               A.18.1.3     Protection of records
                                                                                                                                          AC-17        Remote Access           A.6.2.1      Mobile device policy
                                                                                                                                                                               A.6.2.2      Teleworking
                                                                                                                                                                               A.13.1.1     Network controls
                                                                                                                                                                               A.13.2.1     Information transfer
                                                                                                                                                                                            policies and
                                                                                                                                                                                            procedures
                                                                                                                                                                               A.14.1.2     Securing application
                                                                                                                                                                                            services on public
                                                                                                                                                                                            networks
                                                                                                Derived Security Requirements
                                                                                                3.1.3    Control the flow of CUI in       AC-4         Information Flow        A.13.1.3     Segregation in
                                                                                                         accordance with approved                      Enforcement                          networks
                                                                                                         authorizations.                                                       A.13.2.1     Information transfer
                                                                                                                                                                                            policies and
                                                                                                                                                                                            procedures




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                                                                                                                                                       NIST SP 800-53                             ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                      Relevant Security Controls               Relevant Security Controls

                                                                                                                                                                                       A.14.1.2     Securing application
                                                                                                                                                                                                    services on public
                                                                                                                                                                                                    networks
                                                                                                                                                                                       A.14.1.3     Protecting
                                                                                                                                                                                                    application services
                                                                                                                                                                                                    transactions
                                                                                                3.1.4    Separate the duties of            AC-5         Separation of Duties           A.6.1.2      Segregation of duties
                                                                                                         individuals to reduce the risk
                                                                                                         of malevolent activity without
                                                                                                         collusion.
                                                                                                3.1.5    Employ the principle of least     AC-6         Least Privilege                A.9.1.2      Access to networks
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                                                                                                         privilege, including for                                                                   and network services
                                                                                                         specific security functions and                                               A.9.2.3      Management of
                                                                                                         privileged accounts.                                                                       privileged access
                                                                                                                                                                                                    rights
                                                                                                                                                                                       A.9.4.4      Use of privileged
                                                                                                                                                                                                    utility programs
                                                                                                                                                                                       A.9.4.5      Access control to
                                                                                                                                                                                                    program source code
                                                                                                                                           AC-6(1)      Least Privilege                No direct mapping.
                                                                                                                                                        Authorize Access to Security
                                                                                                                                                        Functions
                                                                                                                                           AC-6(5)      Least Privilege                No direct mapping.
                                                                                                                                                        Privileged Accounts
                                                                                                3.1.6    Use non-privileged accounts       AC-6(2)      Least Privilege                No direct mapping.
                                                                                                         or roles when accessing                        Non-Privileged Access for
                                                                                                         nonsecurity functions.                         Nonsecurity Functions

                                                                                                3.1.7    Prevent non-privileged users      AC-6(9)      Least Privilege                No direct mapping.
                                                                                                         from executing privileged                      Log Use of Privileged
                                                                                                         functions and capture the                      Functions
                                                                                                         execution of such functions in    AC-6(10)     Least Privilege                No direct mapping.
                                                                                                         audit logs.                                    Prohibit Non-Privileged
                                                                                                                                                        Users from Executing
                                                                                                                                                        Privileged Functions
                                                                                                3.1.8    Limit unsuccessful logon          AC-7         Unsuccessful Logon             A.9.4.2      Secure logon
                                                                                                         attempts.                                      Attempts                                    procedures
                                                                                                3.1.9    Provide privacy and security      AC-8         System Use Notification        A.9.4.2      Secure logon
                                                                                                         notices consistent with                                                                    procedures
                                                                                                         applicable CUI rules.
                                                                                                3.1.10 Use session lock with pattern-      AC-11        Session Lock                   A.11.2.8     Unattended user
                                                                                                       hiding displays to prevent                                                                   equipment
                                                                                                       access and viewing of data                                                      A.11.2.9     Clear desk and clear
                                                                                                       after a period of inactivity.                                                                screen policy
                                                                                                                                           AC-11(1)     Session Lock                   No direct mapping.
                                                                                                                                                        Pattern-Hiding Displays
                                                                                                3.1.11 Terminate (automatically) a         AC-12        Session Termination            No direct mapping.
                                                                                                       user session after a defined
                                                                                                       condition.
                                                                                                3.1.12 Monitor and control remote          AC-17(1)     Remote Access                  No direct mapping.
                                                                                                       access sessions.                                 Automated Monitoring /
                                                                                                                                                        Control




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                                                                                                                                                   NIST SP 800-53                              ISO/IEC 27001
                                                                                                     SECURITY REQUIREMENTS                     Relevant Security Controls                Relevant Security Controls

                                                                                                3.1.13 Employ cryptographic            AC-17(2)     Remote Access                   No direct mapping.
                                                                                                       mechanisms to protect the                    Protection of Confidentiality
                                                                                                       confidentiality of remote                    / Integrity Using Encryption
                                                                                                       access sessions.
                                                                                                3.1.14 Route remote access via         AC-17(3)     Remote Access                   No direct mapping.
                                                                                                       managed access control                       Managed Access Control
                                                                                                       points.                                      Points

                                                                                                3.1.15 Authorize remote execution      AC-17(4)     Remote Access                   No direct mapping.
                                                                                                       of privileged commands and                   Privileged Commands /
                                                                                                       remote access to security-                   Access
                                                                                                       relevant information.
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                                                                                                3.1.16 Authorize wireless access       AC-18        Wireless Access                 A.6.2.1      Mobile device policy
                                                                                                       prior to allowing such                                                       A.13.1.1     Network controls
                                                                                                       connections.
                                                                                                                                                                                    A.13.2.1     Information transfer
                                                                                                                                                                                                 policies and
                                                                                                                                                                                                 procedures
                                                                                                3.1.17 Protect wireless access using   AC-18(1)     Wireless Access                 No direct mapping.
                                                                                                       authentication and                           Authentication and
                                                                                                       encryption.                                  Encryption

                                                                                                3.1.18 Control connection of mobile    AC-19        Access Control for              A.6.2.1      Mobile device policy
                                                                                                       devices.                                     Mobile Devices                  A.11.2.6     Security of
                                                                                                                                                                                                 equipment and
                                                                                                                                                                                                 assets off-premises
                                                                                                                                                                                    A.13.2.1     Information transfer
                                                                                                                                                                                                 policies and
                                                                                                                                                                                                 procedures
                                                                                                3.1.19 Encrypt CUI on mobile           AC-19(5)     Access Control for              No direct mapping.
                                                                                                       devices and mobile                           Mobile Devices
                                                                                                       computing platforms.                         Full Device / Container-
                                                                                                                                                    Based Encryption
                                                                                                3.1.20 Verify and control/limit        AC-20        Use of External Systems         A.11.2.6     Security of
                                                                                                       connections to and use of                                                                 equipment and
                                                                                                       external systems.                                                                         assets off-premises
                                                                                                                                                                                    A.13.1.1     Network controls
                                                                                                                                                                                    A.13.2.1     Information transfer
                                                                                                                                                                                                 policies and
                                                                                                                                                                                                 procedures
                                                                                                                                       AC-20(1)     Use of External Systems         No direct mapping.
                                                                                                                                                    Limits on Authorized Use
                                                                                                3.1.21 Limit use of portable storage   AC-20(2)     Use of External Systems         No direct mapping.
                                                                                                       devices on external systems.                 Portable Storage Devices

                                                                                                3.1.22 Control CUI posted or           AC-22        Publicly Accessible             No direct mapping.
                                                                                                       processed on publicly                        Content
                                                                                                       accessible systems.




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                                                                                                              TABLE D-2: MAPPING AWARENESS AND TRAINING REQUIREMENTS TO CONTROLS

                                                                                                                                                       NIST SP 800-53                      ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                      Relevant Security Controls        Relevant Security Controls

                                                                                                3.2 AWARENESS AND TRAINING
                                                                                                Basic Security Requirements
                                                                                                3.2.1    Ensure that managers,              AT-2        Security Awareness      A.7.2.2      Information security
                                                                                                         systems administrators, and                    Training                             awareness,
                                                                                                         users of organizational                                                             education, and
                                                                                                         systems are made aware of                                                           training
                                                                                                         the security risks associated                                          A.12.2.1     Controls against
                                                                                                         with their activities and of the                                                    malware
                                                                                                         applicable policies, standards,
                                                                                                                                            AT-3        Role-Based Security     A.7.2.2*     Information security
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                                                                                                         and procedures related to the
                                                                                                                                                        Training                             awareness,
                                                                                                         security of those systems.
                                                                                                                                                                                             education, and
                                                                                                3.2.2    Ensure that personnel are                                                           training
                                                                                                         trained to carry out their
                                                                                                         assigned information
                                                                                                         security-related duties and
                                                                                                         responsibilities.
                                                                                                Derived Security Requirements
                                                                                                3.2.3 Provide security awareness            AT-2(2)     Security Awareness      No direct mapping.
                                                                                                       training on recognizing and                      Training
                                                                                                       reporting potential indicators                   Insider Threat
                                                                                                       of insider threat.




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                                                                                                            TABLE D-3: MAPPING AUDIT AND ACCOUNTABILITY REQUIREMENTS TO CONTROLS

                                                                                                                                                   NIST SP 800-53                            ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                      Relevant Security Controls              Relevant Security Controls

                                                                                                3.3 AUDIT AND ACCOUNTABILITY
                                                                                                Basic Security Requirements
                                                                                                3.3.1   Create and retain system        AU-2         Event Logging               No direct mapping.
                                                                                                        audit logs and records to the
                                                                                                        extent needed to enable the     AU-3         Content of Audit            A.12.4.1*    Event logging
                                                                                                        monitoring, analysis,                        Records
                                                                                                        investigation, and reporting    AU-3(1)      Content of Audit            No direct mapping.
                                                                                                        of unlawful or unauthorized                  Records
                                                                                                        system activity.                             Additional Audit
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                                                                                                3.3.2   Ensure that the actions of                   Information
                                                                                                        individual system users can     AU-6         Audit Record Review,        A.12.4.1     Event logging
                                                                                                        be uniquely traced to those                  Analysis, and Reporting     A.16.1.2     Reporting information
                                                                                                        users, so they can be held                                                            security events
                                                                                                        accountable for their
                                                                                                                                                                                 A.16.1.4     Assessment of and
                                                                                                        actions.
                                                                                                                                                                                              decision on information
                                                                                                                                                                                              security events
                                                                                                                                        AU-11        Audit Record Retention      A.12.4.1     Event logging
                                                                                                                                                                                 A.12.4.3     Administrator and
                                                                                                                                                                                              operator logs
                                                                                                                                        AU-12        Audit Record                A.12.4.1     Event logging
                                                                                                                                                     Generation                  A.16.1.7     Collection of evidence
                                                                                                Derived Security Requirements
                                                                                                3.3.3   Review and update logged        AU-2(3)      Event Logging               No direct mapping.
                                                                                                        events.                                      Review and Updates

                                                                                                3.3.4   Alert in the event of an        AU-5         Response to Audit           No direct mapping.
                                                                                                        audit logging process                        Logging Process Failures
                                                                                                        failure.
                                                                                                3.3.5   Correlate audit record          AU-6(3)      Audit Record Review,        No direct mapping.
                                                                                                        review, analysis, and                        Analysis, and Reporting
                                                                                                        reporting processes for                      Correlate Audit Record
                                                                                                        investigation and response                   Repositories
                                                                                                        to indications of unlawful,
                                                                                                        unauthorized, suspicious, or
                                                                                                        unusual activity.
                                                                                                3.3.6   Provide audit record            AU-7         Audit Record Reduction      No direct mapping.
                                                                                                        reduction and report                         and Report Generation
                                                                                                        generation to support on-
                                                                                                        demand analysis and
                                                                                                        reporting.
                                                                                                3.3.7   Provide a system capability     AU-8         Time Stamps                 A.12.4.4     Clock synchronization
                                                                                                        that compares and
                                                                                                        synchronizes internal           AU-8(1)      Time Stamps                 No direct mapping.
                                                                                                        system clocks with an                        Synchronization with
                                                                                                        authoritative source to                      Authoritative Time Source
                                                                                                        generate time stamps for
                                                                                                        audit records.
                                                                                                3.3.8   Protect audit information       AU-9         Protection of Audit         A.12.4.2     Protection of log
                                                                                                        and audit logging tools from                 Information                              information



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                                                                                                                                                NIST SP 800-53                     ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                  Relevant Security Controls         Relevant Security Controls

                                                                                                        unauthorized access,                                            A.12.4.3     Administrator and
                                                                                                        modification, and deletion.                                                  operator logs
                                                                                                                                                                        A.18.1.3     Protection of records
                                                                                                3.3.9   Limit management of audit     AU-9(4)    Protection of Audit    No direct mapping.
                                                                                                        logging functionality to a               Information
                                                                                                        subset of privileged users.              Access by Subset of
                                                                                                                                                 Privileged Users
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                                                                                                           TABLE D-4: MAPPING CONFIGURATION MANAGEMENT REQUIREMENTS TO CONTROLS 32

                                                                                                                                                      NIST SP 800-53                            ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                     Relevant Security Controls               Relevant Security Controls

                                                                                                3.4 CONFIGURATION MANAGEMENT
                                                                                                Basic Security Requirements
                                                                                                3.4.1     Establish and maintain           CM-2         Baseline Configuration      No direct mapping.
                                                                                                          baseline configurations and      CM-6         Configuration Settings      No direct mapping.
                                                                                                          inventories of organizational
                                                                                                                                           CM-8         System Component            A.8.1.1       Inventory of assets
                                                                                                          systems (including hardware,
                                                                                                                                                        Inventory                   A.8.1.2       Ownership of assets
                                                                                                          software, firmware, and
                                                                                                          documentation) throughout        CM-8(1)      System Component            No direct mapping.
                                                                                                          the respective system                         Inventory
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                                                                                                          development life cycles.                      Updates During
                                                                                                                                                        Installations / Removals
                                                                                                3.4.2     Establish and enforce
                                                                                                          security configuration
                                                                                                          settings for information
                                                                                                          technology products
                                                                                                          employed in organizational
                                                                                                          systems.
                                                                                                Derived Security Requirements
                                                                                                3.4.3     Track, review, approve or        CM-3         Configuration Change        A.12.1.2      Change management
                                                                                                          disapprove, and log changes                   Control                     A.14.2.2      System change control
                                                                                                          to organizational systems.                                                              procedures
                                                                                                                                                                                    A.14.2.3      Technical review of
                                                                                                                                                                                                  applications after
                                                                                                                                                                                                  operating platform
                                                                                                                                                                                                  changes
                                                                                                                                                                                    A.14.2.4      Restrictions on changes
                                                                                                                                                                                                  to software packages
                                                                                                3.4.4     Analyze the security impact      CM-4         Security Impact             A.14.2.3      Technical review of
                                                                                                          of changes prior to                           Analysis                                  applications after
                                                                                                          implementation.                                                                         operating platform
                                                                                                                                                                                                  changes
                                                                                                3.4.5     Define, document, approve,       CM-5         Access Restrictions for     A.9.2.3       Management of
                                                                                                          and enforce physical and                      Change                                    privileged access rights
                                                                                                          logical access restrictions                                               A.9.4.5       Access control to
                                                                                                          associated with changes to                                                              program source code
                                                                                                          organizational systems.
                                                                                                                                                                                    A.12.1.2      Change management
                                                                                                                                                                                    A.12.1.4      Separation of
                                                                                                                                                                                                  development, testing,
                                                                                                                                                                                                  and operational
                                                                                                                                                                                                  environments
                                                                                                                                                                                    A.12.5.1      Installation of software
                                                                                                                                                                                                  on operational systems




                                                                                               32 CM-7(5), the least functionality whitelisting policy, is listed as an alternative to CM-7(4), the least functionality

                                                                                               blacklisting policy, for organizations desiring greater protection for systems containing CUI. CM-7(5) is only required in
                                                                                               federal systems at the high security control baseline in accordance with NIST Special Publication 800-53.



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                                                                                                                                                     NIST SP 800-53                          ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                    Relevant Security Controls            Relevant Security Controls

                                                                                                3.4.6     Employ the principle of least   CM-7         Least Functionality       A.12.5.1*    Installation of software
                                                                                                          functionality by configuring                                                        on operational systems
                                                                                                          organizational systems to
                                                                                                          provide only essential
                                                                                                          capabilities.
                                                                                                3.4.7     Restrict, disable, or prevent   CM-7(1)      Least Functionality       No direct mapping.
                                                                                                          the use of nonessential                      Periodic Review
                                                                                                          programs, functions, ports,     CM-7(2)      Least Functionality       No direct mapping.
                                                                                                          protocols, and services.                     Prevent program
                                                                                                                                                       execution
                                                                                                3.4.8     Apply deny-by-exception         CM-7(4)      Least Functionality       No direct mapping.
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                                                                                                          (blacklisting) policy to                     Unauthorized Software /
                                                                                                          prevent the use of                           Blacklisting
                                                                                                          unauthorized software or        CM-7(5)      Least Functionality       No direct mapping.
                                                                                                          deny-all, permit-by-                         Authorized Software /
                                                                                                          exception (whitelisting)                     Whitelisting
                                                                                                          policy to allow the execution
                                                                                                          of authorized software.
                                                                                                3.4.9     Control and monitor user-       CM-11        User-Installed Software   A.12.5.1     Installation of software
                                                                                                          installed software.                                                                 on operational systems
                                                                                                                                                                                 A.12.6.2     Restrictions on
                                                                                                                                                                                              software installation




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                                                                                                        TABLE D-5: MAPPING IDENTIFICATION AND AUTHENTICATION REQUIREMENTS TO CONTROLS 33

                                                                                                                                                      NIST SP 800-53                           ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                     Relevant Security Controls              Relevant Security Controls

                                                                                                3.5 IDENTIFICATION AND AUTHENTICATION
                                                                                                Basic Security Requirements
                                                                                                3.5.1    Identify system users,            IA-2         Identification and           A.9.2.1      User registration and
                                                                                                         processes acting on behalf of                  Authentication                            de-registration
                                                                                                         users, and devices.                            (Organizational Users)
                                                                                                3.5.2    Authenticate (or verify) the      IA-3         Device Identification and    No direct mapping.
                                                                                                         identities of users, processes,                Authentication
                                                                                                         or devices, as a prerequisite     IA-5         Authenticator                A.9.2.1      User registration and
                                                                                                         to allowing access to                          Management                                de-registration
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                                                                                                         organizational systems.
                                                                                                                                                                                     A.9.2.4      Management of
                                                                                                                                                                                                  secret
                                                                                                                                                                                                  authentication
                                                                                                                                                                                                  information of users
                                                                                                                                                                                     A.9.3.1      Use of secret
                                                                                                                                                                                                  authentication
                                                                                                                                                                                                  information
                                                                                                                                                                                     A.9.4.3      Password
                                                                                                                                                                                                  management system
                                                                                                Derived Security Requirements
                                                                                                3.5.3    Use multifactor                   IA-2(1)      Identification and           No direct mapping.
                                                                                                         authentication for local and                   Authentication
                                                                                                         network access to privileged                   (Organizational Users)
                                                                                                         accounts and for network                       Network Access to
                                                                                                         access to non-privileged                       Privileged Accounts
                                                                                                         accounts.                         IA-2(2)      Identification and           No direct mapping.
                                                                                                                                                        Authentication
                                                                                                                                                        (Organizational Users)
                                                                                                                                                        Network Access to Non-
                                                                                                                                                        Privileged Accounts
                                                                                                                                           IA-2(3)      Identification and           No direct mapping.
                                                                                                                                                        Authentication
                                                                                                                                                        (Organizational Users)
                                                                                                                                                        Local Access to Privileged
                                                                                                                                                        Accounts
                                                                                                3.5.4    Employ replay-resistant           IA-2(8)      Identification and           No direct mapping.
                                                                                                         authentication mechanisms                      Authentication
                                                                                                         for network access to                          (Organizational Users)
                                                                                                         privileged and non-privileged                  Network Access to
                                                                                                         accounts.                                      Privileged Accounts-Replay
                                                                                                                                                        Resistant
                                                                                                                                           IA-2(9)      Identification and           No direct mapping.
                                                                                                                                                        Authentication
                                                                                                                                                        (Organizational Users)
                                                                                                                                                        Network Access to Non-
                                                                                                                                                        Privileged Accounts-Replay
                                                                                                                                                        Resistant



                                                                                               33 IA-2(8) is not currently in the NIST Special Publication 800-53 moderate security control baseline although it will be

                                                                                               added to the baseline in the next update. Employing multifactor authentication without a replay-resistant capability
                                                                                               for non-privileged accounts creates a significant vulnerability for systems transmitting CUI.



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                                                                                                                                                    NIST SP 800-53                       ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                   Relevant Security Controls          Relevant Security Controls

                                                                                                3.5.5    Prevent reuse of identifiers    IA-4         Identifier Management    A.9.2.1      User registration and
                                                                                                         for a defined period.                                                              de-registration
                                                                                                3.5.6    Disable identifiers after a     IA-4         Identifier Management    A.9.2.1      User registration and
                                                                                                         defined period of inactivity.                                                      de-registration
                                                                                                3.5.7    Enforce a minimum password      IA-5(1)      Authenticator            No direct mapping.
                                                                                                         complexity and change of                     Management
                                                                                                         characters when new                          Password-Based
                                                                                                         passwords are created.                       Authentication

                                                                                                3.5.8    Prohibit password reuse for a
                                                                                                         specified number of
                                                                                                         generations.
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                                                                                                3.5.9    Allow temporary password
                                                                                                         use for system logons with an
                                                                                                         immediate change to a
                                                                                                         permanent password.
                                                                                                3.5.10 Store and transmit only
                                                                                                       cryptographically-protected
                                                                                                       passwords.
                                                                                                3.5.11 Obscure feedback of               IA-6         Authenticator Feedback   A.9.4.2       Secure logon
                                                                                                       authentication information.                                                           procedures




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                                                                                                                  TABLE D-6: MAPPING INCIDENT RESPONSE REQUIREMENTS TO CONTROLS

                                                                                                                                                    NIST SP 800-53                      ISO/IEC 27001
                                                                                                        SECURITY REQUIREMENTS                   Relevant Security Controls        Relevant Security Controls

                                                                                                3.6 INCIDENT RESPONSE
                                                                                                Basic Security Requirements
                                                                                                3.6.1    Establish an operational        IR-2        Incident Response       A.7.2.2*     Information security
                                                                                                         incident-handling capability                Training                             awareness,
                                                                                                         for organizational systems                                                       education, and
                                                                                                         that includes preparation,                                                       training
                                                                                                         detection, analysis,            IR-4        Incident Handling       A.16.1.4     Assessment of and
                                                                                                         containment, recovery, and                                                       decision on
                                                                                                         user response activities.                                                        information security
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                                                                                                3.6.2    Track, document, and report                                                      events
                                                                                                         incidents to designated                                             A.16.1.5     Response to
                                                                                                         officials and/or authorities                                                     information security
                                                                                                         both internal and external to                                                    incidents
                                                                                                         the organization.                                                   A.16.1.6     Learning from
                                                                                                                                                                                          information security
                                                                                                                                                                                          incidents
                                                                                                                                         IR-5        Incident Monitoring     No direct mapping.
                                                                                                                                         IR-6        Incident Reporting      A.6.1.3      Contact with
                                                                                                                                                                                          authorities
                                                                                                                                                                             A.16.1.2     Reporting
                                                                                                                                                                                          information security
                                                                                                                                                                                          events
                                                                                                                                         IR-7        Incident Response       No direct mapping.
                                                                                                                                                     Assistance
                                                                                                Derived Security Requirements
                                                                                                3.6.3    Test the organizational         IR-3        Incident Response       No direct mapping.
                                                                                                         incident response capability.               Testing




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                                                                                                                    TABLE D-7: MAPPING MAINTENANCE REQUIREMENTS TO CONTROLS

                                                                                                                                                 NIST SP 800-53                        ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                    Relevant Security Controls          Relevant Security Controls

                                                                                                3.7 MAINTENANCE
                                                                                                Basic Security Requirements
                                                                                                3.7.1   Perform maintenance on        MA-2         Controlled              A.11.2.4*    Equipment
                                                                                                        organizational systems.                    Maintenance                          maintenance
                                                                                                3.7.2   Provide controls on the                                            A.11.2.5*    Removal of assets
                                                                                                        tools, techniques,            MA-3         Maintenance Tools       No direct mapping.
                                                                                                        mechanisms, and personnel     MA-3(1)      Maintenance Tools       No direct mapping.
                                                                                                        used to conduct system                     Inspect Tools
                                                                                                        maintenance.
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                                                                                                                                      MA-3(2)      Maintenance Tools       No direct mapping.
                                                                                                                                                   Inspect Media
                                                                                                Derived Security Requirements
                                                                                                3.7.3   Ensure equipment removed      MA-2         Controlled              A.11.2.4*    Equipment
                                                                                                        for off-site maintenance is                Maintenance                          maintenance
                                                                                                        sanitized of any CUI.                                              A.11.2.5*    Removal of assets
                                                                                                3.7.4   Check media containing        MA-3(2)      Maintenance Tools       No direct mapping.
                                                                                                        diagnostic and test                        Inspect Media
                                                                                                        programs for malicious code
                                                                                                        before the media are used
                                                                                                        in organizational systems.
                                                                                                3.7.5   Require multifactor           MA-4         Nonlocal Maintenance    No direct mapping.
                                                                                                        authentication to establish
                                                                                                        nonlocal maintenance
                                                                                                        sessions via external
                                                                                                        network connections and
                                                                                                        terminate such connections
                                                                                                        when nonlocal maintenance
                                                                                                        is complete.
                                                                                                3.7.6   Supervise the maintenance     MA-5         Maintenance Personnel   No direct mapping.
                                                                                                        activities of maintenance
                                                                                                        personnel without required
                                                                                                        access authorization.




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                                                                                                                 TABLE D-8: MAPPING MEDIA PROTECTION REQUIREMENTS TO CONTROLS 34

                                                                                                                                                NIST SP 800-53                           ISO/IEC 27001
                                                                                                   SECURITY REQUIREMENTS                    Relevant Security Controls              Relevant Security Controls

                                                                                                3.8 MEDIA PROTECTION
                                                                                                Basic Security Requirements
                                                                                                3.8.1   Protect (i.e., physically    MP-2          Media Access               A.8.2.3    Handling of Assets
                                                                                                        control and securely                                                  A.8.3.1    Management of
                                                                                                        store) system media                                                              removable media
                                                                                                        containing CUI, both
                                                                                                                                                                              A.11.2.9   Clear desk and clear
                                                                                                        paper and digital.
                                                                                                                                                                                         screen policy
                                                                                                3.8.2   Limit access to CUI on       MP-4          Media Storage              A.8.2.3    Handling of Assets
                                                                                                        system media to
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                                                                                                        authorized users.                                                     A.8.3.1    Management of
                                                                                                                                                                                         removable media
                                                                                                3.8.3   Sanitize or destroy
                                                                                                                                                                              A.11.2.9   Clear desk and clear
                                                                                                        system media containing
                                                                                                                                                                                         screen policy
                                                                                                        CUI before disposal or
                                                                                                        release for reuse.           MP-6          Media Sanitization         A.8.2.3    Handling of Assets
                                                                                                                                                                              A.8.3.1    Management of
                                                                                                                                                                                         removable media
                                                                                                                                                                              A.8.3.2    Disposal of media
                                                                                                                                                                              A.11.2.7   Secure disposal or reuse
                                                                                                                                                                                         of equipment
                                                                                                Derived Security Requirements
                                                                                                3.8.4   Mark media with              MP-3          Media Marking              A.8.2.2    Labelling of Information
                                                                                                        necessary CUI markings
                                                                                                        and distribution
                                                                                                        limitations.
                                                                                                3.8.5   Control access to media      MP-5          Media Transport            A.8.2.3    Handling of Assets
                                                                                                        containing CUI and                                                    A.8.3.1    Management of
                                                                                                        maintain accountability                                                          removable media
                                                                                                        for media during
                                                                                                                                                                              A.8.3.3    Physical media transfer
                                                                                                        transport outside of
                                                                                                        controlled areas.                                                     A.11.2.5   Removal of assets
                                                                                                                                                                              A.11.2.6   Security of equipment
                                                                                                                                                                                         and assets off-premises
                                                                                                3.8.6   Implement cryptographic      MP-5(4)       Media Transport            No direct mapping.
                                                                                                        mechanisms to protect                      Cryptographic Protection
                                                                                                        the confidentiality of CUI
                                                                                                        stored on digital media
                                                                                                        during transport unless
                                                                                                        otherwise protected by
                                                                                                        alternative physical
                                                                                                        safeguards.
                                                                                                3.8.7   Control the use of           MP-7          Media Use                  A.8.2.3    Handling of Assets
                                                                                                        removable media on
                                                                                                        system components.                                                    A.8.3.1    Management of
                                                                                                                                                                                         removable media




                                                                                               34 CP-9, Information System Backup, is included with the Media Protection family since the Contingency Planning

                                                                                               family was not included in the security requirements.



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                                                                                                   SECURITY REQUIREMENTS                   Relevant Security Controls          Relevant Security Controls

                                                                                                3.8.8   Prohibit the use of         MP-7(1)       Media Use              No direct mapping.
                                                                                                        portable storage devices                  Prohibit Use Without
                                                                                                        when such devices have                    Owner
                                                                                                        no identifiable owner.
                                                                                                3.8.9   Protect the                 CP-9          System Backup          A.12.3.1   Information backup
                                                                                                        confidentiality of backup                                        A.17.1.2   Implementing
                                                                                                        CUI at storage locations.                                                   information security
                                                                                                                                                                                    continuity
                                                                                                                                                                         A.18.1.3   Protection of records
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                                                                                                                 TABLE D-9: MAPPING PERSONNEL SECURITY REQUIREMENTS TO CONTROLS

                                                                                                                                                 NIST SP 800-53                       ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                    Relevant Security Controls          Relevant Security Controls

                                                                                                3.9 PERSONNEL SECURITY
                                                                                                Basic Security Requirements
                                                                                                3.9.1   Screen individuals prior to   PS-3         Personnel Screening     A.7.1.1     Screening
                                                                                                        authorizing access to         PS-4         Personnel Termination   A.7.3.1     Termination or change
                                                                                                        organizational systems                                                         of employment
                                                                                                        containing CUI.                                                                responsibilities
                                                                                                3.9.2   Ensure that organizational                                         A.8.1.4     Return of assets
                                                                                                        systems containing CUI are    PS-5         Personnel Transfer      A.7.3.1     Termination or change
                                                                                                        protected during and after
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                                                                                                                                                                                       of employment
                                                                                                        personnel actions such as                                                      responsibilities
                                                                                                        terminations and transfers.
                                                                                                                                                                           A.8.1.4     Return of assets
                                                                                                Derived Security Requirements         None.




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                                                                                                               TABLE D-10: MAPPING PHYSICAL PROTECTION REQUIREMENTS TO CONTROLS

                                                                                                                                                   NIST SP 800-53                          ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                      Relevant Security Controls            Relevant Security Controls

                                                                                                3.10 PHYSICAL PROTECTION
                                                                                                Basic Security Requirements
                                                                                                3.10.1 Limit physical access to        PE-2          Physical Access           A.11.1.2*    Physical entry controls
                                                                                                       organizational systems,                       Authorizations
                                                                                                       equipment, and the              PE-4          Access Control for        A.11.1.2     Physical entry controls
                                                                                                       respective operating                          Transmission Medium       A.11.2.3     Cabling security
                                                                                                       environments to authorized
                                                                                                       individuals.                    PE-5          Access Control for        A.11.1.2     Physical entry controls
                                                                                                                                                     Output Devices            A.11.1.3     Securing offices,
                                                                                                3.10.2 Protect and monitor the
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                                                                                                       physical facility and support                                                        rooms, and facilities
                                                                                                       infrastructure for
                                                                                                       organizational systems.         PE-6          Monitoring Physical       No direct mapping.
                                                                                                                                                     Access


                                                                                                Derived Security Requirements
                                                                                                3.10.3 Escort visitors and monitor     PE-3          Physical Access Control   A.11.1.1     Physical security
                                                                                                       visitor activity.                                                                    perimeter
                                                                                                                                                                               A.11.1.2     Physical entry controls
                                                                                                3.10.4 Maintain audit logs of                                                  A.11.1.3     Securing offices,
                                                                                                       physical access.                                                                     rooms, and facilities
                                                                                                3.10.5 Control and manage
                                                                                                       physical access devices.
                                                                                                3.10.6 Enforce safeguarding            PE-17         Alternate Work Site       A.6.2.2      Teleworking
                                                                                                       measures for CUI at                                                     A.11.2.6     Security of equipment
                                                                                                       alternate work sites.                                                                and assets off-premises
                                                                                                                                                                               A.13.2.1     Information transfer
                                                                                                                                                                                            policies and
                                                                                                                                                                                            procedures




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                                                                                                                 TABLE D-11: MAPPING RISK ASSESSMENT REQUIREMENTS TO CONTROLS

                                                                                                                                                  NIST SP 800-53                         ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                     Relevant Security Controls           Relevant Security Controls

                                                                                                3.11 RISK ASSESSMENT
                                                                                                Basic Security Requirements
                                                                                                3.11.1 Periodically assess the risk    RA-3         Risk Assessment          A.12.6.1*    Management of
                                                                                                       to organizational operations                                                       technical vulnerabilities
                                                                                                       (including mission,
                                                                                                       functions, image, or
                                                                                                       reputation), organizational
                                                                                                       assets, and individuals,
                                                                                                       resulting from the operation
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                                                                                                       of organizational systems
                                                                                                       and the associated
                                                                                                       processing, storage, or
                                                                                                       transmission of CUI.
                                                                                                Derived Security Requirements
                                                                                                3.11.2 Scan for vulnerabilities in     RA-5         Vulnerability Scanning   A.12.6.1*    Management of
                                                                                                       organizational systems and                                                         technical vulnerabilities
                                                                                                       applications periodically and
                                                                                                       when new vulnerabilities
                                                                                                       affecting those systems and     RA-5(5)      Vulnerability Scanning   No direct mapping.
                                                                                                       applications are identified.                 Privileged Access
                                                                                                3.11.3 Remediate vulnerabilities in    RA-5         Vulnerability Scanning   A.12.6.1*    Management of
                                                                                                       accordance with risk                                                               technical vulnerabilities
                                                                                                       assessments.




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                                                                                                               TABLE D-12: MAPPING SECURITY ASSESSMENT REQUIREMENTS TO CONTROLS

                                                                                                                                                  NIST SP 800-53                       ISO/IEC 27001
                                                                                                    SECURITY REQUIREMENTS                     Relevant Security Controls          Relevant Security Controls

                                                                                                3.12 SECURITY ASSESSMENT
                                                                                                Basic Security Requirements
                                                                                                3.12.1 Periodically assess the        CA-2          Security Assessments    A.14.2.8     System security testing
                                                                                                       security controls in                                                 A.18.2.2     Compliance with
                                                                                                       organizational systems to                                                         security policies and
                                                                                                       determine if the controls                                                         standards
                                                                                                       are effective in their
                                                                                                                                                                            A.18.2.3     Technical compliance
                                                                                                       application.
                                                                                                                                                                                         review
                                                                                                3.12.2 Develop and implement
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                                                                                                                                      CA-5          Plan of Action and      No direct mapping.
                                                                                                       plans of action designed to                  Milestones
                                                                                                       correct deficiencies and
                                                                                                       reduce or eliminate            CA-7          Continuous Monitoring   No direct mapping.
                                                                                                       vulnerabilities in             PL-2          System Security Plan    A.6.1.2      Information security
                                                                                                       organizational systems.                                                           coordination
                                                                                                3.12.3 Monitor security controls on
                                                                                                       an ongoing basis to ensure
                                                                                                       the continued effectiveness
                                                                                                       of the controls.
                                                                                                3.12.4 Develop, document, and
                                                                                                       periodically update system
                                                                                                       security plans that describe
                                                                                                       system boundaries, system
                                                                                                       environments of operation,
                                                                                                       how security requirements
                                                                                                       are implemented, and the
                                                                                                       relationships with or
                                                                                                       connections to other
                                                                                                       systems.
                                                                                                Derived Security Requirements         None.




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                                                                                                  TABLE D-13: MAPPING SYSTEM AND COMMUNICATIONS PROTECTION REQUIREMENTS TO CONTROLS 35

                                                                                                                                                     NIST SP 800-53                           ISO/IEC 27001
                                                                                                      SECURITY REQUIREMENTS                      Relevant Security Controls              Relevant Security Controls

                                                                                                3.13 SYSTEM AND COMMUNICATIONS PROTECTION
                                                                                                Basic Security Requirements
                                                                                                3.13.1 Monitor, control, and protect      SC-7        Boundary Protection          A.13.1.1     Network controls
                                                                                                       communications (i.e.,                                                       A.13.1.3     Segregation in
                                                                                                       information transmitted or                                                               networks
                                                                                                       received by organizational
                                                                                                                                                                                   A.13.2.1     Information transfer
                                                                                                       systems) at the external
                                                                                                                                                                                                policies and
                                                                                                       boundaries and key internal
                                                                                                                                                                                                procedures
                                                                                                       boundaries of organizational
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                                                                                                       systems.                                                                    A.14.1.3     Protecting application
                                                                                                                                                                                                services transactions
                                                                                                3.13.2 Employ architectural designs,
                                                                                                       software development               SA-8        Security Engineering         A.14.2.5     Secure system
                                                                                                       techniques, and systems                        Principles                                engineering principles
                                                                                                       engineering principles that
                                                                                                       promote effective information
                                                                                                       security within organizational
                                                                                                       systems.
                                                                                                Derived Security Requirements
                                                                                                3.13.3 Separate user functionality        SC-2        Application Partitioning     No direct mapping.
                                                                                                       from system management
                                                                                                       functionality.
                                                                                                3.13.4 Prevent unauthorized and           SC-4        Information in Shared        No direct mapping.
                                                                                                       unintended information                         Resources
                                                                                                       transfer via shared system
                                                                                                       resources.
                                                                                                3.13.5 Implement subnetworks for          SC-7        Boundary Protection          A.13.1.1     Network controls
                                                                                                       publicly accessible system                                                  A.13.1.3     Segregation in
                                                                                                       components that are                                                                      networks
                                                                                                       physically or logically
                                                                                                                                                                                   A.13.2.1     Information transfer
                                                                                                       separated from internal
                                                                                                                                                                                                policies and
                                                                                                       networks.
                                                                                                                                                                                                procedures
                                                                                                                                                                                   A.14.1.3     Protecting application
                                                                                                                                                                                                services transactions
                                                                                                3.13.6 Deny network                       SC-7(5)     Boundary Protection          No direct mapping.
                                                                                                       communications traffic by                      Deny by Default / Allow by
                                                                                                       default and allow network                      Exception
                                                                                                       communications traffic by
                                                                                                       exception (i.e., deny all,
                                                                                                       permit by exception).




                                                                                               35 SA-8, Security Engineering Principles, is included with the System and Communications Protection family since the

                                                                                               System and Services Acquisition family was not included in the security requirements.



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                                                                                                                                                    NIST SP 800-53                             ISO/IEC 27001
                                                                                                     SECURITY REQUIREMENTS                      Relevant Security Controls               Relevant Security Controls

                                                                                                3.13.7 Prevent remote devices from       SC-7(7)     Boundary Protection           No direct mapping.
                                                                                                       simultaneously establishing                   Prevent Split Tunneling for
                                                                                                       non-remote connections with                   Remote Devices
                                                                                                       organizational systems and
                                                                                                       communicating via some other
                                                                                                       connection to resources in
                                                                                                       external networks (i.e., split
                                                                                                       tunneling).
                                                                                                3.13.8 Implement cryptographic           SC-8        Transmission                  A.8.2.3      Handling of Assets
                                                                                                       mechanisms to prevent                         Confidentiality and           A.13.1.1     Network controls
                                                                                                       unauthorized disclosure of CUI                Integrity
                                                                                                                                                                                   A.13.2.1     Information transfer
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                                                                                                       during transmission unless
                                                                                                                                                                                                policies and
                                                                                                       otherwise protected by
                                                                                                                                                                                                procedures
                                                                                                       alternative physical
                                                                                                       safeguards.                                                                 A.13.2.3     Electronic messaging
                                                                                                                                                                                   A.14.1.2     Securing application
                                                                                                                                                                                                services on public
                                                                                                                                                                                                networks
                                                                                                                                                                                   A.14.1.3     Protecting application
                                                                                                                                                                                                services transactions
                                                                                                                                         SC-8(1)     Transmission                  No direct mapping.
                                                                                                                                                     Confidentiality and
                                                                                                                                                     Integrity
                                                                                                                                                     Cryptographic or Alternate
                                                                                                                                                     Physical Protection
                                                                                                3.13.9 Terminate network                 SC-10       Network Disconnect            A.13.1.1     Network controls
                                                                                                       connections associated with
                                                                                                       communications sessions at
                                                                                                       the end of the sessions or
                                                                                                       after a defined period of
                                                                                                       inactivity.
                                                                                                3.13.10 Establish and manage             SC-12       Cryptographic Key             A.10.1.2     Key Management
                                                                                                        cryptographic keys for                       Establishment and
                                                                                                        cryptography employed in                     Management
                                                                                                        organizational systems.
                                                                                                3.13.11 Employ FIPS-validated            SC-13       Cryptographic                 A.10.1.1     Policy on the use of
                                                                                                        cryptography when used to                    Protection                                 cryptographic controls
                                                                                                        protect the confidentiality of                                             A.14.1.2     Securing application
                                                                                                        CUI.                                                                                    services on public
                                                                                                                                                                                                networks
                                                                                                                                                                                   A.14.1.3     Protecting application
                                                                                                                                                                                                services transactions
                                                                                                                                                                                   A.18.1.5     Regulation of
                                                                                                                                                                                                cryptographic controls
                                                                                                3.13.12 Prohibit remote activation of    SC-15       Collaborative                 A.13.2.1*    Information transfer
                                                                                                        collaborative computing                      Computing Devices                          policies and
                                                                                                        devices and provide                                                                     procedures
                                                                                                        indication of devices in use
                                                                                                        to users present at the
                                                                                                        device.
                                                                                                3.13.13 Control and monitor the use      SC-18       Mobile Code                   No direct mapping.
                                                                                                        of mobile code.



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                                                                                                                                                 NIST SP 800-53                      ISO/IEC 27001
                                                                                                     SECURITY REQUIREMENTS                   Relevant Security Controls         Relevant Security Controls

                                                                                                3.13.14 Control and monitor the use      SC-19    Voice over Internet     No direct mapping.
                                                                                                        of Voice over Internet                    Protocol
                                                                                                        Protocol (VoIP) technologies.
                                                                                                3.13.15 Protect the authenticity of      SC-23    Session Authenticity    No direct mapping.
                                                                                                        communications sessions.
                                                                                                3.13.16 Protect the confidentiality of   SC-28    Protection of           A.8.2.3*     Handling of Assets
                                                                                                        CUI at rest.                              Information at Rest
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                                                                                                      TABLE D-14: MAPPING SYSTEM AND INFORMATION INTEGRITY REQUIREMENTS TO CONTROLS

                                                                                                                                                  NIST SP 800-53                           ISO/IEC 27001
                                                                                                     SECURITY REQUIREMENTS                    Relevant Security Controls              Relevant Security Controls

                                                                                                3.14 SYSTEM AND INFORMATION INTEGRITY
                                                                                                Basic Security Requirements
                                                                                                3.14.1 Identify, report, and correct   SI-2      Flaw Remediation               A.12.6.1     Management of
                                                                                                       system flaws in a timely                                                              technical vulnerabilities
                                                                                                       manner.                                                                  A.14.2.2     System change control
                                                                                                3.14.2 Provide protection from                                                               procedures
                                                                                                       malicious code at                                                        A.14.2.3     Technical review of
                                                                                                       designated locations within                                                           applications after
                                                                                                       organizational systems.                                                               operating platform
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                                                                                                3.14.3 Monitor system security                                                               changes
                                                                                                       alerts and advisories and                                                A.16.1.3     Reporting information
                                                                                                       take action in response.                                                              security weaknesses
                                                                                                                                       SI-3      Malicious Code Protection      A.12.2.1     Controls against
                                                                                                                                                                                             malware
                                                                                                                                       SI-5      Security Alerts, Advisories,   A.6.1.4*     Contact with special
                                                                                                                                                 and Directives                              interest groups
                                                                                                Derived Security Requirements
                                                                                                3.14.4 Update malicious code           SI-3      Malicious Code Protection      A.12.2.1     Controls against
                                                                                                       protection mechanisms                                                                 malware
                                                                                                       when new releases are
                                                                                                       available.
                                                                                                3.14.5 Perform periodic scans of
                                                                                                       organizational systems and
                                                                                                       real-time scans of files from
                                                                                                       external sources as files are
                                                                                                       downloaded, opened, or
                                                                                                       executed.
                                                                                                3.14.6 Monitor organizational          SI-4      System Monitoring              No direct mapping.
                                                                                                       systems, including inbound
                                                                                                       and outbound                    SI-4(4)   System Monitoring              No direct mapping.
                                                                                                       communications traffic, to                Inbound and Outbound
                                                                                                       detect attacks and indicators             Communications Traffic
                                                                                                       of potential attacks.
                                                                                                3.14.7 Identify unauthorized use of    SI-4      System Monitoring              No direct mapping.
                                                                                                       organizational systems.




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                                                                                               APPENDIX E

                                                                                               TAILORING CRITERIA
                                                                                               LISTING OF MODERATE SECURITY CONTROL BASELINE AND TAILORING ACTIONS



                                                                                               T     his appendix provides a list of the security controls in the [SP 800-53] 36 moderate baseline,
                                                                                                     one of the sources along with [FIPS 200], used to develop the CUI security requirements
                                                                                                     described in Chapter Three. Tables E-1 through E-17 contain the specific tailoring actions
                                                                                               that have been carried out on the controls in accordance with the tailoring criteria established
                                                                                               by NIST and NARA. The tailoring actions facilitated the development of the CUI derived security
                                                                                               requirements which supplement the basic security requirements. 37 There are three primary
                                                                                               criteria for eliminating a security control or control enhancement from the moderate baseline
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                                                                                               including—
                                                                                               •    The control or control enhancement is uniquely federal (i.e., primarily the responsibility of
                                                                                                    the federal government);
                                                                                               •    The control or control enhancement is not directly related to protecting the confidentiality
                                                                                                    of CUI; 38 or
                                                                                               •    The control or control enhancement is expected to be routinely satisfied by nonfederal
                                                                                                    organizations without specification. 39

                                                                                               The following symbols in Table E are used in Tables E-1 through E-17 to specify the tailoring
                                                                                               actions taken or when no tailoring actions were required.

                                                                                                                                      TABLE E: TAILORING ACTION SYMBOLS

                                                                                                   TAILORING
                                                                                                    SYMBOL
                                                                                                                                                       TAILORING CRITERIA

                                                                                                     NCO         NOT DIRECTLY RELATED TO PROTECTING THE CONFIDENTIALITY OF CUI.

                                                                                                     FED         UNIQUELY FEDERAL, PRIMARILY THE RESPONSIBILITY OF THE FEDERAL GOVERNMENT.

                                                                                                     NFO         EXPECTED TO BE ROUTINELY SATISFIED BY NONFEDERAL ORGANIZATIONS WITHOUT SPECIFICATION.

                                                                                                      CUI        THE CUI BASIC OR DERIVED SECURITY REQUIREMENT IS REFLECTED IN AND IS TRACEABLE TO THE SECURITY
                                                                                                                 CONTROL, CONTROL ENHANCEMENT, OR SPECIFIC ELEMENTS OF THE CONTROL/ENHANCEMENT.




                                                                                               36 The security controls in Tables E-1 through E-14 are taken from NIST Special Publication 800-53, Revision 4. These

                                                                                               tables will be updated upon publication of [SP 800-53B] which will provide an update to the moderate security control
                                                                                               baseline consistent with NIST Special Publication 800-53, Revision 5. Changes to the moderate baseline will affect
                                                                                               future updates to the basic and derived security requirements in Chapter Three.
                                                                                               37 The same tailoring criteria were applied to the security requirements in [FIPS 200] resulting in the CUI basic security

                                                                                               requirements described in Chapter Three.
                                                                                               38 While the primary purpose of this publication is to define requirements to protect the confidentiality of CUI, there

                                                                                               is a close relationship between the security objectives of confidentiality and integrity. Therefore, the security controls
                                                                                               in the [SP 800-53] moderate baseline that support protection against unauthorized disclosure also support protection
                                                                                               against unauthorized modification.
                                                                                               39 The security controls tailored out of the moderate baseline (i.e., controls specifically marked as either NCO or NFO

                                                                                               and highlighted in the darker blue shading in Tables E-1 through E-17), are often included as part of an organization’s
                                                                                               comprehensive security program.



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                                                                                                                           TABLE E-1: TAILORING ACTIONS FOR ACCESS CONTROLS

                                                                                                                                            NIST SP 800-53                                        TAILORING
                                                                                                                              MODERATE BASELINE SECURITY CONTROLS                                  ACTION

                                                                                                 AC-1       Access Control Policy and Procedures                                                    NFO
                                                                                                 AC-2       Account Management                                                                       CUI
                                                                                                 AC-2(1)    ACCOUNT MANAGEMENT | AUTOMATED SYSTEM ACCOUNT MANAGEMENT                                NCO
                                                                                                 AC-2(2)    ACCOUNT MANAGEMENT | REMOVAL OF TEMPORARY / EMERGENCY ACCOUNTS                          NCO
                                                                                                 AC-2(3)    ACCOUNT MANAGEMENT | DISABLE INACTIVE ACCOUNTS                                          NCO
                                                                                                 AC-2(4)    ACCOUNT MANAGEMENT | AUTOMATED AUDIT ACTIONS                                            NCO
                                                                                                 AC-3       Access Enforcement                                                                       CUI
                                                                                                 AC-4       Information Flow Enforcement                                                             CUI
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                                                                                                 AC-5       Separation of Duties                                                                     CUI
                                                                                                 AC-6       Least Privilege                                                                          CUI
                                                                                                 AC-6(1)    LEAST PRIVILEGE | AUTHORIZE ACCESS TO SECURITY FUNCTIONS                                 CUI
                                                                                                 AC-6(2)    LEAST PRIVILEGE | NON-PRIVILEGED ACCESS FOR NONSECURITY FUNCTIONS                        CUI
                                                                                                 AC-6(5)    LEAST PRIVILEGE | PRIVILEGED ACCOUNTS                                                    CUI
                                                                                                 AC-6(9)    LEAST PRIVILEGE | AUDITING USE OF PRIVILEGED FUNCTIONS                                   CUI
                                                                                                 AC-6(10)   LEAST PRIVILEGE | PROHIBIT NON-PRIVILEGED USERS FROM EXECUTING PRIVILEGED FUNCTIONS      CUI
                                                                                                 AC-7       Unsuccessful Logon Attempts                                                              CUI
                                                                                                 AC-8       System Use Notification                                                                  CUI
                                                                                                 AC-11      Session Lock                                                                             CUI
                                                                                                 AC-11(1)   SESSION LOCK | PATTERN-HIDING DISPLAYS                                                   CUI
                                                                                                 AC-12      Session Termination                                                                      CUI
                                                                                                 AC-14      Permitted Actions without Identification or Authentication                               FED
                                                                                                 AC-17      Remote Access                                                                            CUI
                                                                                                 AC-17(1)   REMOTE ACCESS | AUTOMATED MONITORING / CONTROL                                           CUI
                                                                                                 AC-17(2)   REMOTE ACCESS | PROTECTION OF CONFIDENTIALITY / INTEGRITY USING ENCRYPTION               CUI
                                                                                                 AC-17(3)   REMOTE ACCESS | MANAGED ACCESS CONTROL POINTS                                            CUI
                                                                                                 AC-17(4)   REMOTE ACCESS | PRIVILEGED COMMANDS / ACCESS                                             CUI
                                                                                                 AC-18      Wireless Access                                                                          CUI
                                                                                                 AC-18(1)   WIRELESS ACCESS | AUTHENTICATION AND ENCRYPTION                                          CUI
                                                                                                 AC-19      Access Control for Mobile Devices                                                        CUI
                                                                                                 AC-19(5)   ACCESS CONTROL FOR MOBILE DEVICES | FULL DEVICE / CONTAINER-BASED ENCRYPTION             CUI
                                                                                                 AC-20      Use of External Systems                                                                  CUI
                                                                                                 AC-20(1)   USE OF EXTERNAL SYSTEMS | LIMITS ON AUTHORIZED USE                                       CUI
                                                                                                 AC-20(2)   USE OF EXTERNAL SYSTEMS | PORTABLE STORAGE DEVICES                                       CUI
                                                                                                 AC-21      Information Sharing                                                                      FED
                                                                                                 AC-22      Publicly Accessible Content                                                              CUI




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                                                                                                              TABLE E-2: TAILORING ACTIONS FOR AWARENESS AND TRAINING CONTROLS

                                                                                                                                          NIST SP 800-53                                  TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                            ACTION

                                                                                                 AT-1       Security Awareness and Training Policy and Procedures                            NFO
                                                                                                 AT-2       Security Awareness Training                                                      CUI
                                                                                                 AT-2(2)    SECURITY AWARENESS | INSIDER THREAT                                              CUI
                                                                                                 AT-3       Role-Based Security Training                                                     CUI
                                                                                                 AT-4       Security Training Records                                                        NFO
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                                                                                                             TABLE E-3: TAILORING ACTIONS FOR AUDIT AND ACCOUNTABILITY CONTROLS

                                                                                                                                          NIST SP 800-53                                  TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                            ACTION

                                                                                                 AU-1       Audit and Accountability Policy and Procedures                                   NFO
                                                                                                 AU-2       Audit Events                                                                     CUI
                                                                                                 AU-2(3)    AUDIT EVENTS | REVIEWS AND UPDATES                                               CUI
                                                                                                 AU-3       Content of Audit Records                                                         CUI
                                                                                                 AU-3(1)    CONTENT OF AUDIT RECORDS | ADDITIONAL AUDIT INFORMATION                          CUI
                                                                                                 AU-4       Audit Storage Capacity                                                           NCO
                                                                                                 AU-5       Response to Audit Logging Process Failures                                       CUI
                                                                                                 AU-6       Audit Review, Analysis, and Reporting                                            CUI
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                                                                                                 AU-6(1)    AUDIT REVIEW, ANALYSIS, AND REPORTING | PROCESS INTEGRATION                      NCO
                                                                                                 AU-6(3)    AUDIT REVIEW, ANALYSIS, AND REPORTING | CORRELATE AUDIT REPOSITORIES             CUI
                                                                                                 AU-7       Audit Reduction and Report Generation                                            CUI
                                                                                                 AU-7(1)    AUDIT REDUCTION AND REPORT GENERATION | AUTOMATIC PROCESSING                     NCO
                                                                                                 AU-8       Time Stamps                                                                      CUI
                                                                                                 AU-8(1)    TIME STAMPS | SYNCHRONIZATION WITH AUTHORITATIVE TIME SOURCE                     CUI
                                                                                                 AU-9       Protection of Audit Information                                                  CUI
                                                                                                 AU-9(4)    PROTECTION OF AUDIT INFORMATION | ACCESS BY SUBSET OF PRIVILEGED USERS           CUI
                                                                                                 AU-11      Audit Record Retention                                                           NCO
                                                                                                 AU-12      Audit Generation                                                                 CUI




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                                                                                                        TABLE E-4: TAILORING ACTIONS FOR SECURITY ASSESSMENT AND AUTHORIZATION CONTROLS

                                                                                                                                          NIST SP 800-53                                 TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                           ACTION

                                                                                                 CA-1         Security Assessment and Authorization Policies and Procedures                 NFO
                                                                                                 CA-2         Security Assessments                                                           CUI
                                                                                                 CA-2(1)      SECURITY ASSESSMENTS | INDEPENDENT ASSESSORS                                  NFO
                                                                                                 CA-3         System Interconnections                                                       NFO
                                                                                                 CA-3(5)      SYSTEM INTERCONNECTIONS | RESTRICTIONS ON EXTERNAL SYSTEM CONNECTIONS         NFO
                                                                                                 CA-5         Plan of Action and Milestones                                                  CUI
                                                                                                 CA-6         Security Authorization                                                         FED
                                                                                                 CA-7         Continuous Monitoring                                                          CUI
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                                                                                                 CA-7(1)      CONTINUOUS MONITORING | INDEPENDENT ASSESSMENT                                NFO
                                                                                                 CA-9         Internal System Connections                                                   NFO




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                                                                                                               TABLE E-5: TAILORING ACTIONS FOR CONFIGURATION MANAGEMENT CONTROLS 40

                                                                                                                                              NIST SP 800-53                                                 TAILORING
                                                                                                                                MODERATE BASELINE SECURITY CONTROLS                                           ACTION

                                                                                                  CM-1           Configuration Management Policy and Procedures                                                     NFO
                                                                                                  CM-2           Baseline Configuration                                                                             CUI
                                                                                                  CM-2(1)        BASELINE CONFIGURATION | REVIEWS AND UPDATES                                                       NFO
                                                                                                  CM-2(3)        BASELINE CONFIGURATION | RETENTION OF PREVIOUS CONFIGURATIONS                                      NCO
                                                                                                  CM-2(7)        BASELINE CONFIGURATION | CONFIGURE SYSTEMS, COMPONENTS, OR DEVICES FOR HIGH-RISK AREAS             NFO
                                                                                                  CM-3           Configuration Change Control                                                                       CUI
                                                                                                  CM-3(2)        CONFIGURATION CHANGE CONTROL | TEST / VALIDATE / DOCUMENT CHANGES                                  NFO
                                                                                                  CM-4           Security Impact Analysis                                                                           CUI
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                                                                                                  CM-5           Access Restrictions for Change                                                                     CUI
                                                                                                  CM-6           Configuration Settings                                                                             CUI
                                                                                                  CM-7           Least Functionality                                                                                CUI
                                                                                                  CM-7(1)        LEAST FUNCTIONALITY | PERIODIC REVIEW                                                              CUI
                                                                                                  CM-7(2)        LEAST FUNCTIONALITY | PREVENT PROGRAM EXECUTION                                                    CUI
                                                                                                  CM-7(4)(5)     LEAST FUNCTIONALITY | UNAUTHORIZED OR AUTHORIZED SOFTWARE / BLACKLISTING OR WHITELISTING           CUI
                                                                                                  CM-8           System Component Inventory                                                                         CUI
                                                                                                  CM-8(1)        SYSTEM COMPONENT INVENTORY | UPDATES DURING INSTALLATIONS / REMOVALS                               CUI
                                                                                                  CM-8(3)        SYSTEM COMPONENT INVENTORY | AUTOMATED UNAUTHORIZED COMPONENT DETECTION                            NCO
                                                                                                  CM-8(5)        SYSTEM COMPONENT INVENTORY | NO DUPLICATE ACCOUNTING OF COMPONENTS                                 NFO
                                                                                                  CM-9           Configuration Management Plan                                                                      NFO
                                                                                                  CM-10          Software Usage Restrictions                                                                        NCO
                                                                                                  CM-11          User-Installed Software                                                                            CUI




                                                                                               40 CM-7(5), Least Functionality whitelisting, is not in the moderate security control baseline in accordance with NIST

                                                                                               Special Publication 800-53. However, it is offered as an optional and stronger policy alternative to blacklisting.



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                                                                                                                TABLE E-6: TAILORING ACTIONS FOR CONTINGENCY PLANNING CONTROLS 41

                                                                                                                                              NIST SP 800-53                                             TAILORING
                                                                                                                               MODERATE BASELINE SECURITY CONTROLS                                        ACTION

                                                                                                  CP-1        Contingency Planning Policy and Procedures                                                     NCO
                                                                                                  CP-2        Contingency Plan                                                                               NCO
                                                                                                  CP-2(1)     CONTINGENCY PLAN | COORDINATE WITH RELATED PLANS                                               NCO
                                                                                                  CP-2(3)     CONTINGENCY PLAN | RESUME ESSENTIAL MISSIONS / BUSINESS FUNCTIONS                              NCO
                                                                                                  CP-2(8)     CONTINGENCY PLAN | IDENTIFY CRITICAL ASSETS                                                    NCO
                                                                                                  CP-3        Contingency Training                                                                           NCO
                                                                                                  CP-4        Contingency Plan Testing                                                                       NCO
                                                                                                  CP-4(1)     CONTINGENCY PLAN TESTING | COORDINATE WITH RELATED PLANS                                       NCO
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                                                                                                  CP-6        Alternate Storage Site                                                                         NCO
                                                                                                  CP-6(1)     ALTERNATE STORAGE SITE | SEPARATION FROM PRIMARY SITE                                          NCO
                                                                                                  CP-6(3)     ALTERNATE STORAGE SITE | ACCESSIBILITY                                                         NCO
                                                                                                  CP-7        Alternate Processing Site                                                                      NCO
                                                                                                  CP-7(1)     ALTERNATE PROCESSING SITE | SEPARATION FROM PRIMARY SITE                                       NCO
                                                                                                  CP-7(2)     ALTERNATE PROCESSING SITE | ACCESSIBILITY                                                      NCO
                                                                                                  CP-7(3)     ALTERNATE PROCESSING SITE | PRIORITY OF SERVICE                                                NCO
                                                                                                  CP-8        Telecommunications Services                                                                    NCO
                                                                                                  CP-8(1)     TELECOMMUNICATIONS SERVICES | PRIORITY OF SERVICE PROVISIONS                                   NCO
                                                                                                  CP-8(2)     TELECOMMUNICATIONS SERVICES | SINGLE POINTS OF FAILURE                                         NCO
                                                                                                  CP-9        System Backup                                                                                   CUI
                                                                                                  CP-9(1)     SYSTEM BACKUP | TESTING FOR RELIABILITY / INTEGRITY                                            NCO
                                                                                                  CP-10       System Recovery and Reconstitution                                                             NCO
                                                                                                  CP-10(2)    SYSTEM RECOVERY AND RECONSTITUTION | TRANSACTION RECOVERY                                      NCO




                                                                                               41 CP-9 is grouped with the security controls in the Media Protection family in Appendix D since the Contingency

                                                                                               Planning family was not included in the security requirements.



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                                                                                                            TABLE E-7: TAILORING ACTIONS FOR IDENTIFICATION AND AUTHENTICATION CONTROLS

                                                                                                                                              NIST SP 800-53                                                   TAILORING
                                                                                                                               MODERATE BASELINE SECURITY CONTROLS                                              ACTION

                                                                                                 IA-1           Identification and Authentication Policy and Procedures                                          NFO
                                                                                                 IA-2           Identification and Authentication (Organizational Users)                                          CUI
                                                                                                 IA-2(1)        IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | NETWORK ACCESS TO PRIVILEGED           CUI
                                                                                                                ACCOUNTS

                                                                                                 IA-2(2)        IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | NETWORK ACCESS TO NON-PRIVILEGED       CUI
                                                                                                                ACCOUNTS

                                                                                                 IA-2(3)        IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | LOCAL ACCESS TO PRIVILEGED             CUI
                                                                                                                ACCOUNTS
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                                                                                                 IA-2(8)        IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | NETWORK ACCESS TO PRIVILEGED           CUI
                                                                                                                ACCOUNTS - REPLAY RESISTANT

                                                                                                 IA-2(9)        IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | NETWORK ACCESS TO NON-PRIVILEGED       CUI
                                                                                                                ACCOUNTS - REPLAY RESISTANT

                                                                                                 IA-2(11)       IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | REMOTE ACCESS - SEPARATE DEVICE        FED
                                                                                                 IA-2(12)       IDENTIFICATION AND AUTHENTICATION (ORGANIZATIONAL USERS) | ACCEPTANCE OF PIV CREDENTIALS          FED
                                                                                                 IA-3           Device Identification and Authentication                                                          CUI
                                                                                                 IA-4           Identifier Management                                                                             CUI
                                                                                                 IA-5           Authenticator Management                                                                          CUI
                                                                                                 IA-5(1)        AUTHENTICATOR MANAGEMENT | PASSWORD-BASED AUTHENTICATION                                          CUI
                                                                                                 IA-5(2)        AUTHENTICATOR MANAGEMENT | PKI-BASED AUTHENTICATION                                               FED
                                                                                                 IA-5(3)        AUTHENTICATOR MANAGEMENT | IN-PERSON OR TRUSTED THIRD-PARTY REGISTRATION                          FED
                                                                                                 IA-5(11)       AUTHENTICATOR MANAGEMENT | HARDWARE TOKEN-BASED AUTHENTICATION                                    FED
                                                                                                 IA-6           Authenticator Feedback                                                                            CUI
                                                                                                 IA-7           Cryptographic Module Authentication                                                               FED
                                                                                                 IA-8           Identification and Authentication (Non-Organizational Users)                                      FED
                                                                                                 IA-8(1)        IDENTIFICATION AND AUTHENTICATION (NON-ORGANIZATIONAL USERS) | ACCEPTANCE OF PIV CREDENTIALS      FED
                                                                                                                FROM OTHER AGENCIES

                                                                                                 IA-8(2)        IDENTIFICATION AND AUTHENTICATION (NON-ORGANIZATIONAL USERS) | ACCEPTANCE OF THIRD-PARTY          FED
                                                                                                                CREDENTIALS

                                                                                                 IA-8(3)        IDENTIFICATION AND AUTHENTICATION (NON-ORGANIZATIONAL USERS) | USE OF FICAM-APPROVED              FED
                                                                                                                PRODUCTS

                                                                                                 IA-8(4)        IDENTIFICATION AND AUTHENTICATION (NON-ORGANIZATIONAL USERS) | USE OF FICAM-ISSUED PROFILES       FED




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                                                                                                                  TABLE E-8: TAILORING ACTIONS FOR INCIDENT RESPONSE CONTROLS

                                                                                                                                          NIST SP 800-53                                                  TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                                            ACTION

                                                                                                 IR-1       Incident Response Policy and Procedures                                                         NFO
                                                                                                 IR-2       Incident Response Training                                                                       CUI
                                                                                                 IR-3       Incident Response Testing                                                                        CUI
                                                                                                 IR-3(2)    INCIDENT RESPONSE TESTING | COORDINATION WITH RELATED PLANS                                     NCO
                                                                                                 IR-4       Incident Handling                                                                                CUI
                                                                                                 IR-4(1)    INCIDENT HANDLING | AUTOMATED INCIDENT HANDLING PROCESSES                                       NCO
                                                                                                 IR-5       Incident Monitoring                                                                              CUI
                                                                                                 IR-6       Incident Reporting                                                                               CUI
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                                                                                                 IR-6(1)    INCIDENT REPORTING | AUTOMATED REPORTING                                                        NCO
                                                                                                 IR-7       Incident Response Assistance                                                                     CUI
                                                                                                 IR-7(1)    INCIDENT RESPONSE ASSISTANCE | AUTOMATION SUPPORT FOR AVAILABILITY OF INFORMATION / SUPPORT     NCO
                                                                                                 IR-8       Incident Response Plan                                                                          NFO




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                                                                                                                     TABLE E-9: TAILORING ACTIONS FOR MAINTENANCE CONTROLS

                                                                                                                                        NIST SP 800-53                                   TAILORING
                                                                                                                           MODERATE BASELINE SECURITY CONTROLS                            ACTION

                                                                                                 MA-1        System Maintenance Policy and Procedures                                       NFO
                                                                                                 MA-2        Controlled Maintenance                                                          CUI
                                                                                                 MA-3        Maintenance Tools                                                               CUI
                                                                                                 MA-3(1)     MAINTENANCE TOOLS | INSPECT TOOLS                                               CUI
                                                                                                 MA-3(2)     MAINTENANCE TOOLS | INSPECT MEDIA                                               CUI
                                                                                                 MA-4        Nonlocal Maintenance                                                            CUI
                                                                                                 MA-4(2)     NONLOCAL MAINTENANCE | DOCUMENT NONLOCAL MAINTENANCE                           NFO
                                                                                                 MA-5        Maintenance Personnel                                                           CUI
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                                                                                                 MA-6        Timely Maintenance                                                             NCO




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                                                                                                                 TABLE E-10: TAILORING ACTIONS FOR MEDIA PROTECTION CONTROLS

                                                                                                                                        NIST SP 800-53                                   TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                           ACTION

                                                                                                 MP-1        Media Protection Policy and Procedures                                         NFO
                                                                                                 MP-2        Media Access                                                                    CUI
                                                                                                 MP-3        Media Marking                                                                   CUI
                                                                                                 MP-4        Media Storage                                                                   CUI
                                                                                                 MP-5        Media Transport                                                                 CUI
                                                                                                 MP-5(4)     MEDIA TRANSPORT | CRYPTOGRAPHIC PROTECTION                                      CUI
                                                                                                 MP-6        Media Sanitization                                                              CUI
                                                                                                 MP-7        Media Use                                                                       CUI
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                                                                                                 MP-7(1)     MEDIA USE | PROHIBIT USE WITHOUT OWNER                                          CUI




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                                                                                                    TABLE E-11: TAILORING ACTIONS FOR PHYSICAL AND ENVIRONMENTAL PROTECTION CONTROLS

                                                                                                                                         NIST SP 800-53                                  TAILORING
                                                                                                                           MODERATE BASELINE SECURITY CONTROLS                            ACTION

                                                                                                 PE-1        Physical and Environmental Protection Policy and Procedures                    NFO
                                                                                                 PE-2        Physical Access Authorizations                                                  CUI
                                                                                                 PE-3        Physical Access Control                                                         CUI
                                                                                                 PE-4        Access Control for Transmission Medium                                          CUI
                                                                                                 PE-5        Access Control for Output Devices                                               CUI
                                                                                                 PE-6        Monitoring Physical Access                                                      CUI
                                                                                                 PE-6(1)     MONITORING PHYSICAL ACCESS | INTRUSION ALARMS / SURVEILLANCE EQUIPMENT         NFO
                                                                                                 PE-8        Visitor Access Records                                                         NFO
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                                                                                                 PE-9        Power Equipment and Cabling                                                    NCO
                                                                                                 PE-10       Emergency Shutoff                                                              NCO
                                                                                                 PE-11       Emergency Power                                                                NCO
                                                                                                 PE-12       Emergency Lighting                                                             NCO
                                                                                                 PE-13       Fire Protection                                                                NCO
                                                                                                 PE-13(3)    FIRE PROTECTION | AUTOMATIC FIRE SUPPRESSION                                   NCO
                                                                                                 PE-14       Temperature and Humidity Controls                                              NCO
                                                                                                 PE-15       Water Damage Protection                                                        NCO
                                                                                                 PE-16       Delivery and Removal                                                           NFO
                                                                                                 PE-17       Alternate Work Site                                                             CUI




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                                                                                                                       TABLE E-12: TAILORING ACTIONS FOR PLANNING CONTROLS

                                                                                                                                         NIST SP 800-53                                    TAILORING
                                                                                                                           MODERATE BASELINE SECURITY CONTROLS                              ACTION

                                                                                                 PL-1        Security Planning Policy and Procedures                                         NFO
                                                                                                 PL-2        System Security Plan                                                             CUI
                                                                                                 PL-2(3)     SYSTEM SECURITY PLAN | PLAN / COORDINATE WITH OTHER ORGANIZATIONAL ENTITIES     NFO
                                                                                                 PL-4        Rules of Behavior                                                               NFO
                                                                                                 PL-4(1)     RULES OF BEHAVIOR | SOCIAL MEDIA AND NETWORKING RESTRICTIONS                    NFO
                                                                                                 PL-8        Information Security Architecture                                               NFO
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                                                                                                                TABLE E-13: TAILORING ACTIONS FOR PERSONNEL SECURITY CONTROLS

                                                                                                                                         NIST SP 800-53                                  TAILORING
                                                                                                                          MODERATE BASELINE SECURITY CONTROLS                             ACTION

                                                                                                 PS-1        Personnel Security Policy and Procedures                                       NFO
                                                                                                 PS-2        Position Risk Designation                                                       FED
                                                                                                 PS-3        Personnel Screening                                                             CUI
                                                                                                 PS-4        Personnel Termination                                                           CUI
                                                                                                 PS-5        Personnel Transfer                                                              CUI
                                                                                                 PS-6        Access Agreements                                                              NFO
                                                                                                 PS-7        Third-Party Personnel Security                                                 NFO
                                                                                                 PS-8        Personnel Sanctions                                                            NFO
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                                                                                                                   TABLE E-14: TAILORING ACTIONS FOR RISK ASSESSMENT CONTROLS

                                                                                                                                          NIST SP 800-53                                          TAILORING
                                                                                                                            MODERATE BASELINE SECURITY CONTROLS                                    ACTION

                                                                                                 RA-1        Risk Assessment Policy and Procedures                                                  NFO
                                                                                                 RA-2        Security Categorization                                                                 FED
                                                                                                 RA-3        Risk Assessment                                                                         CUI
                                                                                                 RA-5        Vulnerability Scanning                                                                  CUI
                                                                                                 RA-5(1)     VULNERABILITY SCANNING | UPDATE TOOL CAPABILITY                                        NFO
                                                                                                 RA-5(2)     VULNERABILITY SCANNING | UPDATE BY FREQUENCY / PRIOR TO NEW SCAN / WHEN IDENTIFIED     NFO
                                                                                                 RA-5(5)     VULNERABILITY SCANNING | PRIVILEGED ACCESS                                              CUI
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                                                                                                            TABLE E-15: TAILORING ACTIONS FOR SYSTEM AND SERVICES ACQUISITION CONTROLS 42

                                                                                                                                             NIST SP 800-53                                            TAILORING
                                                                                                                               MODERATE BASELINE SECURITY CONTROLS                                      ACTION

                                                                                                  SA-1          System and Services Acquisition Policy and Procedures                                      NFO
                                                                                                  SA-2          Allocation of Resources                                                                    NFO
                                                                                                  SA-3          System Development Life Cycle                                                              NFO
                                                                                                  SA-4          Acquisition Process                                                                        NFO
                                                                                                  SA-4(1)       ACQUISITION PROCESS | FUNCTIONAL PROPERTIES OF SECURITY CONTROLS                           NFO
                                                                                                  SA-4(2)       ACQUISITION PROCESS | DESIGN / IMPLEMENTATION INFORMATION FOR SECURITY CONTROLS            NFO
                                                                                                  SA-4(9)       ACQUISITION PROCESS | FUNCTIONS / PORTS / PROTOCOLS / SERVICES IN USE                      NFO
                                                                                                  SA-4(10)      ACQUISITION PROCESS | USE OF APPROVED PIV PRODUCTS                                         NFO
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                                                                                                  SA-5          System Documentation                                                                       NFO
                                                                                                  SA-8          Security Engineering Principles                                                            CUI
                                                                                                  SA-9          External System Services                                                                   NFO
                                                                                                  SA-9(2)       EXTERNAL SYSTEMS | IDENTIFICATION OF FUNCTIONS / PORTS / PROTOCOLS / SERVICES              NFO
                                                                                                  SA-10         Developer Configuration Management                                                         NFO
                                                                                                  SA-11         Developer Security Testing and Evaluation                                                  NFO




                                                                                               42 SA-8 is grouped with the security controls in the System and Communications Protection family in Appendix D since

                                                                                               the System and Services Acquisition family was not included in the security requirements.



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                                                                                                    TABLE E-16: TAILORING ACTIONS FOR SYSTEM AND COMMUNICATIONS PROTECTION CONTROLS

                                                                                                                                         NIST SP 800-53                                                    TAILORING
                                                                                                                           MODERATE BASELINE SECURITY CONTROLS                                              ACTION

                                                                                                 SC-1        System and Communications Protection Policy and Procedures                                      NFO
                                                                                                 SC-2        Application Partitioning                                                                         CUI
                                                                                                 SC-4        Information in Shared Resources                                                                  CUI
                                                                                                 SC-5        Denial of Service Protection                                                                    NCO
                                                                                                 SC-7        Boundary Protection                                                                              CUI
                                                                                                 SC-7(3)     BOUNDARY PROTECTION | ACCESS POINTS                                                             NFO
                                                                                                 SC-7(4)     BOUNDARY PROTECTION | EXTERNAL TELECOMMUNICATIONS SERVICES                                      NFO
                                                                                                 SC-7(5)     BOUNDARY PROTECTION | DENY BY DEFAULT / ALLOW BY EXCEPTION                                       CUI
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                                                                                                 SC-7(7)     BOUNDARY PROTECTION | PREVENT SPLIT TUNNELING FOR REMOTE DEVICES                                 CUI
                                                                                                 SC-8        Transmission Confidentiality and Integrity                                                       CUI
                                                                                                 SC-8(1)     TRANSMISSION CONFIDENTIALITY AND INTEGRITY | CRYPTOGRAPHIC OR ALTERNATE PHYSICAL PROTECTION      CUI
                                                                                                 SC-10       Network Disconnect                                                                               CUI
                                                                                                 SC-12       Cryptographic Key Establishment and Management                                                   CUI
                                                                                                 SC-13       Cryptographic Protection                                                                         CUI
                                                                                                 SC-15       Collaborative Computing Devices                                                                  CUI
                                                                                                 SC-17       Public Key Infrastructure Certificates                                                           FED
                                                                                                 SC-18       Mobile Code                                                                                      CUI
                                                                                                 SC-19       Voice over Internet Protocol                                                                     CUI
                                                                                                 SC-20       Secure Name /Address Resolution Service (Authoritative Source)                                  NFO
                                                                                                 SC-21       Secure Name /Address Resolution Service (Recursive or Caching Resolver)                         NFO
                                                                                                 SC-22       Architecture and Provisioning for Name/Address Resolution Service                               NFO
                                                                                                 SC-23       Session Authenticity                                                                             CUI
                                                                                                 SC-28       Protection of Information at Rest                                                                CUI
                                                                                                 SC-39       Process Isolation                                                                               NFO




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                                                                                                           TABLE E-17: TAILORING ACTIONS FOR SYSTEM AND INFORMATION INTEGRITY CONTROLS

                                                                                                                                           NIST SP 800-53                                              TAILORING
                                                                                                                             MODERATE BASELINE SECURITY CONTROLS                                        ACTION

                                                                                                 SI-1          System and Information Integrity Policy and Procedures                                    NFO
                                                                                                 SI-2          Flaw Remediation                                                                           CUI
                                                                                                 SI-2(2)       FLAW REMEDIATION | AUTOMATED FLAW REMEDIATION STATUS                                      NCO
                                                                                                 SI-3          Malicious Code Protection                                                                  CUI
                                                                                                 SI-3(1)       MALICIOUS CODE PROTECTION | CENTRAL MANAGEMENT                                            NCO
                                                                                                 SI-3(2)       MALICIOUS CODE PROTECTION | AUTOMATIC UPDATES                                             NCO
                                                                                                 SI-4          System Monitoring                                                                          CUI
                                                                                                 SI-4(2)       SYSTEM MONITORING | AUTOMATED TOOLS FOR REAL-TIME ANALYSIS                                NCO
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                                                                                                 SI-4(4)       SYSTEM MONITORING | INBOUND AND OUTBOUND COMMUNICATIONS TRAFFIC                            CUI
                                                                                                 SI-4(5)       SYSTEM MONITORING | SYSTEM-GENERATED ALERTS                                               NFO
                                                                                                 SI-5          Security Alerts, Advisories, and Directives                                                CUI
                                                                                                 SI-7          Software, Firmware, and Information Integrity                                             NCO
                                                                                                 SI-7(1)       SOFTWARE, FIRMWARE, AND INFORMATION INTEGRITY | INTEGRITY CHECKS                          NCO
                                                                                                 SI-7(7)       SOFTWARE, FIRMWARE, AND INFORMATION INTEGRITY | INTEGRATION OF DETECTION AND RESPONSE     NCO
                                                                                                 SI-8          Spam Protection                                                                           NCO
                                                                                                 SI-8(1)       SPAM PROTECTION | CENTRAL MANAGEMENT                                                      NCO
                                                                                                 SI-8(2)       SPAM PROTECTION | AUTOMATIC UPDATES                                                       NCO
                                                                                                 SI-10         Information Input Validation                                                              NCO
                                                                                                 SI-11         Error Handling                                                                            NCO
                                                                                                 SI-12         Information Handling and Retention                                                         FED
                                                                                                 SI-16         Memory Protection                                                                         NFO




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